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                                                                            Review

     1               IN THE UNITED STATES DISTRICT COURT

     2                FOR THE NORTHERN DISTRICT OF OHIO

     3                            EASTERN DIVISION

     4

     5    ----------------------------x

     6    IN RE: NATIONAL PRESCRIPTION ) MDL No. 2804

     7    LITIGATION                             ) Case No. 17-md-2804

     8    This document relates to:              ) Hon. Dan A. Polster

     9    All Cases                              )

    10    ----------------------------x

    11          HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER

    12                      CONFIDENTIALITY REVIEW

    13          VIDEOTAPED DEPOSITION OF TINA STEFFANIE-OAK

    14                         YORK, PENNSYLVANIA

    15                       MONDAY, MARCH 11, 2019

    16                               9:34 A.M.

    17

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    19

    20

    21

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    23

    24    Reported by: Leslie A. Todd

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    1     Deposition of TINA STEFFANIE-OAK, held at    1 APPEARANCES (Continued):
    2   the offices of:                                2
    3                                                  3 ON BEHALF OF WALMART CORPORATION:
    4                                                  4    PAIGE E. ZIELINSKI, ESQUIRE (Telephonically)
    5                                                  5    JONES DAY
    6                                                  6    555 California Street, 26th Floor
    7          BARLEY SNYDER                           7    San Francisco, California 94104
    8          100 East Market Street                  8    (415) 875-5788
    9          York, Pennsylvania 17401                9
   10                                                 10 ON BEHALF OF McKESSON CORPORATION:
   11                                                 11    ALEJANDRO BARRIENTOS, ESQUIRE (Telephonically)
   12                                                 12    COVINGTON & BURLING, LLP
   13                                                 13    850 10th Street, Northwest
   14                                                 14    Washington, DC 20001
   15                                                 15    (202) 662-6000
   16                                                 16
   17                                                 17 ON BEHALF OF HBC SERVICES:
   18                                                 18    PAUL M. MANNIX, ESQUIRE (Telephonically)
   19                                                 19    MARCUS & SHAPIRA, LLP
   20                                                 20    One Oxford Centre, 35th Floor
   21                                                 21    Pittsburgh, Pennsylvania 15219
   22                                                 22    (412) 471-3490
   23                                                 23
   24                                                 24

                                             Page 3                                                        Page 5
    1            APPEARANCES                           1 APPEARANCES (Continued):
    2                                                  2
    3   ON BEHALF OF PLAINTIFFS:                       3 ON BEHALF OF AMERISOURCEBERGEN DRUG CORPORATION:
    4     DONALD A. MIGLIORI, ESQUIRE                  4    SYLVIA WINSTON NICHOLS, ESQUIRE (Telephonically)

    5     MOTLEY RICE, LLC                             5    JACKSON KELLY, PLLC

    6     28 Bridgeside Boulevard                      6    150 Clay Street

    7     Mount Pleasant, South Carolina 29464         7    Suite 500

    8     (843) 216-9000                               8    Morgantown, West Virginia 26501

    9                                                  9    (304) 284-4138

   10   ON BEHALF OF HENRY SCHEIN, INC.:              10
   11     LAUREN MORGAN FINCHER, ESQUIRE              11 ALSO PRESENT:
   12     JOHN P. MCDONALD, ESQUIRE                   12    CHRIS RITONA (Videographer)

   13     LOCKE LORD LLP                              13
   14     600 Congress Avenue, Suite 2200             14
   15     Austin, Texas 78701                         15
   16     (512) 305-4700                              16
   17                                                 17
   18   ON BEHALF OF THE WITNESS:                     18
   19     JUSTIN A. TOMEVI, ESQUIRE                   19
   20     BARLEY SNYDER                               20
   21     100 East Market Street                      21
   22     York, Pennsylvania 17401                    22
   23     (717) 852-4977                              23
   24                                                 24


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    7          (Attached to transcript)                                  7      our DEA Suspicious Order
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    9 No. 1     Plaintiffs' Amended Notice of Oral                       9      Systems and Procedures,
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   13         Diversion of Controlled Substances,                       13      Controlled Substances, Security
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    1          E X H I B I T S (Continued)                            1 Lord on behalf of Henry Schein.
    2          (Attached to transcript)                               2         MS. McDONALD: John McDonald from Locke
    3 STEFFANIE-OAK-HENRY SCHEIN, INC. EXHIBITS              PAGE     3 Lord on behalf of Henry Schein.
    4 No. 20    E-mail string re Charles P.                           4         THE VIDEOGRAPHER: The court reporter
    5        Virden - JDE 692579, Bates                               5 today is Leslie Todd, and she will now please
    6        HSI-MDL-00581110 to 00581111            227              6 swear in the witness.
    7 No. 21    E-mail re Conduct Expectation -                       7          MR. BARRIENTOS: I'm sorry, you have
    8        2nd Verbal Warning, Bates HSI-MDL-                       8   counsel on the phone.
    9        00643112 to 00643113              234                    9          THE VIDEOGRAPHER: Oh, my apologies. Go
   10 No. 22    Exit Interview, Bates HSI-MDL-                       10   ahead.
   11        00643108 to 00643109              236                   11          MR. BARRIENTOS: This is Alejandro
   12 No. 23    Letter of Resignation, Bates                         12   Barrientos from Covington & Burling for McKesson.
   13        HSI-MDL-00643121                  239                   13          MR. MANNIX: Paul Mannix with Marcus &
   14                                                                14   Shapira for HBC Services.
   15                                                                15          MS. WINSTON: Sylvia Winston for
   16                                                                16   AmerisourceBergen Drug Corporation from Jackson
   17                                                                17   Kelly.
   18                                                                18          THE VIDEOGRAPHER: Anyone else? Okay.
   19                                                                19             TINA STEFFANIE-OAK,
   20                                                                20        and having been first duly sworn,
   21                                                                21      was examined and testified as follows:
   22                                                                22               EXAMINATION
   23                                                                23   BY MR. MIGLIORI:
   24                                                                24      Q Good morning.

                                                       Page 11                                                          Page 13
    1              PROCEEDINGS                                        1        A Good morning.
    2              -------------------                                2        Q My name is Don Migliori. I will be
    3           THE VIDEOGRAPHER: We are now on the                   3   asking you questions today.
    4   record. My name is Chris Ritona. I'm the                      4           I think we're situated in a way where we
    5   videographer with Golkow Litigation Services.                 5   should be able to hear each other pretty well, but
    6   Today's date is March 11, 2019, and the time is               6   if you don't hear me or if you don't understand my
    7   approximately 9:34 a.m.                                       7   question, just let me know --
    8           This video deposition is being held at                8        A Okay.
    9   Barley Snyder, 100 East Market Street, York, PA,              9        Q -- and I'll rephrase.
   10   in the matter of National Prescription Opiate                10           Have you ever had your deposition taken
   11   Litigation, MDL No. 2804, Case No. 17-md-2804, for           11   before?
   12   the court of -- for the United States District               12        A No.
   13   Court, Northern District of Ohio, Eastern                    13        Q Okay. The most important rule for you
   14   Division.                                                    14   is the court reporter is taking both of our words
   15           The deponent today is Tina                           15   down. So it's critically important to not speak
   16   Steffanie-Oak.                                               16   until I'm finished, and I'll do the same for you.
   17           And will all counsel please identify                 17        A Okay.
   18   themselves for the record.                                   18        Q It will also give your counsel an
   19           MR. MIGLIORI: Good morning. Donald                   19   opportunity to interpose an objection if necessary
   20   Migliori from Motley Rice on behalf of the                   20   and give you instruction if necessary.
   21   plaintiff.                                                   21           But if you answer my question, I'll
   22           MR. TOMEVI: Justin Tomevi from Barley                22   assume you've understood it. Okay?
   23   Snyder on behalf of the witness.                             23        A Yes.
   24           MS. FINCHER: Lauren Fincher from Locke               24        Q Okay. The other helpful tip is that

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    1   gestures are not easily recorded, so I'll just ask        1   then also counsel from Locke Lord, John and
    2   you to verbally respond. If it's yes, please say          2   Lauren.
    3   "yes"; no, "no," and then the like.                       3       Q How long did you meet yesterday?
    4           Do you have any questions before we get           4       A Five hours.
    5   started?                                                  5       Q And what did you review? Generally
    6        A No.                                                6   speaking.
    7           (Steffanie-Oak Exhibit No. 1 was                  7       A Just some documentation.
    8           marked for identification.)                       8       Q Was the documentation provided to you to
    9   BY MR. MIGLIORI:                                          9   review?
   10        Q Okay. Let me show you what's been                 10       A Yes.
   11   marked as Exhibit 1. This is just the notice for         11       Q Did you bring anything with you to
   12   today. The copy I give you will be the one with          12   review?
   13   the blue sticker.                                        13       A No.
   14        A Okay.                                             14       Q Did you review any testimony of prior
   15        Q And then I'll pass out copies to other            15   witnesses?
   16   folks.                                                   16       A No.
   17           You understand you're here today in              17       Q You didn't read any transcripts --
   18   litigation that's pending in the Northern District       18       A No.
   19   of Ohio?                                                 19       Q -- or any -- did you speak to any other
   20        A Yes.                                              20   people at Henry Schein about your testimony today?
   21        Q Okay. And we're going to primarily be             21       A No.
   22   speaking about your time working at Henry Schein.        22       Q Other than the five hours you spent
   23           When were you received -- or when did            23   yesterday and the documents that you reviewed, did
   24   you receive notice of this deposition?                   24   you do any other preparation for today?

                                                       Page 15                                                   Page 17
    1       A January. This January.                              1       A No.
    2       Q Okay. And who contacted you about that?             2       Q You're here represented by counsel,
    3       A I first was contacted by Sergio Tejeda              3   correct?
    4   of Henry Schein to let me know that there was a           4       A Correct.
    5   chance that I may be called for a deposition, and         5       Q And how did you retain counsel?
    6   had given Henry Schein counsel my phone number to         6       A Through Henry Schein.
    7   contact me, and then Margie Hahn reached out to me        7       Q Okay. So you had no prior relationship
    8   in January.                                               8   with your counsel before this deposition?
    9       Q Okay. And did you talk substantively                9       A Correct.
   10   with Mr. Tejeda about your testimony?                    10       Q And I assume Henry Schein is paying for
   11       A No.                                                11   your counsel to be here?
   12       Q And then you said Margie contacted you             12       A Correct.
   13   later?                                                   13       Q Okay. Let's start by having you again,
   14       A Correct.                                           14   could you please tell the jury your full name and
   15       Q And when you spoke with Margie, was                15   where you reside.
   16   anything substantive discussed about your                16       A Sure. Tina Steffanie-Oak, and I reside
   17   testimony?                                               17   in Mount Wolf, Pennsylvania.
   18       A No.                                                18       Q Who is your employer?
   19       Q When was the first time you met with any           19       A Integra Life Sciences.
   20   counsel to talk about the substance of your              20       Q And what's your job?
   21   testimony?                                               21       A International Regulatory Affairs
   22       A Yesterday.                                         22   manager.
   23       Q And who did you speak with?                        23       Q Generally speaking, what does that mean?
   24       A I spoke with my attorney, Justin, and              24       A I work for a medical device firm, so I

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    1   assist with product registrations to market        1       Q And what did --
    2   products in countries outside the U.S.             2       A Regulatory affairs.
    3       Q In your current position, do you do any      3       Q I'm sorry. And what did that entail?
    4   work with pharmaceuticals?                         4       A 510(k) submissions, again, related to
    5       A No.                                          5   product approvals in the U.S.; assisting with FDA
    6       Q And you started this job when? When did      6   inspections; writing procedures; approving
    7   you start this job?                                7   labeling.
    8       A At Henry Schein?                             8       Q And at that time all of your work was
    9       Q No, this job here.                           9   with medical devices?
   10       A This particular job?                        10       A Correct.
   11       Q Yeah.                                       11       Q Prior to joining Schein, had you done
   12       A 2012. March 2012.                           12   any work in the area of pharmaceuticals?
   13       Q And you --                                  13       A No.
   14          MR. McDONALD: Well, let me just tell       14       Q How long did you have the job at
   15   you, Don, I think she --                          15   Olympus?
   16          MR. MIGLIORI: Yeah, I think she'd          16       A Almost seven years.
   17   have -- yeah.                                     17       Q How did you transition from Olympus to
   18   BY MR. MIGLIORI:                                  18   Henry Schein?
   19       Q When did -- when did you start your job     19       A Olympus announced that they were going
   20   with your current employer?                       20   to be moving their headquarters from Long Island,
   21       A Oh, I'm sorry. With my current employer     21   New York, to Pennsylvania, and at that point in
   22   was November 17, 2016.                            22   time I wasn't open to relocation. I wanted to
   23       Q And was that immediately after you          23   stay on Long Island. So I searched for open
   24   resigned from Henry Schein?                       24   employment, and I received the position at Henry
                                               Page 19                                                   Page 21
    1       A Yes, it was.                                 1   Schein.
    2       Q Now, you started at Henry Schein in          2           (Steffanie-Oak Exhibit No. 2 was
    3   2004?                                              3           marked for identification.)
    4       A Correct.                                     4   BY MR. MIGLIORI:
    5       Q All right. So we'll spend most of today      5       Q All right. Let me show you
    6   talking about from 2004, November of 2004 to       6   Exhibit No. 2. This was provided to me as your
    7   November of 2016.                                  7   employment file or -- and I'm not going to ask you
    8          But before we get to that, tell me about    8   a lot of questions about it, but there are -- just
    9   your educational background.                       9   to get some background.
   10       A I have a bachelor's in business             10           If you look on the bottom right corner
   11   management.                                       11   of these pages, you'll see that there's something
   12       Q From where?                                 12   called a Bates number, and I'll generally refer to
   13       A From Dowling College.                       13   the last three numbers.
   14       Q And when did you graduate?                  14           So it says 971 on the page that I'm
   15       A 1998, May.                                  15   looking at. So if you look --
   16       Q Okay. And what was your first               16       A Oh, I'm sorry. Yes.
   17   employment after that?                            17       Q Okay, we're on the same page? Okay.
   18       A I was -- well, I went to school in the      18           Is this your application for employment
   19   evening, night, so I was employed.                19   at Schein?
   20       Q And where were you working?                 20       A Yes.
   21       A Olympus America.                            21       Q And this is dated October 8th, 2004.
   22       Q What were you doing at Olympus?             22   Does that sound to be around the time that you
   23       A I was an associate manager for a medical    23   applied for this position?
   24   device company.                                   24       A Yes.

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    1       Q It says "Employment desired," it says             1   background in that position, correct?
    2   "Senior RA Analyst." Is that correct, on the            2        A Yes. Correct.
    3   bottom?                                                 3        Q And before that, from 1988 to '93, it
    4       A Correct.                                          4   says Lanner. Is that right?
    5       Q What is a senior RA analyst?                      5        A Langer.
    6       A It's not a managerial position so I did           6        Q Langer. And what did you do at Langer
    7   not have staff reporting to me, so it was a             7   from '88 to '93?
    8   professional level position.                            8        A I started off as an administrative
    9       Q And what were your responsibilities in            9   assistant, and then I was promoted into a -- an
   10   that position?                                         10   associate quality role. They were also a medical
   11       A At Henry Schein at that time?                    11   company, and at the time that I was promoted, they
   12       Q Yes, mm-hmm.                                     12   were introducing some products that were FDA
   13       A Okay.                                            13   regulated at that time.
   14       Q Well, what -- what is it that you                14        Q Okay. Again, nothing at Langer that was
   15   believed you were applying for, what position?         15   related to pharmaceuticals, correct?
   16       A At the point in time that I actually             16        A Correct.
   17   applied, there wasn't an open job description. I       17        Q And so it's fair to say that in your
   18   knew someone who had handed in my resume. So at        18   employment history prior to joining Henry Schein,
   19   that point in time there were -- based on my           19   you had no experience or background relative to
   20   qualifications and an acquisition that they were       20   pharmaceuticals or specifically controlled
   21   dealing with, my skill set was something that they     21   substances, correct?
   22   were looking for. So 510(k) submissions again,         22        A Correct.
   23   helping them understand those.                         23        Q The position that you were hired into --
   24       Q Who was the person that you knew there?          24   let's see. I think I'm -- well, let me ask you
                                                   Page 23                                                       Page 25
    1       A I didn't know him directly. It was                1   this. If you turn to the page that's got the
    2   through a colleague at Olympus. Amit Raksit.            2   Bates numbers 973. Do you see that?
    3       Q And so you applied for this position,             3       A Yes.
    4   and it looks like in your application you               4       Q Is this the curriculum vitae that you
    5   reference a couple other earlier employments.           5   submitted to Henry Schein when you first applied?
    6   From '93 to '98 --                                      6       A Yes.
    7       A Yes.                                              7       Q And to the best of your recollection,
    8       Q -- does it say Qosina?                            8   this would describe your work history leading up
    9       A Correct.                                          9   to that application?
   10       Q What is that?                                    10       A Yes.
   11       A They were a medical component                    11       Q And it includes Olympus, Qosina and the
   12   distributor.                                           12   Langer Biomechanics Group, correct?
   13       Q And what did you do for them?                    13       A Yes.
   14       A I was their quality assurance manager.           14       Q All right. There's a page that ends in
   15       Q And those are medical devices?                   15   976. Are you on that page?
   16       A Medical components, yes.                         16       A Yes, I am.
   17       Q Were they covered by FDA medical device          17       Q Okay. This is dated October 18th, 2004,
   18   regulations, as you understand them?                   18   and it appears to be an offer letter for
   19       A No.                                              19   employment at Henry Schein.
   20       Q All right. And what kind of components?          20           Does that document look familiar to you?
   21   What did they go to?                                   21       A Yes.
   22       A A lot of components were for the IV              22       Q And these are the terms under which you
   23   sets.                                                  23   were employed or hired by Henry Schein in October
   24       Q Okay. Again, no pharmaceutical                   24   2004?

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    1        A Yes.                                                  1       Q Okay. So here it says "The Regulatory
    2        Q And you were to begin work, as I                      2   Affairs Organizational Chart." The Corporate
    3   understand from the rest of your file, on the                3   Compliance and Security Services, L. David.
    4   first paragraph of this, effective November 1st,             4           Was L. David there when you hired on?
    5   2004, reporting to Maurizio Romano, quality                  5       A Yes.
    6   assurance manager?                                           6       Q And he was -- was he then the senior
    7        A Correct.                                              7   vice president and chief compliance officer?
    8        Q And again, this letter generally                      8       A Yes.
    9   describes your offer and the expectations and                9       Q Did Mr. DiBello report to him at that
   10   responsibilities as you understood them when you            10   point, do you know?
   11   signed on to hire at Henry Schein, right?                   11       A Yes.
   12        A Correct.                                             12       Q And underneath Mr. DiBello, there are
   13        Q It's signed by Joanne Gianninoto, human              13   five different areas. One is called Regulatory
   14   resource specialist. And on the last page ending            14   Affairs, and you mentioned Sergio Tejeda earlier
   15   in 978, that is your signature dated October 21st,          15   -- earlier.
   16   2004, correct?                                              16           You were at that point, 2004 through
   17        A Yes.                                                 17   2007, were not part of that part of Henry Schein,
   18        Q All right. So you hire in at Schein                  18   correct? You were not in Regulatory Affairs,
   19   effective November 1st, 2004, and your background           19   correct?
   20   at this point is in medical devices, correct?               20       A Correct.
   21        A Correct.                                             21       Q Now, you were under a caption or heading
   22        Q And you are to then report to                        22   called "Quality Assurance" with Maurizio Romano as
   23   Mr. Romano, correct?                                        23   quality manager, and then it lists you as a
   24        A Correct.                                             24   corporate quality assurance senior regulatory

                                                          Page 27                                                     Page 29
    1             (Steffanie-Oak Exhibit No. 3 was                   1   specialist. Is that your title?
    2             marked for identification.)                        2       A Correct.
    3   BY MR. MIGLIORI:                                             3       Q And what did that -- what did that
    4         Q Exhibit 3, I'm just going to have you                4   entail for you?
    5   look at. It's entitled "Henry Schein Export                  5       A I was involved in acquisitions for
    6   Compliance Program Corporate Procedural Manual."             6   medical device companies, so I would do due
    7   I'll tell you it's dated July 10th, 2007, so this            7   diligence. I also would perform audits of
    8   is a little less than three years after you're               8   suppliers and internal -- Henry Schein sites or
    9   hired.                                                       9   subsidiaries. I was responsible for labeling
   10             I want to show you an organizational              10   approval of corporate branded products, and I also
   11   chart that's on page 083. Just take a second to             11   was responsible for supplier approvals.
   12   familiarize yourself with that.                             12       Q These were all for medical devices,
   13         A (Peruses document.)                                 13   correct?
   14         Q Okay?                                               14       A Some of the suppliers may have sold
   15         A Yes.                                                15   pharmaceuticals, so it could have been a
   16         Q All right. Is this the flowchart that               16   combination, and supplier approvals.
   17   would have been also applicable once you hired in?          17       Q Okay. What would your roles have been,
   18   That is, would this be true as of November of               18   if any, with those suppliers as they related to
   19   2004?                                                       19   controlled substances? If you had any.
   20             MS. FINCHER: Object to form.                      20       A I did not have any as far as controlled
   21   BY MR. MIGLIORI:                                            21   substances. Only Rx pharmaceuticals.
   22         Q In terms of your role, not everybody                22       Q Okay. So it's fair to say that from
   23   else's role.                                                23   2004, at least through this date, 2007, you were
   24         A Yes.                                                24   not in any way involved with DEA compliance,

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    1   suspicious order monitoring or anything like that,    1       A Being responsible for DEA compliance.
    2   correct?                                              2       Q All aspects of DEA compliance or a
    3       A Correct.                                        3   particular area?
    4       Q And this position you held for how long?        4       A Basically for the Henry Schein
    5       A That was held until March of 2012.              5   distribution centers, the sites that distributed
    6       Q Okay. So I have about ten different             6   controlled substances.
    7   appraisals in front of me here that I can avoid       7       Q And how would you go about dealing with
    8   with this one question. I'm giving you incentive.     8   DEA compliance for the distribution centers? How
    9       A Okay.                                           9   did they explain it to you? Did they tell you it
   10       Q It's fair to say that from 2004 through        10   involved travel? Did they tell you it involved
   11   2012, all of your responsibilities were outside      11   meeting with the DEA? What -- what more
   12   the realm of controlled substances, correct?         12   specifically can you remember, if anything?
   13       A Up until 2012, correct.                        13       A They did indicate that some travel would
   14       Q Okay. And your role at Henry Schein was        14   be involved. They did mention about customer site
   15   more directly related to or consistent with the      15   visits, that I would be involved in those.
   16   prior work you had been doing at Olympus in terms    16       Q What did they tell you, if anything,
   17   of FDA regulatory applications, compliance, things   17   about the recently implemented Suspicious Order
   18   like that, correct?                                  18   Monitoring Program?
   19       A Correct.                                       19       A During that conversation, that didn't
   20       Q At this point, through 2012, you had not       20   come up.
   21   dealt with the DEA at all, correct?                  21       Q At that -- during that conversation, did
   22       A Correct.                                       22   they talk to you at all about the "Know Your
   23       Q And you had not dealt with any                 23   Customer" due diligence project that was then
   24   Controlled Substances Act requirements, correct?     24   ongoing?
                                                  Page 31                                                  Page 33
    1       A Correct.                                        1        A I don't recall.
    2       Q And your role at Henry Schein in quality        2        Q Were you asked at any point in that
    3   assurance was distinct from the role of those that    3   initial conversation or before you took the
    4   reported to Sergio Tejeda in Regulatory Affairs,      4   position to take over the catchup project for the
    5   correct?                                              5   due diligence files for existing controlled
    6       A Correct.                                        6   substance customers?
    7       Q All right. In 2012, you transitioned            7           MS. FINCHER: Object to the form.
    8   over to a position in Regulatory Affairs, correct?    8   BY MR. MIGLIORI:
    9       A Correct.                                        9        Q Go ahead.
   10       Q Tell me about how that came about.             10        A During the conversation when they
   11       A I was offered a promotion from Mike            11   offered the position, correct? Was that the
   12   DiBello and Sergio Tejeda. So they approached me     12   question?
   13   about this position.                                 13        Q Initially, yes.
   14       Q Okay. And what did they approach you --        14        A No.
   15   what did they tell you?                              15        Q When did they first ask you to assume a
   16       A I had been with the company for a number       16   position, if they did, where you would be
   17   of years, so there had been previous discussions     17   responsible for the due diligence project?
   18   that I did want some advancement within the          18        A Can I ask for clarification? So
   19   company. So when they approached me about this       19   specific to --
   20   position, you know, they indicated that I was a      20        Q Controlled substances.
   21   loyal employee, they felt that this was something    21        A Just generally the responsibility.
   22   that I could handle, and they explained what the     22        Q Yes.
   23   position was.                                        23        A So due to the fact that I didn't have
   24       Q What did they explain it to be?                24   prior experience in this area, it was something

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     1   that I had to be trained into. So it wasn't an            1   more specific.
     2   immediate takeover of that responsibility.                2   BY MR. MIGLIORI:
     3       Q Okay.                                               3       Q Was it -- was there somebody else
     4       A So I probably -- at the point that I                4   primarily responsible for the due diligence
     5   became more heavily involved in it would have been        5   project when you first were asked to move over to
     6   the summer of 2012. So around the August --               6   Regulatory Affairs?
     7       Q Okay.                                               7          MS. FINCHER: Object to form.
     8       A -- time frame.                                      8          THE WITNESS: I guess I wouldn't
     9       Q So who is it that trained you on due                9   consider it a project. The process itself starts
    10   diligence?                                               10   with the department, our Verifications department
    11       A Multiple sources.                                  11   in Henry Schein. And then also Regulatory Affairs
    12       Q And who are they?                                  12   would be involved in that process.
    13       A Internally through Henry Schein, I                 13   BY MR. MIGLIORI:
    14   shadowed with Mike DiBello, Sergio Tejeda, Craig         14       Q Okay. Maybe I -- that's a fair point.
    15   Schiavo.                                                 15   Let me approach it this way.
    16           We also worked with external                     16          You realize that by 2012 that Henry
    17   consultants, Pharma Compliance, and Buzzeo,              17   Schein had come to the realization that they had a
    18   Cegedim. I also attended multiple outside                18   lack of due diligence, both for onboarding new
    19   industry conferences that were available. So I           19   customers and for existing customers, correct?
    20   attended HDMA, the Cegedim PDMA conference that          20       A No.
    21   they hold. If there were any DEA conferences that        21       Q There was a deficiency.
    22   were being held, I also attended those. And then         22          MS. FINCHER: Object to the form.
    23   we -- I also joined NADDI, but I'm not sure if it        23          THE WITNESS: No.
    24   was in that exact time frame.                            24   BY MR. MIGLIORI:
                                                       Page 35                                                       Page 37
     1       Q Okay. So I understand there were                    1       Q Okay. You -- you were not told of any
     2   essentially three sources of training. There was          2   deficiency at Henry Schein in terms of the
     3   internal training, primarily with Mr. DiBello and         3   completeness of due diligence files for your
     4   Mr. Tejeda. There was some training with third-           4   customers in 2012?
     5   party vendors, including Buzzeo. And then you             5       A No.
     6   went to some conferences, including the Buzzeo            6       Q All right. So no one shared with you
     7   conferences, HDMA, potentially DEA.                       7   any of the third-party audits about the lack of
     8           Is that generally --                              8   completeness with new customer questionnaires and
     9           MS. FINCHER: Object to form.                      9   due diligence?
    10   BY MR. MIGLIORI:                                         10          MS. FINCHER: Object to the form.
    11       Q -- what you testified to was the sources           11          THE WITNESS: Not that I recall.
    12   of -- of information?                                    12   BY MR. MIGLIORI:
    13       A Yes.                                               13       Q All right. And nobody shared with you
    14       Q Do you believe you did all of that in              14   any of the reactions to the HDMA guidances
    15   2012 or is this over time? Was this sort of on           15   relative to due diligence?
    16   the job?                                                 16          MS. FINCHER: Object to the form.
    17       A It was continual.                                  17          THE WITNESS: Yes, they did, as far as
    18       Q Okay. But it started in 2012.                      18   the guidance that HDMA was giving to the industry
    19       A Correct.                                           19   and understanding the need for the process, but it
    20       Q And who was performing the due diligence           20   was more putting more resources into the process.
    21   task, if anybody, when you were first introduced         21   BY MR. MIGLIORI:
    22   to that responsibility?                                  22       Q Okay. And -- and was that what you
    23           MS. FINCHER: Object to the form.                 23   understood your role to be, was to be additional
    24           THE WITNESS: I -- I will need you to be          24   resources into the process?

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     1       A    Yes.                                              1   diligence being performed at Henry Schein for a
     2           (Steffanie-Oak Exhibit No. 4 was                   2   new customer was just verifying a DEA license?
     3           marked for identification.)                        3           MS. FINCHER: Object to form.
     4   BY MR. MIGLIORI:                                           4           THE WITNESS: No.
     5       Q Let's look at your -- I just gave you                5   BY MR. MIGLIORI:
     6   Exhibit No. 4. This is your 2012 performance               6        Q If that were true, is that something you
     7   appraisal.                                                 7   would have liked to have seen?
     8           Do you recognize that to be you?                   8        A Yeah --
     9       A Yes.                                                 9           MS. FINCHER: Object to the form.
    10       Q Okay. Let me ask you to turn to the                 10           THE WITNESS: Yes.
    11   second page in particular.                                11   BY MR. MIGLIORI:
    12           Now, by the end of 2012, you have now             12        Q All right. Let's look at your comments.
    13   moved over to Regulatory Affairs, correct?                13   It says: "Tina had a very challenging but
    14       A Correct.                                            14   successful year. She transitioned into the
    15       Q And this is the first time that you're              15   Regulatory operations team and took over
    16   dealing with controlled substances in any job             16   responsibilities for the company's DEA
    17   description, correct?                                     17   compliance."
    18       A Correct.                                            18           Is that a true statement?
    19       Q How did you educate yourself on what                19        A Yes.
    20   the -- the law is?                                        20        Q So this is at this point the first time
    21       A I read the CFR.                                     21   you've ever dealt with DEA compliance, correct?
    22       Q Okay. So you know what the -- you then              22        A Correct.
    23   learned in this position what the Controlled              23        Q "Tina's promotion to supervisor of
    24   Substances Act required of a distributor?                 24   Regulatory operations was complicated in that one
                                                         Page 39                                                          Page 41
     1       A Correct.                                             1 of her team members was out on medical leave and
     2       Q And you understand that under the                    2 the other left the company just a few months after
     3   statute and the regulations, the distributors are          3 Tina taking over. She has really done a great job
     4   referred to as DEA registrants?                            4 adjusting to the situation and putting together a
     5       A Correct.                                             5 new team."
     6       Q And part of the obligations of the                   6         Do you recall who the new team was that
     7   registrants then and today is to design and                7 you put together?
     8   operate a system for the detection of suspicious           8       A Yes.
     9   orders, correct?                                           9       Q Who was that?
    10       A Correct.                                            10       A Ken Romeo. Glenn Lonnquist.
    11           MS. FINCHER: Object to form.                      11       Q Anyone else?
    12   BY MR. MIGLIORI:                                          12       A Not at that time.
    13       Q And a component part of that obligation             13       Q Okay. And were these new hires or did
    14   is an ongoing obligation to know your customer and        14   you pull them over from other areas?
    15   perform due diligence, correct?                           15       A They were new hires.
    16       A Correct.                                            16       Q And did you interview them?
    17           MS. FINCHER: Object to the form.                  17       A Yes.
    18   BY MR. MIGLIORI:                                          18       Q "Regardless of these complications, Tina
    19       Q And that due diligence starts with                  19   was able to manage and maintain the DEA 'Know Your
    20   bringing a new client on board into the company,          20   Customer' process backlog to a minimum."
    21   correct? A new customer, correct?                         21          You realize that as of 2012, that Schein
    22       A Correct.                                            22   had a backlog in its "Know Your Customer" due
    23       Q And as of 2012, nobody shared with you              23   diligence.
    24   any third-party observation that the only due             24          MS. FINCHER: Object to the form.

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     1   BY MR. MIGLIORI:                                         1   BY MR. MIGLIORI:
     2       Q Correct?                                           2       Q Okay. Anything else you can think of?
     3       A Correct.                                           3       A I don't recall.
     4       Q And so, "Tina has demonstrated to be a             4       Q Do you recall if in 2012 there was a
     5   good manager and successfully completed/managed          5   standard operating procedure in place for new
     6   the following major projects/initiatives: One,           6   customer due diligence?
     7   took over DEA compliance management                      7       A I -- yes.
     8   responsibilities and hired two Regulatory                8       Q Yes, you recall or, yes, there was?
     9   specialists for her team."                               9       A Yes, I recall.
    10           We just discussed that.                         10       Q And what -- what's the answer?
    11           "Two, established herself as a                  11       A Yes.
    12   Regulatory contact with the Verifications and           12       Q Okay. And did you do anything to
    13   Operations team for the DEA issues."                    13   enhance or change that in 2012?
    14           So at this point, did you become the            14       A I -- I don't recall specifically, other
    15   contact person for folks in the Verifications           15   than the "Know Your Customer" forms themselves.
    16   department?                                             16       Q Okay. Did you update the standard
    17       A Yes.                                              17   operating procedures with the new form
    18       Q And at that time was Shaun Abreu the              18   information?
    19   head of the Verifications department?                   19       A I believe that would have been under
    20       A He was -- he wasn't the head of the               20   Shaun.
    21   department, but he was -- he was in the                 21       Q Okay. You didn't do it, to your
    22   department, yes. He was my contact.                     22   recollection?
    23       Q Okay. Who was the head of the                     23       A No.
    24   department?                                             24       Q It says you also performed a significant
                                                       Page 43                                                        Page 45
     1          MS. FINCHER: Object to the form.                  1   number of customer due diligence assessments
     2          THE WITNESS: It would be Bill Brandt,             2   visits.
     3   because that's who he would have reported into           3           Do you know how many you would have done
     4   eventually.                                              4   between August and December of 2012?
     5   BY MR. MIGLIORI:                                         5       A No, I don't recall.
     6       Q Okay. But your contact with                        6       Q Do you know how you prioritized which
     7   Verifications was Shaun, correct?                        7   customer visits for due diligence you undertook?
     8       A Correct.                                           8       A As an overall, not just myself you
     9       Q You developed new and enhanced existent            9   mean --
    10   policies and procedures related to the HSI              10       Q Yeah.
    11   Suspicious Order Monitoring System and "Know Your       11       A -- correct?
    12   Customer" function.                                     12       Q Well, that's fine.
    13          What new -- let's start with new. What           13       A Yeah, I -- I'm sorry.
    14   new policies and procedures did you bring to Henry      14       Q Do you recall the question?
    15   Schein's Suspicious Order Monitoring System and         15       A Yeah, I recall the question. I had to
    16   "Know Your Customer" function?                          16   reprioritize the site -- the site visits.
    17          MS. FINCHER: Object to the form.                 17   Basically if it -- new -- new customers, it was
    18          THE WITNESS: It was related to the               18   based on territory, where the customers were
    19   "Know Your Customer" due diligence process. So          19   located. At that point in time they would be
    20   there were enhancements to the questionnaires that      20   assigned based off of that.
    21   we would use to send to the customers, the "Know        21       Q Did you prioritize based on volume of
    22   Your Customer" form. Also developing audit              22   business?
    23   checklists that we would use during site --             23           MS. FINCHER: Object to the form.
    24   customer site visits.                                   24           THE WITNESS: That would be one

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     1   criteria, yes.                                             1           MS. FINCHER: Object to the form.
     2   BY MR. MIGLIORI:                                           2           THE WITNESS: Correct.
     3       Q Did you prioritize based on risk of                  3   BY MR. MIGLIORI:
     4   diversion?                                                 4        Q All right. The last point here in 2012,
     5       A Yes.                                                 5   it says: "Conducted DEA-focused audits and
     6       Q And how did you assess that?                         6   trainings in Henry Schein's and subsidiaries'
     7       A Through review of the "Know Your                     7   facilities."
     8   Customer" due diligence information that had been          8           Who developed the DEA-focused audits?
     9   prepared.                                                  9        A I don't recall specifically.
    10       Q What if there hadn't been any due                   10        Q So these were audits that were already
    11   diligence information in the file?                        11   in place that you just joined in on, or are these
    12       A I don't recall a situation where we                 12   audits that you came up with? If you recall.
    13   didn't have any.                                          13        A I'm sorry, I misunderstood the first
    14       Q Well, okay. You don't recall looking at             14   question.
    15   any files in 2012 where there were no -- there was        15        Q Sure. It says conduct the focused
    16   no due diligence in the file other than                   16   audits. Were these --
    17   verification of registration?                             17        A Oh, okay.
    18           MS. FINCHER: Object to the form.                  18        Q -- new types of audits, or were these
    19           THE WITNESS: In relation to a planned             19   ongoing or regular occurring audits that you then
    20   site visit, no.                                           20   joined when you joined this department?
    21   BY MR. MIGLIORI:                                          21        A They were ongoing audits that were
    22       Q Okay. So you did not, in prioritizing               22   performed by other employees until I came into the
    23   planned site visits in 2012, look for those places        23   role.
    24   for which you had no due diligence.                       24        Q Okay. And then it says you conducted
                                                         Page 47                                                  Page 49
     1           MS. FINCHER: Object to the form.                   1   trainings. What kind of trainings did you conduct
     2   BY MR. MIGLIORI:                                           2   in 2012 on DEA audits?
     3       Q In the file. Correct?                                3       A I performed mock DEA audits at our
     4           MS. FINCHER: Object to the form.                   4   distribution centers.
     5           THE WITNESS: In order to set up the                5       Q Do you know which distribution centers
     6   site visit, we would've had to have had some               6   service Ohio?
     7   information to review and make a determination.            7       A Denver, Pennsylvania can service it.
     8   BY MR. MIGLIORI:                                           8   All Schedule IIs had only come out of the
     9       Q You will agree with me at this point                 9   Indianapolis facility, but technically any of the
    10   there were files that had insufficient information        10   distribution centers other than Schedule IIs could
    11   for you to make those decisions as of 2012,               11   ship into Ohio based on availability of the
    12   correct?                                                  12   product.
    13           MS. FINCHER: Object to the form.                  13       Q All controlled substances, including
    14           THE WITNESS: I would say no. Because              14   opioid narcotics, came out of the Indianapolis
    15   we made the decision to do a site visit, so we            15   distribution center?
    16   would have had some information to base that              16       A All Schedule IIs.
    17   decision off of.                                          17       Q Right. And that includes OxyContin,
    18   BY MR. MIGLIORI:                                          18   oxycodone, hydrocodone, correct?
    19       Q I'm not limiting it to the site visits,             19       A As of now, correct. In 2012,
    20   though. I'm saying as of 2012, among the thirty,          20   hydrocodone wasn't a Class II.
    21   40,000 customers, whatever the number is, you were        21       Q Where did the Class IIIs come out of in
    22   then aware that there were files that had little          22   2012, which distribution center?
    23   or no information in the files for due diligence,         23       A All of them.
    24   correct?                                                  24       Q Do you know which would have supplied

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     1   Ohio?                                                 1   customers?
     2       A Based on territory, I would say that the        2        A Not that I recall, no.
     3   Denver, Pennsylvania distribution center would        3        Q Did it have any components that talked
     4   have been the closest.                                4   about background checks of new customers?
     5       Q Okay. Is that generally the preference          5        A No, because these audits were being done
     6   in the -- in the Schein system that the closest       6   at the distribution center, and that process was
     7   distributing -- distribution center fill those        7   not handled at the -- at that level. So no.
     8   orders if they had the supply?                        8        Q Okay. So the due diligence components
     9       A Correct.                                        9   were handled by the Verifications department and
    10       Q So more likely than not for the                10   not at the distribution centers; is that correct?
    11   northern -- for the Cleveland, Cuyahoga, Summit      11           MS. FINCHER: Object to form.
    12   County areas of Ohio, hydrocodone, until it was      12           THE WITNESS: Verifications in the
    13   reclassified as a Schedule II drug in 2014,          13   corporate office managed the due diligence
    14   hydrocodone would have been most likely shipped      14   process.
    15   out of the Denver, Pennsylvania distribution         15   BY MR. MIGLIORI:
    16   center, correct?                                     16        Q Okay. Distribution centers did not,
    17       A Correct.                                       17   correct?
    18           MS. FINCHER: Object to the form.             18        A They did not manage the process,
    19   BY MR. MIGLIORI:                                     19   correct.
    20       Q All right. In these trainings, did you         20        Q They helped execute it, implement the --
    21   have any materials, any training materials,          21   the shipment -- would it ship directly from the
    22   handouts, booklets? Was there something that you     22   distribution center to the physicians?
    23   used to train?                                       23        A Yes.
    24       A There would have been something, yes.          24        Q Was there a process at the distribution
                                                   Page 51                                                   Page 53
     1       Q And do you recall what it was called?           1   center -- let's stick to Indianapolis and
     2       A Not at this time in 2012.                       2   controlled substances. Was there a process at the
     3       Q Was it a paper handout, was it online,          3   Indianapolis distribution center to check the due
     4   do you know?                                          4   diligence file before shipment?
     5       A It -- we had an audit checklist that we         5           MS. FINCHER: Object to form.
     6   would work off of. I -- I don't recall handing        6       Q In 2012?
     7   out anything specifically after the audits.           7       A I -- I don't know.
     8       Q What -- what kinds of things were on the        8       Q Would the distribution center in
     9   audit -- audit checklist?                             9   Indianapolis have access to the due diligence file
    10       A It basically was set up to follow the          10   prior to shipment in filling a physician's order?
    11   requirements under the CFR. So it would talk         11           MS. FINCHER: Object to the form. Lack
    12   about receipts of controlled substances, inventory   12   of foundation.
    13   records that are required to be kept, shipment       13           THE WITNESS: I don't know. I wasn't
    14   records that are required to be kept,                14   involved directly in that part of it.
    15   reconciliation of inventory.                         15   BY MR. MIGLIORI:
    16       Q What, if anything, did the checklist           16       Q If that existed, that wasn't part of the
    17   have relative to due diligence and due diligence     17   training that you did at the distribution centers
    18   files?                                               18   for DEA audits?
    19       A It did ask whether or not there was a          19           MS. FINCHER: Object to the form.
    20   system in place, and whether or not there was due    20           THE WITNESS: Correct. I -- I did not
    21   diligence --                                         21   do training specifically myself at Indianapolis.
    22       Q Okay.                                          22   So no, I wasn't part.
    23       A -- available.                                  23   BY MR. MIGLIORI:
    24       Q Did it have specifics about new                24       Q What about for hydrocodone, was there

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     1   any special process that you can recall in your             1   reported.
     2   training that's referred to in your performance             2       Q Okay. What about suspicious orders, did
     3   evaluation relative to hydrocodone and                      3   anything come out of that audit training relative
     4   controlled -- and Schedule III drugs?                       4   to suspicious order reporting?
     5       A I'm sorry. Can you rephrase the                       5       A I don't recall at that time in 2012
     6   beginning?                                                  6   specifically.
     7       Q Sure.                                                 7       Q Okay. What about reporting to states
     8       A I don't know what the question exactly                8   for those states that had reporting requirements?
     9   was.                                                        9   Was there anything in that training?
    10       Q Do you recall in your training that's                10       A No, not for the distribution centers
    11   referenced in this document, Exhibit No. 4, in             11   because they were not involved in that process.
    12   this training that you would give, if there was            12       Q Who handled the state reporting process
    13   anything specific to hydrocodone and Schedule III          13   in 2012?
    14   drugs?                                                     14          MS. FINCHER: Object to the form.
    15       A What we would speak to the -- the team               15   BY MR. MIGLIORI:
    16   about is what drugs we knew were being abused and          16       Q If you know.
    17   that were potentially to be diverted. So that was          17       A It would have been between Regulatory
    18   part of the discussion.                                    18   and Verifications.
    19       Q Which drugs did you tell the team were               19       Q This has come up a few times. What does
    20   being abused and potentially diverted?                     20   that mean, it would be between Verifications and
    21       A Opioids. And also some other, Xanax                  21   Regulatory, specific to state reporting
    22   and --                                                     22   requirements?
    23       Q Did that include hydrocodone?                        23       A At that point in time, some reports may
    24       A Yes.                                                 24   have been run by Verifications for certain states,
                                                          Page 55                                                  Page 57
     1       Q And what was the training -- what more                1   and other states may have been run for -- by
     2   specifically, if you can recall, was that                   2   Regulatory.
     3   training? Did you just tell them which drugs they           3       Q Do you know in 2012 who was supposed to
     4   were? Did you tell them anything else in                    4   be running Ohio's state reporting requirements?
     5   particular?                                                 5       A No.
     6       A Just reemphasizing security of those                  6       Q Do you know at any point after that 2012
     7   drugs, making sure that the processes were always           7   who was supposed to be running Ohio's reporting
     8   being followed. That's all that I recall.                   8   requirements?
     9       Q Okay. Was there a particular paperwork                9           MS. FINCHER: Object to the form.
    10   or reporting requirements that were specific to            10           THE WITNESS: I know that eventually all
    11   the distribution centers in this training?                 11   the state reporting came under regulatory's
    12          MS. FINCHER: Object to the form.                    12   responsibility.
    13          THE WITNESS: It was a mock audit or                 13   BY MR. MIGLIORI:
    14   internal audit. So, again, we had a checklist              14       Q Did you have any responsibilities with
    15   that we would use, so that was filled out, and             15   respect to state reporting requirements?
    16   then a report would be generated if there were any         16       A Not directly, no.
    17   potential issues, and to document that the audit           17       Q How were you indirectly involved?
    18   took place.                                                18       A I don't remember what year it was. It
    19   BY MR. MIGLIORI:                                           19   wasn't for the first couple of years that I was in
    20       Q Did that audit involve anything to do                20   the position. Once it transferred under
    21   with ARCOS data? Or ARCOS reporting requirements?          21   Regulatory, I had a staff member that was
    22       A Yes.                                                 22   responsible for running the reports.
    23       Q And what do you recall?                              23       Q And did that staff member report
    24       A Confirmation that ARCOS was being                    24   directly to you?

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     1        A Yes.                                           1   specifically, though, with regularly scheduled
     2        Q Did you become aware that for almost a         2   meetings, that is, a weekly meeting, a monthly
     3   two-year period of time, that Henry Schein had not    3   meeting, a quarterly meeting.
     4   been reporting at all to the Ohio Board of            4           Did you have any kind of organizational
     5   Pharmacy?                                             5   meeting or regular reporting meeting with your
     6           MS. FINCHER: Object to the form.              6   supervisors, whether or not it included
     7           THE WITNESS: No.                              7   Verifications?
     8   BY MR. MIGLIORI:                                      8       A No.
     9        Q But that responsibility at some point          9       Q Okay. And that was through 2016?
    10   fell on your staff member, correct?                  10       A Correct.
    11        A Correct.                                      11       Q Were you ever part of a team of -- of
    12        Q Do you know what years?                       12   specific people within Regulatory to -- well,
    13        A No.                                           13   strike that.
    14        Q And ultimately you reported throughout        14           There's a reference in your appraisal to
    15   this period of time to Sergio Tejeda?                15   conducting audits. Was there an audit team? In
    16        A Correct.                                      16   2012, let's start there.
    17        Q Did you have -- beginning in 2012 going       17       A In reference to these conducted DEA-
    18   through 2016, did you have regular meetings about    18   focused audits?
    19   DEA compliance with your Regulatory team?            19       Q Yeah.
    20        A Yes.                                          20       A As far as the internal sites that were
    21        Q When did those start? Were they ongoing       21   done at -- for Henry Schein, it would have been my
    22   when you got there or did they begin sometime        22   team, once they were trained. So it would have
    23   after?                                               23   been myself, Ken and Glenn.
    24        A They were ongoing as part of training,        24       Q Okay.
                                                   Page 59                                                   Page 61
     1   bringing on the new hires, and also meeting           1       A And Sergio if we needed him.
     2   internally.                                           2       Q Was there anybody between 2012 and 2016
     3       Q And how often did you meet?                     3   added to that team?
     4       A With my staff, it was at least once a           4       A Yes.
     5   week.                                                 5       Q Who was that?
     6       Q Were there minutes to those meetings?           6       A Beverly Butcher.
     7       A No.                                             7       Q Okay. And what was her title?
     8       Q Did you report out your meetings to             8       A Senior Regulatory specialist.
     9   anybody above you?                                    9       Q Okay. And who -- anyone else?
    10       A Not -- no, not the specific ones. I may        10       A I'm just trying to remember the year.
    11   have had conversations with Sergio as far as the,    11   So Liam Schauer.
    12   you know, training of each of the new hires, kind    12       Q Okay. Anyone else you can think of?
    13   of where they were at.                               13       A Pete Schmidt. He was not a new hire,
    14       Q From 2012 to 2016, did you have regular        14   but he was moved into my team.
    15   meetings with those above you, with Sergio, with     15       Q Okay. How often were these audits done?
    16   Mr. DiBello, Mr. Peacock?                            16       A The mock audits were done once a year.
    17           MS. FINCHER: Object to the form.             17       Q And were you the project leader for the
    18           THE WITNESS: I would -- yes. Mike            18   mock audits?
    19   DiBello wasn't there then. But also for              19       A I would say no. I mean, each -- each of
    20   Verifications, we were in contact on a daily         20   my staff was -- they were at a distribution center
    21   basis, so we also had scheduled meetings but it      21   or the corporate office, so they were responsible
    22   was a constant communication.                        22   for that site. I was a project leader as far as
    23   BY MR. MIGLIORI:                                     23   making sure they got completed.
    24       Q Okay. I'm focusing right now                   24       Q Okay. So you didn't actually actively

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     1   participate yourself in all of the audits. You        1       A Excuse me. I can't say if it was done
     2   coordinated them. Is that a fair statement?           2   every year for Indianapolis because I wasn't
     3       A Yes.                                            3   directly --
     4       Q All right. Did you actively participate         4       Q Okay.
     5   in any yourself?                                      5       A -- involved then.
     6       A Yes.                                            6       Q Did those reports get electronically
     7       Q Was that throughout the entire period or        7   uploaded into the system?
     8   mostly in the beginning or --                         8       A The -- yeah, a scanned PDF was saved to
     9       A The entire period.                              9   a folder.
    10       Q All right. And what would your specific        10       Q And what was that folder called, if you
    11   role be in audits?                                   11   recall?
    12       A So I was based in the Denver,                  12       A I don't remember.
    13   Pennsylvania facility, so I would conduct a mock     13       Q And was that in the JDE system?
    14   audit once a year.                                   14       A No.
    15       Q Okay. And that's where the hydrocodone         15       Q Where did those reports go?
    16   would have come into Ohio?                           16       A In a folder on a -- a shared folder.
    17          MS. FINCHER: Object to the form.              17   There again, they were PDF scanned, so...
    18          THE WITNESS: Correct. Up until it was         18       Q If somebody else wanted to review them,
    19   reclassed.                                           19   where would they go on their computer?
    20   BY MR. MIGLIORI:                                     20       A It would have been on a shared
    21       Q Okay. And so you had those                     21   Regulatory drive.
    22   responsibilities from 2012 to 2014, when it was      22       Q Okay. Was that accessed only by folks
    23   reclassed, correct?                                  23   in the Regulatory team?
    24       A Yes.                                           24       A Yes.
                                                  Page 63                                                   Page 65
     1       Q Did you find -- in your audits, did you         1       Q All right. So Sergio Tejeda, the entire
     2   find any observations of -- of DEA risks of           2   time you were in Regulatory, was your immediate
     3   enforcement relative to hydrocodone?                  3   supervisor, correct -- or was one of your
     4       A No.                                             4   supervisors, correct?
     5           MS. FINCHER: Object to the form.              5       A Yes.
     6   BY MR. MIGLIORI:                                      6       Q Your first report was to Mr. Romano?
     7       Q You did not?                                    7       A Not under this role, no.
     8       A No.                                             8       Q Not under this role. Oh, Mr. Romano was
     9       Q If you had found any observations or            9   under your -- your medical device role?
    10   risks for DEA enforcement, would that end up in a    10       A Correct.
    11   checklist, a memorandum, or a report?                11       Q So when you switched over, your
    12       A Yes.                                           12   immediate report was to Sergio Tejeda, correct?
    13           MS. FINCHER: Objection to the form.          13       A Yes.
    14   BY MR. MIGLIORI:                                     14       Q In 2012, correct?
    15       Q And what would that report be called?          15       A Correct.
    16       A An audit report.                               16       Q All right. And so Mr. Tejeda would have
    17       Q Okay. And so for every distribution            17   access to all of these annual audits of the
    18   center, if I were to look, there should be an        18   distribution centers, correct?
    19   audit report once a year from somebody within your   19       A Correct.
    20   team, correct?                                       20          MS. FINCHER: Object to the form.
    21       A Correct.                                       21   BY MR. MIGLIORI:
    22       Q And that's true for Denver,                    22       Q And do you know whether there was a
    23   Pennsylvania. That's also true for the               23   document retention policy relative to those audit
    24   Indianapolis distribution center, correct?           24   reports?

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     1          MS. FINCHER: Object to the form.                 1   BY MR. MIGLIORI:
     2          THE WITNESS: Yes.                                2       Q Not significant.
     3   BY MR. MIGLIORI:                                        3          MR. MIGLIORI: Just give me one second.
     4       Q What is that?                                     4   I'm sorry. Not off the record -- I'm just -- just
     5       A I don't recall what -- how many years,            5   bear with me.
     6   but there was a policy.                                 6          (Steffanie-Oak Exhibit No. 5 was
     7       Q Okay. Did you review any of those                 7          marked for identification.)
     8   audits in preparation for today?                        8   BY MR. MIGLIORI:
     9       A No.                                               9       Q Let me show you Exhibit 5.
    10       Q Counsel didn't bring any of those                10          The highlights on my copy are mine, not
    11   with -- with them to show you yesterday?               11   yours, okay? That's just to point you.
    12       A No.                                              12          This is an August 6, 2013 e-mail --
    13          MR. MIGLIORI: Why don't we take a               13       A Mm-hmm.
    14   break. It's been an hour.                              14       Q -- between Sergio Tejeda and Jeff
    15          MS. FINCHER: Sure.                              15   Peacock. And Sergio Tejeda is your direct
    16          THE VIDEOGRAPHER: 10:33, we are off the         16   supervisor, correct?
    17   record.                                                17       A Correct.
    18          (Recess.)                                       18       Q And at this time Jeff Peacock is in
    19          THE VIDEOGRAPHER: 10:45, and we are on          19   Mr. DiBello's role?
    20   the video record.                                      20       A Correct.
    21   BY MR. MIGLIORI:                                       21       Q So Sergio Tejeda reports to Jeff
    22       Q So the last point on this Exhibit 4 I            22   Peacock, correct?
    23   wanted to ask you about was this DEA "Know Your        23       A Correct.
    24   Customer" process backlog.                             24       Q Have you seen this e-mail before?
                                                     Page 67                                                   Page 69
     1            How much of a backlog did you realize in       1        A No. No.
     2   2012 had developed at Henry Schein?                     2        Q Let me show you -- so if you go to the
     3            MS. FINCHER: Object to the form.               3   first page -- the last page. So e-mails, as we go
     4            THE WITNESS: I'm sorry. How much of a          4   through this, read back to front --
     5   backlog?                                                5        A Mm-hmm.
     6   BY MR. MIGLIORI:                                        6        Q -- because they're a string.
     7        Q Yeah. Do you recall?                             7           There is an e-mail from Jeff Peacock to
     8        A This -- I recall specifically what this          8   several people, including you.
     9   is referring to.                                        9        A Mm-hmm.
    10        Q Okay. What was that?                            10        Q And it says: "Could you each please
    11        A Basically what this was referring to was        11   send me three topics that you feel are risks which
    12   as new customer due diligence was being put            12   Henry Schein faces in our compliance, regulatory
    13   together, it had to be reviewed by Regulatory.         13   and quality worlds? It can be related to your own
    14   Because we at that point in time had lost some of      14   area or someone else's. Please send them in rank
    15   the staff, it was just taking longer because it        15   order, most risk to least."
    16   was less people to review it. So it wasn't a           16           Do you remember receiving that e-mail?
    17   significant backlog. It was just if we had more        17        A Yes.
    18   staff, it would have been reviewed quicker.            18        Q Okay. And did you submit something?
    19        Q You don't recall actually quantifying           19        A Yes.
    20   that backlog?                                          20        Q And what did you submit?
    21            MS. FINCHER: Object to the form.              21        A I submitted something to Sergio.
    22            THE WITNESS: I don't recall                   22        Q And what do you recall the risk being?
    23   specifically here, no. I just remember it was not      23           Well, let me say it this way: The first
    24   significant.                                           24   two pages of this are Sergio responding to Jeff

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     1   Peacock. Did you contribute to this list?                 1   correct?
     2       A Yes.                                                2            MS. FINCHER: Object to the form.
     3       Q All right. Let's go through them. It                3            THE WITNESS: No.
     4   says: "Jeff, here are the areas that I think              4   BY MR. MIGLIORI:
     5   represent the highest regulatory risk for the             5        Q What percentage of Schein customers
     6   company at this point."                                   6   were -- were individual physicians or individual
     7          And this would be highest to lowest,               7   practices as opposed to dispensaries?
     8   correct?                                                  8            MS. FINCHER: Object to the form.
     9          MS. FINCHER: Object to the form.                   9   Foundation.
    10   BY MR. MIGLIORI:                                         10            THE WITNESS: I wouldn't know the
    11       Q Based on the instructions?                         11   percentage, but I wasn't referring to
    12       A Yes.                                               12   dispensaries. I -- I'm not sure what you mean by
    13       Q "Number one, DEA customer due diligence.           13   that.
    14   I have to agree with Tina that this is the area of       14   BY MR. MIGLIORI:
    15   most risk. A couple of additional pieces to              15        Q Okay. Well, let me ask you maybe a
    16   consider on this issue. Approximate number of new        16   little differently. Of the 1560 new accounts
    17   accounts opened in a daily basis is 150."                17   ordering substances -- controlled substances each
    18          Was that generally true in 2013 that you          18   year, how many of those are individual physicians
    19   were bringing on 150 new customers a day?                19   or private practices, what percentage?
    20       A It sounds accurate, yes.                           20            MS. FINCHER: Object to the form.
    21       Q And that would include customers who are           21   Foundation.
    22   ordering controlled substances?                          22            THE WITNESS: I don't know.
    23          MS. FINCHER: Object to the form.                  23   BY MR. MIGLIORI:
    24          THE WITNESS: It would include, but                24        Q You would agree with me that Henry
                                                       Page 71                                                  Page 73
     1   not -- it's not 150 total, correct.                       1   Schein's general business model was not to be a
     2   BY MR. MIGLIORI:                                          2   supplier to pharmacies as much as directly to
     3       Q Do you know what percentage of the daily            3   physicians and their practices, correct?
     4   customers were -- were intending to order                 4        A Correct.
     5   controlled substances?                                    5        Q And of the 1500, you have no idea how
     6       A Only from reading this e-mail.                      6   many are physicians and their practices?
     7   Otherwise, I don't recall.                                7        A No.
     8       Q It says: "From those" --                            8        Q Are they the vast majority of them?
     9       A For --                                              9            MS. FINCHER: Object to the form.
    10       Q -- "from to those, an approximate 4 to             10            THE WITNESS: I'm not -- I'm not sure.
    11   5 percent will place an order for controlled             11   It's -- you're saying individual doctors, like
    12   substances. Using the 4 percent, that equates to         12   you're saying one --
    13   1560 new accounts ordering controlled substances         13   BY MR. MIGLIORI:
    14   each year."                                              14        Q Or their practices.
    15           Is that data that you provided to                15        A Yes. I would say yes.
    16   Sergio?                                                  16        Q Okay. So let me make sure it's clear.
    17       A No.                                                17            The vast -- it's -- of the 1560 new
    18       Q Is that data consistent with your                  18   accounts that Henry Schein was onboarding each
    19   recollection around this time, 2013?                     19   year that were intending to order controlled
    20       A Yes.                                               20   substances, the vast majority of those were
    21           MS. FINCHER: Object to the form.                 21   individual physicians or private practices,
    22   BY MR. MIGLIORI:                                         22   correct?
    23       Q And these customers that you're talking            23            MS. FINCHER: Object to the form.
    24   about are primarily individual physicians,               24            THE WITNESS: Correct.

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     1   BY MR. MIGLIORI:                                           1   is it only a fraction of those getting due
     2       Q All right. "Tina based her analysis on               2   diligence files updated?
     3   2012 numbers."                                             3           MS. FINCHER: Object to the form.
     4          Does that change your recollection about            4           THE WITNESS: Can you repeat that again?
     5   whether you did this analysis?                             5   BY MR. MIGLIORI:
     6       A I did an analysis, but it was in 2013.               6        Q Sure. I'm trying to understand of the
     7       Q Well, but on 2012 numbers, correct?                  7   400 to 450 files this year, is that the backlog
     8       A Correct.                                             8   project or is that new -- new customers?
     9       Q "I learned from a recent conversation                9           MS. FINCHER: Object to the form.
    10   with Shaun Abreu, Verifications manager, that the         10           THE WITNESS: It -- it would include
    11   number of active accounts ordering controlled             11   both.
    12   substance products is now closer to 40,000, and           12   BY MR. MIGLIORI:
    13   that we have completed due diligence for about            13        Q Okay. So we can agree that by the end
    14   13,000 accounts."                                         14   of 2012, when you had your appraisal that we --
    15          Were you aware of that information from            15   your -- your work appraisal that we looked at,
    16   Shaun Abreu?                                              16   Exhibit No. 4, at the end of that year, based on
    17       A At that point --                                    17   the statistics that you gave to Sergio Tejeda,
    18          MS. FINCHER: Object to the form.                   18   there were approximately 27,000 accounts or
    19          THE WITNESS: -- in time, yes.                      19   customers in the Henry Schein system that did not
    20   BY MR. MIGLIORI:                                          20   have complete due diligence.
    21       Q Okay. "So, therefore, the gap is now                21           MS. FINCHER: Object --
    22   approximately 27,000 accounts."                           22   BY MR. MIGLIORI:
    23          Do you recall that being based on 2012             23        Q Correct?
    24   numbers, the number of accounts that had no due           24           MS. FINCHER: Object to the form.
                                                         Page 75                                                 Page 77
     1   diligence or completed due diligence?                      1   Mischaracterizes the document.
     2       A I recall based off of reading this                   2          THE WITNESS: Correct, but I still stand
     3   e-mail.                                                    3   by what I said in 2012, I was not aware of that
     4       Q Okay. So going back to my earlier                    4   information.
     5   question when you said there was a small amount of         5   BY MR. MIGLIORI:
     6   backlog, will you agree with me that 27,000 out of         6       Q That's fine.
     7   40,000 customers is not a small amount of due              7       A Okay.
     8   diligence backlog?                                         8       Q And maybe you weren't aware of it.
     9          MS. FINCHER: Object to the form.                    9   That's fine.
    10          THE WITNESS: Yes.                                  10       A Okay.
    11   BY MR. MIGLIORI:                                          11       Q But as you're providing this statistical
    12       Q All right. "Based on year-to-date                   12   information --
    13   records, we can expect Regulatory Affairs to              13       A Mm-hmm.
    14   process 400 to 450 due diligence files each year."        14       Q -- in August of 2013 to your
    15          Was that a statistic or a projection               15   supervisor --
    16   that you put together?                                    16       A Yes.
    17          MS. FINCHER: Object to the form.                   17       Q -- it turned out to be true that in
    18          THE WITNESS: I don't recall. I may --              18   2012, of the 40,000 customers of Henry Schein,
    19   I'm sure I had input, but I'm not sure if I'm the         19   27,000 of them did not have completed due
    20   only one that reviewed that.                              20   diligence in their files, correct?
    21   BY MR. MIGLIORI:                                          21          MS. FINCHER: Object to the form.
    22       Q Okay. Let me explore that a little bit.             22   Mischaracterizes the document.
    23   If you're bringing on 1560 new accounts ordering          23   BY MR. MIGLIORI:
    24   controlled substances each year, of those, are --         24       Q Correct?

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     1       A Correct.                                          1   approximate 32,000 accounts to be reviewed.
     2       Q All right. And you were bringing on 150           2   Therefore, we are looking at three to four years
     3   new customers or new accounts each day at that          3   to become current/fully compliant with DEA due
     4   period of time, correct?                                4   diligence."
     5       A No.                                               5           Was that information that you projected?
     6       Q Well, I'm going back up to the --                 6           MS. FINCHER: Object to the form.
     7   approximate number of new accounts open in a daily      7           THE WITNESS: I had involvement in the
     8   basis is 150. Correct?                                  8   input, yes.
     9       A Correct.                                          9   BY MR. MIGLIORI:
    10       Q All right. So you're bringing on 150             10       Q All right. So as we sit here right now,
    11   new customers every day, but the projection for        11   in 2012, at the end of 2012 based on this data,
    12   completing due diligence was 400 or 450 per year,      12   given the number of new clients coming on board,
    13   correct?                                               13   the percentage of those that were intending to
    14       A Per year, correct.                               14   order controlled substances and the number of
    15       Q So in one week, in seven days, you'd             15   accounts that were not complete in their due
    16   have just over a thousand new customers coming on.     16   diligence, it was projected as of August 6, 2013,
    17   Correct?                                               17   that Henry Schein would not be compliant with
    18           MS. FINCHER: Object to the form.               18   DEA's due diligence requirements until 2016 or
    19           THE WITNESS: Correct.                          19   2017, correct?
    20   BY MR. MIGLIORI:                                       20           MS. FINCHER: Object to the form.
    21       Q But in that entire year, only less than          21   Foundation.
    22   half of them -- due diligence would be completed       22           THE WITNESS: With the current resources
    23   for less than half of what was actually onboarded      23   at that time, that's correct.
    24   in a single week, correct?                             24   BY MR. MIGLIORI:
                                                    Page 79                                                         Page 81
     1      A     No.                                            1       Q Okay. At some point, did you accelerate
     2          MS. FINCHER: Object to the form.                 2   that process so it would be a quicker resolution
     3   BY MR. MIGLIORI:                                        3   to be DEA compliant relative to due diligence and
     4       Q Help me understand.                               4   "Know Your Customer"?
     5       A Regulatory was not responsible for                5       A Yes.
     6   reviewing every single account.                         6       Q When did you bring on new people to --
     7       Q Okay.                                             7   to become compliant with DEA's due diligence?
     8       A So the first process and who owned the            8           MS. FINCHER: Object to the form.
     9   process initially was Verifications. So there was       9           THE WITNESS: I brought on one more
    10   only maybe a percentage of those accounts where        10   staff member. That was Beverly Butcher in 2014.
    11   they felt needed a secondary review.                   11           And then I know that Shaun's team grew.
    12       Q Okay.                                            12   I can't say specifically how many, but I know that
    13       A That would come to Regulatory.                   13   there was a significant increase in his staffing,
    14       Q All right. Well, let's keep reading              14   because, again, they are the ones that are the
    15   then, because this is the Verifications side. It       15   front end of the process.
    16   says: "According to Shaun Abreu" -- from               16   BY MR. MIGLIORI:
    17   Verifications, correct? He's from Verifications,       17       Q Okay. And you left in November of 2016?
    18   correct?                                               18       A Yes.
    19       A Yes.                                             19       Q As of the time you left in November of
    20       Q -- "they resolve/complete approximately          20   2016, was Henry Schein caught up in the backlog of
    21   200 due diligence files per week or 10,400 a year,     21   due diligence?
    22   a combined effort of 10,800 to 10,900 accounts.        22       A Yes.
    23   If we take the current gap plus estimated new          23       Q When did that happen?
    24   account volume for three years, we have an             24       A I can't -- I don't recall the exact

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     1   date, but there were certain actions that were put          1       A Correct.
     2   in place to ensure that that happened quicker than          2       Q And you're telling me that it happened
     3   the time frame that's discussed here.                       3   sometime before this projection in this exhibit,
     4       Q Okay. But you don't know if it happened               4   that is before 2016, 2017, correct?
     5   just before you left or 2015 --                             5       A Correct.
     6       A It was at least a year before I left,                 6       Q All right. So instead of taking three
     7   but I don't know the specific date.                         7   to four years for Henry Schein to become current
     8       Q All right. So it's fair to say that                   8   and fully compliant with DEA due diligence, it
     9   whatever that date is, based on your information            9   took some time less than that, correct?
    10   that you provided to Sergio Tejeda, Henry Schein           10       A Correct.
    11   was not compliant with DEA due diligence until             11           MS. FINCHER: Object to the form.
    12   that date, correct?                                        12   BY MR. MIGLIORI:
    13          MS. FINCHER: Object to the form.                    13       Q But you're saying that it was probably a
    14          THE WITNESS: No. Not correct.                       14   year or more before your departure, correct?
    15   BY MR. MIGLIORI:                                           15       A I'm going to say no.
    16       Q Let me word -- use exact words.                      16       Q When would it have been? I'm just
    17          "We are looking at three to four years              17   trying to find out the time frame.
    18   to become current/fully compliant with DEA due             18       A Yeah, it -- it would have been shortly
    19   diligence."                                                19   after this was issued, because, again, they
    20          That was Mr. Tejeda's words, correct?               20   removed the DEA numbers from those accounts to
    21          MS. FINCHER: Object to the form.                    21   prevent them from continually -- being able to
    22          THE WITNESS: Correct, based on the                  22   continue to order without due diligence.
    23   current resources and the process.                         23       Q I'm not asking about the ordering. I'm
    24   BY MR. MIGLIORI:                                           24   asking about the files being compliant with DEA
                                                          Page 83                                                Page 85
     1       Q Right. So when additional resources                   1   due diligence. I'm only asking about the files
     2   were put together and processes were put in place,          2   being complete. Okay? I'm not asking about
     3   that projection was shortened to sometime you               3   placing orders.
     4   think a year prior to your departure in 2016?               4           You'll agree with me that the files were
     5       A It was sooner than that based off of the              5   not updated completely and the backlog resolved
     6   actions that were taken. So when we look at that            6   until -- and up until your departure from the
     7   overall number of accounts, that was looking back           7   company, correct?
     8   at previous history of when they ordered                    8           MS. FINCHER: Object to the form, asked
     9   controlled substances. So a large percentage of             9   and answered.
    10   those accounts may not have ordered again.                 10           You can answer again.
    11          There were actions that were put in                 11   BY MR. MIGLIORI:
    12   place to make sure that if those customers that            12       Q Can you answer the question?
    13   did not have due diligence were to order, that the         13           MS. FINCHER: Do you need him to repeat
    14   order would pend. So the DEA was removed from the          14   it?
    15   account. So if they were to place an order, that           15           THE WITNESS: Yes, please.
    16   we did take the necessary steps to do due                  16   BY MR. MIGLIORI:
    17   diligence. So it's not that they just left those           17       Q Will you agree with me that the
    18   accounts there for two or three years allowing             18   backup -- the backlog and due diligence at Henry
    19   them to continue to order.                                 19   Schein was not resolved completely even at the
    20       Q I appreciate that. That wasn't my                    20   time of your departure?
    21   question.                                                  21       A No.
    22          My question was simply, there was a                 22           MS. FINCHER: Object to the form.
    23   certain point at which this backlog project, this          23   BY MR. MIGLIORI:
    24   backlog process caught up. Correct?                        24       Q When do you think the backlog was

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     1   resolved?                                               1   "Working on standardization and enhancement of the
     2        A It was at least a year or more before I          2   due diligence file review process and creating a
     3   left.                                                   3   standard operating procedure to memorialize a
     4        Q All right. So it's your testimony right          4   process."
     5   now that at least a year or more before November        5           Were you --
     6   of 2016, Henry Schein became current and fully          6        A No, I don't see that. Where's that?
     7   compliant with the DEA due diligence requirements.      7        Q It's --
     8   Is that a fair statement?                               8        A This one? Oh. (Peruses document.)
     9           MS. FINCHER: Object to the form.                9   Okay.
    10           THE WITNESS: Based on my recollection,         10        Q What was Frank -- Francis O'Regan's
    11   I would say yes.                                       11   position, if you know?
    12           (Steffanie-Oak Exhibit No. 6 was               12        A I don't know him.
    13           marked for identification.)                    13        Q You don't know him.
    14   BY MR. MIGLIORI:                                       14        A No.
    15        Q Let me show you Exhibit 6.                      15        Q Did he show up after you?
    16           Exhibit 6 is a PowerPoint produced to us       16        A I'm guessing, yes.
    17   called the "Henry Schein Regulatory Affairs,           17        Q Okay. So do you see -- first of all,
    18   October 17 Report, Regulatory Affairs, Sergio          18   did you know that there was a need for
    19   Tejeda."                                               19   standardization and enhancement of due diligence
    20           By this point you've left the company,         20   file review process and the standard operating
    21   correct?                                               21   procedure as of the time you left in November of
    22        A Correct.                                        22   2016?
    23        Q I'm going to direct you to page 7 of the        23           MS. FINCHER: Object to the form.
    24   PowerPoint.                                            24           THE WITNESS: No.

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     1            Page 7 is a chart of the Regulatory            1   BY MR. MIGLIORI:
     2   Affairs SOM and due diligence review increases.         2       Q And going back to page 7, you'll agree
     3   Do you see that?                                        3   with me that the volume of due diligence reviews
     4        A Mm-hmm. Yes.                                     4   did not stop as of the end of 2016 when you left
     5        Q And you'll see that through 2017, there          5   the company?
     6   is -- from 2012 when you start through 2017, every      6          MS. FINCHER: Object to the form.
     7   year there is an increase in the number of due          7   Foundation.
     8   diligence reviews and site visits, or let's stick       8          THE WITNESS: No, because we bring on
     9   with due diligence reviews.                             9   new customers every day.
    10            Do you see that?                              10   BY MR. MIGLIORI:
    11            MS. FINCHER: Object to the form.              11       Q All right.
    12            THE WITNESS: Yes.                             12       A So it would not stop.
    13   BY MR. MIGLIORI:                                       13       Q And it continued to grow exponentially?
    14        Q On the next page -- I'm sorry, on               14       A Correct.
    15   page -- it doesn't have a number suddenly all of a     15          MS. FINCHER: Object to the form.
    16   sudden.                                                16   BY MR. MIGLIORI:
    17            So on page 10, it would be --                 17       Q All right. So as of the end of 2012,
    18        A Is it that one? Okay.                           18   going back to Exhibit 5, the gap of existing
    19        Q It says "Projects, Activities, Francis          19   customers was 27,000 without complete due
    20   O'Regan." Do you see that?                             20   diligence, and the going forward projection of new
    21        A Where? I'm sorry.                               21   customers ordering controlled substances was just
    22        Q In the title.                                   22   over 1500 a year, correct?
    23        A Oh, yes. Yes.                                   23          MS. FINCHER: Object to the form. Are
    24        Q Under "Due Diligence," it says:                 24   you asking what this document says?

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     1           MR. MIGLIORI: I'm asking if that's her              1   of registration?
     2   recollection of the data.                                   2       A Yes.
     3   BY MR. MIGLIORI:                                            3       Q If you turn to the -- just the first
     4       Q Correct?                                              4   page of the document, you'll see it's a 2008
     5           MS. FINCHER: Object to the form.                    5   Healthcare Distribution Management Association
     6           THE WITNESS: There's a hundred -- yes.              6   Industry Compliance Guideline.
     7   1560 new accounts added per year.                           7          There's a reference here in the front
     8   BY MR. MIGLIORI:                                            8   page of this, it says that -- that -- that "These
     9       Q Did that number change in the subsequent              9   guidelines have been prepared in recognition of a
    10   years, '13, '14, '15 or '16, to your knowledge?            10   growing problem of misuse and diversion of
    11       A I would say yes, because they were                   11   controlled substances and the critical role of
    12   continuing to -- the business would grow and the           12   each member of the supply chain in helping to
    13   market would grow, so, yes, it would.                      13   enhance security."
    14       Q So your general recollection is that                 14          Did you understand when you first
    15   more than 1560 new accounts came on board from             15   started working with controlled substances in 2012
    16   2012 through 2016 for those physicians and                 16   that there was a growing, if not very grown,
    17   practices wanting to order controlled substances,          17   problem of misuse and diversion of controlled
    18   correct?                                                   18   substances?
    19       A Correct.                                             19       A Yes.
    20       Q Now, the -- in 2012 when you started,                20          MS. FINCHER: Object to the form.
    21   you said that one of the things you did was go to          21   Foundation.
    22   HDMA conferences.                                          22          I'll just note here that the document
    23       A They have one a year, so yes.                        23   predated her time at Schein relative to controlled
    24       Q Okay. Do you recall going to one in                  24   substances.
                                                          Page 91                                                  Page 93
     1   2012?                                                       1          MR. MIGLIORI: I want to make sure I
     2       A Yes.                                                  2   understand that. You said that 2008 was before
     3       Q And what, if anything, do you recall                  3   Schein was working with controlled substances?
     4   learning at that conference as it related to due            4          MS. FINCHER: Before her role at
     5   diligence?                                                  5   Schein --
     6       A I know that there was a presentation                  6          MR. MIGLIORI: Okay.
     7   related to "Know Your Customer," suspicious order           7          MS. FINCHER: -- working with controlled
     8   monitoring.                                                 8   substances.
     9       Q Were you ever provided the HDMA guidance              9   BY MR. MIGLIORI:
    10   about due diligence?                                       10       Q You said you educated yourself when you
    11          MS. FINCHER: Object to the form.                    11   got there in 2012, right, about controlled
    12          (Steffanie-Oak Exhibit No. 7 was                    12   substances?
    13          marked for identification.)                         13       A Yes.
    14   BY MR. MIGLIORI:                                           14       Q And one of the sources of that education
    15       Q Exhibit No. 7.                                       15   was the HDMA?
    16       A Yes.                                                 16       A Yes.
    17       Q And what do you recall the expectations              17       Q And this would -- did you -- were you
    18   to be by the trade association for distributors            18   provided this guidance, do you recall?
    19   relative to "Know Your Customer"?                          19       A I don't -- I don't recall specifically.
    20          MS. FINCHER: Object to the form.                    20   I know I've seen it over time, but I don't
    21          THE WITNESS: That you were responsible              21   remember if it was then.
    22   to know your customer.                                     22       Q Okay. It says: "At the center of a
    23   BY MR. MIGLIORI:                                           23   sophisticated supply chain, distributors are
    24       Q Did that involve more than verification              24   uniquely situated to perform the due diligence in

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     1   order to help support the security of the                 1          THE WITNESS: It required that the owner
     2   controlled substances they deliver to their               2   or the person responsible were to sign the
     3   customers."                                               3   documents.
     4           Is that part of what you learned in your          4   BY MR. MIGLIORI:
     5   training, that distributors were in a unique              5       Q Does the questionnaire for Henry Schein
     6   position to perform due diligence?                        6   actually require that it be under the penalties of
     7       A I don't know about the "unique" part,               7   perjury?
     8   but I understood that that was a requirement.             8       A I don't recall specifically.
     9       Q Okay. And you understand that the                   9       Q The types of information suggested for
    10   purpose of due diligence is that: "Such due              10   Henry Schein customers based on the HDMA guidance
    11   diligence can reduce the possibility that                11   provide potential customer with a credit
    12   controlled substances within the supply chain will       12   application.
    13   reach locations they are not intended to reach."         13          Did you require a credit application for
    14           That was one of the purposes of due              14   your new customers?
    15   diligence, correct?                                      15          MS. FINCHER: Object to the form.
    16       A Correct.                                           16          THE WITNESS: Not in my role, but I'm --
    17       Q And then for guidance, if you turn to              17   under the account setup, I -- I know they went
    18   the page that ends in 616, the very first category       18   through a credit application.
    19   is also about "Know Your Customer" due diligence.        19   BY MR. MIGLIORI:
    20           Do you recall ever seeing this in your           20       Q Okay. "A background questionnaire
    21   work on the due diligence backlog at Henry Schein?       21   requesting the following information: Business
    22       A Yes.                                               22   background, customer base, average number of
    23       Q And the types of information that they             23   prescriptions filled each day."
    24   recommend, the Distributors Trade Association            24          Is this information -- this type of

                                                       Page 95                                                          Page 97
     1   recommends under Part b, it says: "All                    1   information the types of information that you were
     2   information requested by a distributor should be          2   trained should be in a due diligence file for each
     3   provided by the owner of the potential customer,          3   of the Henry Schein customers?
     4   the pharmacist in charge, or in the case of a             4          MS. FINCHER: Object to the form.
     5   non-pharmacy customer, an equivalent designee."           5          THE WITNESS: Yes.
     6          Who would -- generally speaking, Henry             6   BY MR. MIGLIORI:
     7   Schein would fall more into the category of a             7       Q And isn't it true that from 2012 to
     8   distributor with non-pharmacy customers, correct?         8   2016, Henry Schein's compliance with this was a
     9       A Correct.                                            9   one-page questionnaire?
    10       Q It says: "Each completed application,              10          MS. FINCHER: Object to the form.
    11   questionnaire or other document providing                11          THE WITNESS: No.
    12   information requested by the distributor from the        12   BY MR. MIGLIORI:
    13   potential customer should be signed by the               13       Q How did Henry Schein obtain this
    14   potential customer's owner, pharmacist in charge         14   information --
    15   or equivalent designee." Saying: "I declare              15          MS. FINCHER: Object to the form.
    16   under penalty of perjury that the foregoing is           16   BY MR. MIGLIORI:
    17   true and correct, executed on this date."                17       Q -- that -- or information like this when
    18          Do you recall that kind of guidance from          18   you got there in 2012?
    19   the HDMA?                                                19       A In 2012, there was -- it was at least a
    20       A I don't recall specifically.                       20   two-page questionnaire in 2012, and then after
    21       Q Did Henry Schein ever require that much            21   that there were additional questionnaires that
    22   due diligence, that the person sign under the            22   were developed based off of the practice type that
    23   penalties of perjury?                                    23   the account would fill out.
    24          MS. FINCHER: Object to the form.                  24          And then as part of the whole overall

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     1   due diligence process, we also -- there was a           1   themselves? And -- and I'm distinguishing that
     2   licensure background check for state level DEA.         2   from the "Know Your Customer" due diligence.
     3   There was also an address verification check to         3       A I would say yes.
     4   make sure it appeared to be a legitimate address,       4       Q What roles did you have with SOMS?
     5   a legitimate practice office.                           5       A I think overall it was a joint role
     6           A Google search. If there was a website         6   between Verifications and Regulatory to make sure
     7   for the account, we would look at that.                 7   that the system was working, there was an adequate
     8   Healthgrades was used to look at different reviews      8   system, and that we were meeting the requirements.
     9   of the physician. You know, any information that        9       Q Well, specifically, what would your role
    10   was available on the internet.                         10   be in that?
    11       Q You would agree with me that all those           11       A It's understanding different pends that
    12   sources of information are important to understand     12   we had set up, making sure we were pending orders
    13   and know your customer, correct?                       13   for different reasons. It's -- if there were new
    14       A Correct.                                         14   drugs that were becoming -- we were learning on
    15       Q And when they had 27,000 cases that did          15   the marketplace that were being diverted, making
    16   not have full and complete due diligence, some         16   sure that we were looking at those drugs. Do an
    17   aspect of that information was missing in those        17   internal auditing of the system to make sure that
    18   27,000 due diligence files, correct?                   18   it was working as it was expected to work.
    19           MS. FINCHER: Object to the form.               19       Q But you didn't yourself get involved
    20           THE WITNESS: Correct.                          20   with setting the algorithms, correct?
    21   BY MR. MIGLIORI:                                       21       A Correct. No.
    22       Q And if you look at the last page of this         22       Q And the assumptions for those
    23   guidance -- or it says "Additional                     23   algorithms, that wasn't part of your
    24   Recommendations." It's going to be the page that       24   responsibility, correct?
                                                      Page 99                                                 Page 101
     1   ends in 626. Let's see if I got this right.             1        A Correct.
     2          It says under "SOPs": "It is                     2        Q Is it fair to say that in the world of
     3   recommended that to implement these industry            3   DEA compliance from 2012 to 2016, your primary
     4   compliance guidelines, specific written company         4   responsibilities were in the area of "Know Your
     5   SOPs be developed and maintained."                      5   Customer" due diligence and -- and distribution
     6          Did you ever do that, develop SOPs for           6   center audits?
     7   due diligence?                                          7           MS. FINCHER: Object to the form.
     8       A I don't recall actually developing one.           8           THE WITNESS: Yes.
     9   I was definitely involved in revising and changing      9   BY MR. MIGLIORI:
    10   existing procedures.                                   10        Q If you look at the page 623. It's
    11       Q Did they get implemented?                        11   page 11 of 15. I -- I brought you back too far.
    12       A Yes.                                             12           It's a section called "Documentation."
    13       Q Were they relative to due diligence?             13   It says: "All investigations should be fully
    14       A Yes.                                             14   documented, and all records of the investigation
    15       Q So if they happened between 2012 and             15   should be retained in an appropriate location
    16   2016, you would have had some input relative to        16   within the firm such as with other records
    17   due diligence?                                         17   relating to the particular customer."
    18       A Yes.                                             18           Was that something that you were taught
    19       Q Did you have any roles from 2012 to 2016         19   and trained in 2012?
    20   relative to the setting of thresholds in the           20        A Yes.
    21   Suspicious Order Monitoring Systems?                   21        Q And was it the belief at Henry Schein
    22       A No.                                              22   that if you were to perform due diligence,
    23       Q Did you have any roles at all with               23   everything had to be documented?
    24   respect to the Suspicious Order Monitoring Systems     24        A Yes.

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     1          MS. FINCHER: Object to the form.               1   You'll agree with me earlier that a pended order
     2   BY MR. MIGLIORI:                                      2   in the Henry Schein system was an order that
     3       Q And that a lack of documentation was            3   somehow triggered or tripped a concern about an
     4   evidence of not being fully compliant --              4   order deviating in size, frequency or pattern from
     5          MS. FINCHER: Object to the form.               5   prior orders of that customer?
     6   BY MR. MIGLIORI:                                      6           MS. FINCHER: Object to the form.
     7       Q -- with DEA due diligence?                      7           THE WITNESS: No.
     8          MS. FINCHER: Sorry, Don. Object to the         8   BY MR. MIGLIORI:
     9   form.                                                 9        Q How is that wrong?
    10          THE WITNESS: Yes.                             10        A Any new customer would automatically
    11   BY MR. MIGLIORI:                                     11   pend, and so it would be their first order.
    12       Q It says: "At a minimum, documentation          12        Q Okay. So I'll increase the definition.
    13   should include the names, titles and other           13   Any new customer is pended until they are cleared,
    14   relevant identification of the representative or     14   correct?
    15   the customer contacted -- example: The physician     15        A Correct.
    16   in charge or pharmacist in charge -- dates of        16        Q So in order to clear a new customer,
    17   contact, and a full description of questions asked   17   it's essential in the Henry Schein system to
    18   and requests for information made by the             18   perform due diligence, correct?
    19   distributor, and of information provided by the      19        A Correct.
    20   customer."                                           20        Q And it's essential to document that due
    21          You would agree with me that, in your         21   diligence, correct?
    22   review of the due diligence files at Henry Schein,   22           MS. FINCHER: Object to the form.
    23   that those were all important elements or fields     23           THE WITNESS: Correct.
    24   of information to be recorded, correct?              24   BY MR. MIGLIORI:
                                                  Page 103                                                  Page 105
     1           MS. FINCHER: Object to the form.              1       Q And a new customer, would the due
     2           THE WITNESS: Correct.                         2   diligence include criminal background checks?
     3   BY MR. MIGLIORI:                                      3           MS. FINCHER: Object to the form.
     4       Q And that failure to record that type of         4           THE WITNESS: No.
     5   information would amount to being an incomplete       5   BY MR. MIGLIORI:
     6   due diligence file, correct?                          6       Q In new customers, would due diligence
     7           MS. FINCHER: Object to the form.              7   include prior convictions for drug-related
     8           THE WITNESS: Correct.                         8   offenses?
     9   BY MR. MIGLIORI:                                      9           MS. FINCHER: Object to the form.
    10       Q "The documentation should include a            10   Foundation.
    11   clear statement of the final conclusion of the       11           Are you asking, Don, about her role in
    12   investigation, including why the order               12   Regulatory or Verifications or --
    13   investigated was or was not determined to be         13           MR. MIGLIORI: Due diligence.
    14   suspicious."                                         14           THE WITNESS: The license would be
    15           You would agree with me that at least        15   checked. There was a check on the license. There
    16   when you got there in 2012, you were trained that    16   was no criminal background.
    17   suspicious orders that were investigated, their      17   BY MR. MIGLIORI:
    18   outcome needed to not only be determined but         18       Q Well, you've seen -- have you ever seen
    19   documented in the due diligence files at Henry       19   the letters from the DEA about not relying on the
    20   Schein, correct?                                     20   mere existence of a registration as due diligence?
    21           MS. FINCHER: Object to the form.             21       A Yes.
    22           THE WITNESS: Correct.                        22       Q All right. So I'll go back to the
    23   BY MR. MIGLIORI:                                     23   original question.
    24       Q You mentioned the word "pend" earlier.         24           In the onboarding of a new client at

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     1   Henry Schein from 2012 to 2016, in the due                 1   the Cegedim Dendrite Company, correct?
     2   diligence for that pended new customer, was there          2       A Correct.
     3   a process by which to verify that that customer            3       Q Cegedite -- Cegedim actually performed
     4   did not have any prior drug-related criminal               4   external third-party audits of your -- of Henry
     5   offenses?                                                  5   Schein's suspicious order monitoring and due
     6       A If that offense affected their medical               6   diligence files, correct?
     7   license, yes.                                              7          MS. FINCHER: Object to the form.
     8       Q So the only way at Henry Schein to                   8   Foundation.
     9   determine whether or not somebody had a prior              9          THE WITNESS: Prior to me coming into
    10   drug-related criminal conviction would be if the          10   the position, yes.
    11   medical license were suspended?                           11   BY MR. MIGLIORI:
    12          MS. FINCHER: Object to the form.                   12       Q Okay. They didn't do any while you were
    13          THE WITNESS: Correct.                              13   there?
    14   BY MR. MIGLIORI:                                          14       A No. No audits, no.
    15       Q There was no independent review of a new            15       Q But they did help you train to
    16   onboarded customer of whether or not that doctor          16   understand the DEA requirements, correct?
    17   or practice had any convictions for drug-related          17       A It was an industry conference that I had
    18   offenses, other than verifying the medical                18   gone to, yes.
    19   license?                                                  19       Q Okay. Had you, when you took this
    20          MS. FINCHER: Object to the form.                   20   position, done anything to educate yourself on the
    21   BY MR. MIGLIORI:                                          21   prior audits of Cegedim?
    22       Q Correct?                                            22       A I don't recall being aware. In this --
    23       A Correct.                                            23       Q All right. This document is dated
    24       Q The last sentence of this documentation             24   December 16, 2009. It's called the "Cegedim
                                                        Page 107                                                 Page 109
     1   paragraph says: "Copies of any written                     1   Dendrite Compliance Solutions Draft, Schein S1
     2   information provided by the customer should also           2   Procedural Review."
     3   be retained as part of the documentation of the            3            And it says: "Background. The guidance
     4   investigation."                                            4   provided directly through the regulations was
     5           So for a new customer that came on                 5   further amplified in correspondence delivered by
     6   board, if they provided any dispensing history or          6   the Drug Enforcement Administration (DEA) in
     7   any other documentation from their practice, that          7   December of 2007."
     8   should be in the file, correct?                            8            Did you ever see that DEA Dear
     9       A Correct.                                             9   Registrant letter of December 2007?
    10       Q All right. So if I were to take a file              10        A Do you have a copy of it so I can look
    11   of a customer of Henry Schein, that information --        11   at it or --
    12   that is, all the information relied upon and all          12        Q I -- I do. Just do you recall it
    13   the conclusions from that information about the           13   offhand? I can show it to you.
    14   new customer, the pended new customer, should             14        A I know there was a DEA letter that I was
    15   actually be in the file to be compliant with the          15   aware of. I just don't remember the specific
    16   DEA regulations, correct?                                 16   date.
    17           MS. FINCHER: Object to the form.                  17        Q Okay. It says: "In this correspondence
    18           THE WITNESS: Correct.                             18   the DEA establishes expectations that registrants
    19           (Steffanie-Oak Exhibit No. 8 was                  19   will actively investigate prospective customers
    20           marked for identification.)                       20   and aggressively investigate orders pending to
    21   BY MR. MIGLIORI:                                          21   filling them."
    22       Q I show you exhibit -- Exhibit 8.                    22            Do you see that?
    23           You said one of the companies that you            23        A Mm-hmm.
    24   educated yourself on DEA regulatory compliance was        24        Q Did you understand that to be the --

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     1   your general recollection of what those letters          1          MS. FINCHER: Object --
     2   concerned?                                               2   BY MR. MIGLIORI:
     3          MS. FINCHER: Object to the form.                  3       Q -- at a minimum?
     4   BY MR. MIGLIORI:                                         4          MS. FINCHER: Object to the form.
     5       Q Is that consistent?                                5          THE WITNESS: Correct.
     6       A By aggressively and all that, yes, I               6   BY MR. MIGLIORI:
     7   understood what the requirements were per the CFR.       7       Q And it says: "A compliance agreement
     8       Q Okay. So Cegedim's conclusions and                 8   form should be developed and included in the new
     9   recommendations, if you turn to page 4 of the            9   account opening process."
    10   document, include a section called "New Accounts."      10          Did you in fact develop a compliance
    11   Do you see it?                                          11   agreement during your four years in Regulatory?
    12       A Mm-hmm.                                           12       A Yes, we did.
    13       Q "New accounts are opened without                  13       Q Were you part of that process of
    14   sufficient due diligence, investigations/               14   developing it?
    15   inquiries."                                             15       A I don't recall if it was there or if I
    16          Were you aware that Cegedim had found            16   had just modified it.
    17   that Henry Schein's new accounts were being opened      17       Q Okay. "The use of the MedPro inquiry
    18   without sufficient due diligence, investigations        18   should be expanded for all controlled substance
    19   and inquiries when you took the job in 2012?            19   accounts, and not just a limited number of states
    20       A No.                                               20   that require this background check."
    21          MS. FINCHER: Object to the form,                 21          Are you familiar with the MedPro
    22   foundation.                                             22   inquiry?
    23   BY MR. MIGLIORI:                                        23       A Somewhat, yes.
    24       Q "For the most part, new accounts are              24       Q And -- and what was it?
                                                    Page 111                                                  Page 113
     1   opened based upon a verification of the customer's       1       A That is the computer database that
     2   DEA number, which is not considered adequate by          2   Verifications would use to access the doctor's
     3   the DEA."                                                3   license. They could see if they were licensed in
     4           Were you aware that the -- the new               4   other states too, see if there were any actions
     5   customers were being onboarded, at least as of           5   against the license or if it was, you know, in
     6   2009, with simple verification of DEA registration       6   good standing.
     7   only?                                                    7       Q So if a physician went into MedPro --
     8       A No.                                                8   I'm sorry. Strike that.
     9           MS. FINCHER: Object to the form,                 9           If Henry Schein went into MedPro and saw
    10   foundation.                                             10   that a physician's license had been suspended and
    11   BY MR. MIGLIORI:                                        11   then reinstated, that information would be in
    12       Q You would agree with me that that's not           12   MedPro, correct?
    13   sufficient based on your training and knowledge,        13           MS. FINCHER: Object to the form.
    14   correct?                                                14           THE WITNESS: It -- yes, it should be in
    15           MS. FINCHER: Object to the form.                15   MedPro.
    16           THE WITNESS: Correct.                           16   BY MR. MIGLIORI:
    17   BY MR. MIGLIORI:                                        17       Q And the basis for the suspension should
    18       Q "Correspondence regarding the                     18   also be in MedPro, correct?
    19   prospective customer's previous history of using        19           MS. FINCHER: Object to the form,
    20   controlled substances, office practice rules, and       20   foundation.
    21   general practice expectations should be completed       21           THE WITNESS: Yes.
    22   prior to opening the new account."                      22   BY MR. MIGLIORI:
    23           You would agree that that's what needs          23       Q And if that information were relied upon
    24   to happen before opening a new account, correct --      24   by Henry Schein, that would be in your due

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     1   diligence file, correct?                                  1           Were you aware of that issue coming into
     2       A Correct.                                            2   the Regulatory Affairs position in 2012?
     3       Q And as of this time, at least in 2009,              3           MS. FINCHER: Object to the form.
     4   it appears from this document that MedPro was only        4           THE WITNESS: No, and I'm not clear what
     5   being used in the states that required it for             5   the context was of the pended order.
     6   background checks.                                        6   BY MR. MIGLIORI:
     7           MS. FINCHER: Object --                            7       Q You would agree with me that even when
     8   BY MR. MIGLIORI:                                          8   you got there in 2012, it was one of the
     9       Q Was that true --                                    9   observations that non-medically trained people
    10       A I don't --                                         10   were clearing pended orders in the Verifications
    11       Q -- when you got there in 2012?                     11   department, correct?
    12       A No.                                                12           MS. FINCHER: Object to the form.
    13           MS. FINCHER: Object to the form.                 13           THE WITNESS: That's correct, but there
    14   BY MR. MIGLIORI:                                         14   was never a requirement for them to be medically
    15       Q It says: "Henry Schein has conducted               15   trained.
    16   some on-site investigation for prospective               16   BY MR. MIGLIORI:
    17   customers. However, the criteria for the level of        17       Q Well, wasn't it true that your own
    18   due diligence has not been documented in any SOP         18   internal auditing that you participated in reached
    19   or memorandum."                                          19   a conclusion at the end of 2013 that the folks
    20           By the time you got there in 2012, was           20   that are clearing orders at that level need better
    21   there a standard operating procedure or memorandum       21   training?
    22   that documented how on site -- or what the               22           MS. FINCHER: Object to the form.
    23   criteria would be for due diligence for new              23           THE WITNESS: We needed to continually
    24   customers?                                               24   improve and provide additional training as
                                                     Page 115                                                   Page 117
     1       A Yes.                                                1   information became available. I will agree to
     2       Q Do you know when between 2009 and 2012              2   that, yes.
     3   that happened?                                            3   BY MR. MIGLIORI:
     4          MS. FINCHER: Object to the form.                   4       Q And will you agree that your auditing
     5          THE WITNESS: No.                                   5   group also found that there needed to be more
     6   BY MR. MIGLIORI:                                          6   communication with Regulatory Affairs in clearing
     7       Q You would agree with me that in order               7   those orders and not just having it be done by
     8   for there to be a criteria for due diligence, that        8   staff at the Verifications level?
     9   it would have to be included in a standard                9           MS. FINCHER: Object to the form.
    10   operating procedure of the company, correct?             10           THE WITNESS: I didn't really a hundred
    11          MS. FINCHER: Object to the form.                  11   percent agree with that finding, so I have to say
    12          THE WITNESS: It would need to be                  12   no.
    13   documented.                                              13   BY MR. MIGLIORI:
    14   BY MR. MIGLIORI:                                         14       Q Okay. Well, let me break it down.
    15       Q And that's where it would be documented,           15           You will agree with me that was the
    16   correct, in the SOPs?                                    16   finding of that committee -- of that audit,
    17          MS. FINCHER: Object to the form,                  17   correct?
    18   foundation.                                              18       A That was the finding of one individual,
    19          THE WITNESS: Yes. Yes.                            19   yes, I'll agree.
    20   BY MR. MIGLIORI:                                         20       Q Well, the audit is signed by all of you,
    21       Q Okay. Another conclusion of Dendrite               21   correct?
    22   was that: "Lower level staff is actively involved        22           MS. FINCHER: Object to the form.
    23   in clearing pended orders. Pended orders should          23           THE WITNESS: No.
    24   be cleared by a management official."                    24   BY MR. MIGLIORI:

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     1       Q All right. I will show it to you. You               1   iterations of a report that is -- it says from
     2   will agree with me that your auditing team reached        2   you, and to the attendees L. David, Jeff Peacock,
     3   the conclusion that low level staff were                  3   Mullens, David, Tejeda, Brandt, Matalon, Abreu and
     4   insufficiently trained and were making too many           4   Romeo, dated February 14, 2014.
     5   decisions without Regulatory input relative to            5           Do you recall writing this?
     6   clearing pended orders, correct?                          6       A I recall completing the minutes to the
     7       A No.                                                 7   meeting. I don't -- yes, I didn't -- these are
     8          MS. FINCHER: Object to the form. Asked             8   minutes from a meeting.
     9   and answered.                                             9       Q All right. So you -- you compiled these
    10   BY MR. MIGLIORI:                                         10   minutes, correct?
    11       Q All right. We'll get to it in a second.            11       A Correct.
    12          Do you agree with this observation in             12       Q And these minutes are from a meeting
    13   2009 of Cegedim that: "The responsibilities of           13   that related to certain findings of the SOM audit
    14   the customer service department, the Verifications       14   team, which included you, correct?
    15   department and the Regulatory department appear to       15           MS. FINCHER: Object to the form.
    16   be poorly defined and reliant, to some extent,           16           THE WITNESS: The audit was done -- from
    17   upon the judgment of individual employees                17   my recollection, was done by Ken Romeo, who was --
    18   regarding what types of situations should be             18   who reported to me.
    19   referred to management for approval or forwarded         19   BY MR. MIGLIORI:
    20   to Regulatory for investigation"?                        20       Q Okay. And so when Mr. Peacock testified
    21          First of all, were you aware that that            21   in this case that you were part of a team with
    22   was Cegedim's observation and recommendation in          22   Mr. Romeo and with Sergio Tejeda, would that have
    23   2009?                                                    23   been accurate relative to SOM auditing?
    24          MS. FINCHER: Object to the form,                  24           MS. FINCHER: Object to the form.

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     1   foundation.                                               1          THE WITNESS: We had been involved in
     2           THE WITNESS: No.                                  2   other audits. This particular -- let me see if
     3   BY MR. MIGLIORI:                                          3   this was the particular one that he had done on
     4       Q And when you got there in 2012, did you             4   his own.
     5   share that concern?                                       5   BY MR. MIGLIORI:
     6           MS. FINCHER: Object to the form.                  6       Q You -- you think Mr. Romeo did this on
     7           THE WITNESS: No. I wasn't -- I've                 7   his own?
     8   never seen this before, so no.                            8       A Yes.
     9   BY MR. MIGLIORI:                                          9       Q And you -- you reported this out to
    10       Q You did in fact participate in your own            10   everyone. Did you report it as only being
    11   audits where members of your team concluded              11   Mr. Romeo's?
    12   similarly, correct?                                      12       A Well, the original audit report should
    13           MS. FINCHER: Object to the form.                 13   be from him. This is just meetings -- we held a
    14   BY MR. MIGLIORI:                                         14   meeting to review the audit report and have
    15       Q Do you recall that?                                15   discussions, so I just documented the minutes.
    16       A Not how you're wording it. I know that             16       Q Okay. Well, let's go through the
    17   there was a finding about additional training            17   findings.
    18   being needed or recommended. So I can agree to           18       A Okay.
    19   that, yes. I'd like to see the report if I can.          19       Q Somebody at Henry Schein found, number
    20       Q Sure. I'll give it to you right now.               20   one, the current computerized Suspicious Order
    21           (Steffanie-Oak Exhibit No. 9 was                 21   Monitoring System is dated and that the risk level
    22           marked for identification.)                      22   is high.
    23   BY MR. MIGLIORI:                                         23          That was one of the findings you
    24       Q This is Exhibit 9. This is one of the              24   reported, correct?

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     1            MS. FINCHER: Object to the form.                 1       A I know we had meetings about the, yes,
     2   Mischaracterizes the document.                            2   audit itself. I don't remember actually carrying
     3            THE WITNESS: I didn't report that, no.           3   out audit functions of this, but --
     4   It's in the -- this is -- I added minutes within          4       Q Okay.
     5   his report. So, is that what you're asking?               5       A -- based off what Ken had done at his
     6   BY MR. MIGLIORI:                                          6   site, what he had looked at, he had reviewed the
     7        Q Maybe that's the question, but --                  7   information with me and Sergio.
     8        A Okay. Okay.                                        8       Q Okay.
     9        Q -- I can actually -- it's helpful to me            9       A But I don't recall taking -- actually
    10   if that's the distinction you're making. I can go        10   doing the audit myself.
    11   to the very original one and see if it -- let's          11       Q All right. But at least as it
    12   see.                                                     12   represents here --
    13            (Steffanie-Oak Exhibit No. 10 was               13       A Mm-hmm.
    14            marked for identification.)                     14       Q -- from the 2nd to the 3rd of 2013, you,
    15   BY MR. MIGLIORI:                                         15   Ken and Sergio were on site in Melville to
    16        Q I show you Exhibit 10.                            16   complete the DEA compliance assessment, correct?
    17        A (Peruses document.)                               17       A Correct.
    18        Q If this helps you, Exhibit 10 is                  18       Q You have no reason to think that's
    19   December 2013, so it's a couple of months earlier,       19   not --
    20   and this is written from Ken Romeo.                      20       A No.
    21            Do you see that?                                21       Q -- true? Okay.
    22        A Yes.                                              22           And the purpose of it, the report
    23        Q To Jeff Peacock, who was your superior,           23   summarizes the findings of the Regulatory
    24   correct -- your supervisor, correct?                     24   assessment of our suspicious order monitoring,
                                                       Page 123                                                 Page 125
     1          MS. FINCHER: Object to the form.                   1   "Know Your Customer" internal process and
     2   BY MR. MIGLIORI:                                          2   procedures, as well as the computer programs
     3       Q At this point.                                      3   utilized by our Suspicious Order Monitoring
     4       A No. I report to Sergio, and Sergio                  4   System.
     5   reports to Jeff. I mean ultimately I reported to          5           So you agree with me, at least in the
     6   Jeff.                                                     6   way it's presented, this was a report of the three
     7       Q Okay. Fair enough. I'm sorry. I'm                   7   of you, correct?
     8   sorry.                                                    8        A Yes.
     9          But -- but he took Mr. DiBello's                   9           MS. FINCHER: Object to the form.
    10   position at this point, correct?                         10   BY MR. MIGLIORI:
    11       A Yes.                                               11        Q All right. We can go and we'll see the
    12       Q All right. And it's the Regulatory                 12   same language that we just found.
    13   internal assessment of our DEA suspicious order          13           The findings of -- from three of you
    14   monitoring, "Know Your Customer" systems and             14   says: "Current computerized Suspicious Order
    15   procedures. Do you see that?                             15   Monitoring System is dated, and that risk level is
    16       A Yes.                                               16   high."
    17       Q And then it says: "On December 2nd and             17           That was one of the findings, correct?
    18   3rd, 2013, Ken Romeo, Tina Steffanie-Oak and             18           MS. FINCHER: Object to the form. She's
    19   Sergio Tejeda were on site in the Melville, New          19   already testified that she wasn't involved in the
    20   York, to complete a DEA compliance assessment of         20   audit itself.
    21   Henry Schein's SOM, 'Know Your Customer' systems         21           MR. MIGLIORI: Just form is enough.
    22   and procedures."                                         22           THE WITNESS: Yes. This is what it
    23          Does that refresh your recollection of            23   says, yes.
    24   who was doing the compliance assessment?                 24   BY MR. MIGLIORI:

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     1       Q And it says, "Risk level is high," and          1          And it says: "A, decision makers in the
     2   when that -- in terms of risk level high, that's      2   Verifications department lack the medical training
     3   for DEA enforcement, correct?                         3   and qualifications to release controlled
     4            MS. FINCHER: Objection.                      4   substances without regulatory/medical guidance in
     5   BY MR. MIGLIORI:                                      5   some instances."
     6       Q When you -- when you measure risk in            6          Was that one of the findings that your
     7   this kind of report, the risk that you're             7   group had in this particular audit in December of
     8   measuring is whether or not this is subject to DEA    8   2013?
     9   enforcement, correct?                                 9          MS. FINCHER: Object to the form.
    10            MS. FINCHER: Object to the form.            10          THE WITNESS: Yes.
    11            THE WITNESS: No. So the "high" here         11   BY MR. MIGLIORI:
    12   did not mean that we weren't compliant at the        12       Q You say: "In fairness, they are doing
    13   time. Is that --                                     13   the best they can with the limited training that
    14   BY MR. MIGLIORI:                                     14   they have received, and many of our Verifications
    15       Q I'm asking --                                  15   colleagues are new to the particular position of
    16       A So it would not -- it would not have led       16   decision makers."
    17   to any type of an enforcement action.                17          So you're identifying that it's a
    18       Q Okay. When the document talks about            18   problem, but they're trying.
    19   risk, if you go to the first page.                   19          MS. FINCHER: Object to --
    20       A Mm-hmm.                                        20   BY MR. MIGLIORI:
    21       Q It says: "This assessment is a result          21       Q Fair enough?
    22   of a cooperative effort of both Regulatory and       22          MS. FINCHER: Object to the form.
    23   Verifications teams who took into account, one,      23   Again, she's already testified she's not the one
    24   the identification of controlled substances and/or   24   who drafted these portions.
                                                  Page 127                                                  Page 129
     1   specific combinations of controlled substances        1           MR. MIGLIORI: Please just limit to
     2   that might potentially place Schein in a high risk    2   form.
     3   category of distributor -- as a distributor of        3           THE WITNESS: I wouldn't refer to it
     4   controlled substances for DEA regulatory actions."    4   as --
     5           Would you agree with me that the risk         5          MR. MIGLIORI: That's coaching. We just
     6   that you're measuring is whether or not you're        6   got Cohen involved with these, okay? I'm not a
     7   putting Schein in a high risk category as a           7   guy that usually cares, but that's way too much.
     8   distributor of controlled substances for DEA          8          MS. FINCHER: I'll do what I need to do
     9   regulatory action? That's the risk you're             9   to protect the record.
    10   measuring, correct?                                  10          MR. MIGLIORI: And we'll call Cohen if
    11           MS. FINCHER: Object to the form. Asked       11   we have to. He gave a number of eight words at
    12   and answered.                                        12   most. If you have form -- form, if you want to
    13           THE WITNESS: Based on how it's worded        13   say "asked and answered," that's fine. Please no
    14   in here, I agree, yes.                               14   coaching.
    15   BY MR. MIGLIORI:                                     15          MS. FINCHER: I'll continue to do what I
    16       Q Okay. Now, we've gone over a lot of            16   need to do to protect the record.
    17   these findings with other people. I just want to     17          MR. MIGLIORI: And then we'll call
    18   talk to you about on page 3.                         18   Cohen. All right?
    19           It says: "Individual account thresholds      19          MR. McDONALD: Don, just ask the
    20   for controlled substance purchases may be adjusted   20   question.
    21   by Verifications without regulatory and/or           21          MR. MIGLIORI: No, no, I just -- I want
    22   appropriate medical guidance, which could result     22   some acknowledgment. I appreciate what you're
    23   in appropriate product release." And the risk        23   doing, but it's coaching.
    24   here again is high.                                  24          MS. FINCHER: I -- I respectfully

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     1   disagree with you.                                    1       Q     Sure. I'll find it in a minute.
     2   BY MR. MIGLIORI:                                      2           If you go to No. 6 -- I'm sorry, I
     3       Q So one of the opportunities that your           3   didn't --
     4   group found was "To provide Verifications             4        A 246?
     5   personnel with additional medical and dental          5        Q -- I didn't show it to you. Number 6 on
     6   training geared towards a recognition of common       6   page 5, paragraph 6.
     7   drug utilization and prescribing habits of            7        A Paragraph 6. Okay.
     8   clinical physicians, dentists and institutional       8        Q It says: "Additional justification
     9   accounts."                                            9   letters should be reviewed by management." It
    10           One of the -- the opportunities or           10   says the risk level there is low.
    11   recommendations from your group was to come out      11           And it says: "The potential additional
    12   and say, We should train them better. Correct?       12   justification letters allow medical specialists
    13           MS. FINCHER: Object to the form.             13   input into the decision-making process, and
    14           THE WITNESS: Yes. To provide                 14   mitigates the long-term risk for Schein and better
    15   additional training would be beneficial, yes.        15   compliance with our obligations to the Code of
    16   BY MR. MIGLIORI:                                     16   Federal Regulations and the DEA."
    17       Q All right. I'm not going to make you go        17           Do you see that?
    18   through all of them because, again, we've done       18        A Yes.
    19   this with a bunch of other people.                   19        Q All right. And so that is a technique
    20           And so the overall recommendations on        20   for better due diligence, correct?
    21   page 7, in the short term, enhanced communications   21        A Okay. Yes. Yes.
    22   with the Verifications department.                   22        Q So we don't need to go back to this
    23           Did you believe at the end of 2013 that      23   original one since I think they're the same.
    24   it was important that Regulatory and Verifications   24           MS. FINCHER: Don, I'll just point out
                                                 Page 131                                                         Page 133
     1   have better interaction?                              1   it's almost noon. So I'm not sure when you wanted
     2       A Yes.                                            2   to take a lunch break.
     3       Q At the end of 2013, another                     3           MR. MIGLIORI: Why don't we go off the
     4   recommendation was to provide additional medical      4   record for a second and talk about that.
     5   training to Verification medical -- Verifications     5           THE VIDEOGRAPHER: 11:55. We're off the
     6   decision makers.                                      6   video record.
     7          That was one of your conclusions and           7           (Lunch recess.)
     8   recommendations, correct?                             8           THE VIDEOGRAPHER: 12:29, we're on the
     9          MS. FINCHER: Object to the form.               9   video record.
    10          THE WITNESS: Yes.                             10           (Steffanie-Oak Exhibit No. 11 was
    11   BY MR. MIGLIORI:                                     11           marked for identification.)
    12       Q And the third was to provide additional        12   BY MR. MIGLIORI:
    13   training relative to account due diligence           13        Q Okay. I'll show you Exhibit 11.
    14   techniques.                                          14           Exhibit 11 has a date of November 27,
    15          That is, you recommended at the end of        15   2013. It's a PowerPoint presentation with -- that
    16   this two-day assessment that more training was       16   bears your name on it. It says "Individual
    17   needed for account due diligence techniques,         17   Opportunity/Issue, Presented by Tina
    18   correct?                                             18   Steffanie-Oak."
    19          MS. FINCHER: Object to the form.              19           Did you review this in preparation for
    20          THE WITNESS: I'm not sure specifically        20   today?
    21   what that one referred to. I'm not sure if that      21        A I do remember seeing it yesterday.
    22   was -- I'm sorry. I can't find where is -- what      22        Q Okay. And is this something you
    23   page was it on?                                      23   prepared?
    24   BY MR. MIGLIORI:                                     24        A Yes.

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     1       Q Okay. On the second page, it says                     1   with DEA regulations, correct?
     2   "Opportunity/Issue." It says: "Are we in                    2           MS. FINCHER: Object to the form.
     3   substantial compliance with DEA SOM/Know Your               3           THE WITNESS: No.
     4   Customer regulations?"                                      4   BY MR. MIGLIORI:
     5           And the first bulleted item says: "We               5       Q You would agree that if a file had no
     6   do not have Know Your Customer Due Diligence for            6   information on it for a customer, that would be
     7   approximately 60 percent of our customers.                  7   noncompliance with DEA regulations, correct?
     8   Remaining 40 percent has varying degrees of due             8           MS. FINCHER: Object to the form.
     9   diligence (files are not consistent)."                      9           THE WITNESS: Correct.
    10           First of all, are those your words?                10   BY MR. MIGLIORI:
    11       A Yes.                                                 11       Q All right. It says: "What we do
    12       Q And the 60 percent represents files that             12   not" -- what -- "So what we do know from other
    13   have no due diligence, correct?                            13   Distributor DEA Civil Actions and recent DEA-
    14           MS. FINCHER: Object to the form.                   14   sponsored conferences: The fact that the customer
    15           THE WITNESS: I don't recall                        15   has a 'Valid DEA Registration" is not enough due
    16   specifically if some files may have had something.         16   diligence to 'Know Your Customer.'"
    17   I can't say with certainty.                                17           So the emphasis on "not enough," that is
    18   BY MR. MIGLIORI:                                           18   your emphasis, correct?
    19       Q Okay. The second part says: "Remaining               19       A From what I recall putting this
    20   40 percent has varying degrees of due diligence."          20   together, I did take a lot of this information
    21           So at least in the 40 percent, there is            21   directly out of the presentation that was
    22   some information. It doesn't say it all, correct?          22   prepared. So I can't say for certainty that that
    23       A Based -- based on improvements that we               23   was my emphasis. I believe that's what I took out
    24   made to the process, we had added different types          24   of the presentation.
                                                         Page 135                                                     Page 137
     1   of documents, so that's where the consistency               1       Q But -- but you would certainly agree
     2   comes from. So what the requirements were as of             2   that only relying on a DEA registration is not
     3   that day, they may not have had or been in that             3   compliance with DEA due diligence requirements,
     4   same format that was required.                              4   correct?
     5        Q Okay. Well, there's a lot of "mays" in               5       A Correct.
     6   -- I want to -- I want to understand, first of              6       Q Under "Opportunity/issues, continued,"
     7   all, what you know, and then -- or can recall, and          7   there are some statements. It says: "Statements
     8   then we'll get into what might explain some                 8   made by James Arnold, Unit Chief, Regulatory Unit,
     9   things.                                                     9   DEA headquarters, at industry conference regarding
    10           You'll agree with me that, at least for            10   suspicious order monitoring."
    11   this PowerPoint presentation that Henry Schein             11          Did you attend that particular
    12   produced to us, it says that: "We," Henry Schein,          12   conference?
    13   "do not have Know Your Customer Due Diligence for          13       A Yes.
    14   approximately 60 percent of our customers."                14       Q And you recall Unit Chief James Arnold
    15           That's a statement that you wrote,                 15   giving these examples?
    16   correct?                                                   16       A Yes.
    17        A Correct.                                            17       Q All right. And so you would have culled
    18        Q All right. And then on the remaining                18   these examples for this presentation. That is,
    19   40 percent, there were varying degrees of due              19   these are what you heard and observed from the
    20   diligence, the files were not consistent.                  20   conference?
    21           Those were your words, correct?                    21       A This is what I took out of his
    22        A Correct.                                            22   presentation, correct, and I heard him, yes.
    23        Q You would agree that incomplete files,              23       Q Okay. So one of the things that you
    24   whatever percentage that may be, is noncompliance          24   took from James Arnold's presentation was, "Do

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     1   what you are supposed to do and we won't have a       1        Q "Volume will tell you a lot about the
     2   problem."                                             2   customer."
     3           What did that mean?                           3           You'll agree that -- that large volumes
     4           MS. FINCHER: Object to the form.              4   of orders of controlled substances is a red flag
     5   BY MR. MIGLIORI:                                      5   for potential suspicious orders, correct?
     6       Q To your understanding.                          6           MS. FINCHER: Object to the form.
     7       A At the time I felt as though they               7           THE WITNESS: Generally speaking, yes.
     8   weren't giving us enough information. I mean, "Do     8   BY MR. MIGLIORI:
     9   what you're supposed to do." We were there as         9        Q You understood that Mr. Arnold was
    10   industry asking, What are our obligations? What      10   telling suppliers, distributors, "you should know
    11   are -- how -- how do we go about implementing this   11   what is suspicious more than DEA would know
    12   in a compliant way? So to me it had no meaning.      12   because you see the numbers and deal with the
    13   I kind of -- to me it came across as arrogant,       13   customers every day."
    14   quite honestly.                                      14           Was that one of the message -- messages
    15       Q Okay. You understand under the CF --           15   that Mr. Arnold was trying to deliver to companies
    16   CSA and the DEA regulations, the obligation to       16   like Henry Schein?
    17   design a system was that of the supplier, that of    17        A Yes, that was the message.
    18   Henry Schein, correct?                               18        Q It says: "Unacceptable excuses for
    19       A Yes.                                           19   failure to report a suspicious order, according to
    20           MS. FINCHER: Object to the form.             20   DEA, included, 'They had a valid DEA
    21   BY MR. MIGLIORI:                                     21   registration.'"
    22       Q And you understand that under the              22           We've already accepted that just having
    23   regulations, that DEA headquarters and field         23   a valid DEA registration is not due diligence,
    24   offices were not allowed to tell you whether your    24   correct?
                                                 Page 139                                                        Page 141
     1   system was compliant, correct?                        1       A Correct.
     2           MS. FINCHER: Object to the form.              2       Q "We are only a link, one link in the
     3           THE WITNESS: Correct.                         3   supply chain."
     4   BY MR. MIGLIORI:                                      4           Claiming that you are only one part of
     5       Q All right. It says: "All you need to            5   the supply chain is not a sufficient excuse for
     6   do is identify and report. It's that simple."         6   not reporting suspicious orders, correct?
     7           Was that one of the things you took out       7           MS. FINCHER: Object to the form.
     8   of his presentation?                                  8           THE WITNESS: That was the statement
     9       A Yes.                                            9   that the -- made by the DEA. Not knowing where
    10       Q And you understand that the importance         10   other drugs are coming from is problematic to a
    11   of identifying suspicious orders and reporting       11   distributor, because if you're selling only one
    12   them was towards the end of preventing misuse,       12   bottle, and they're getting 500 from someone else,
    13   abuse and diversion?                                 13   your bottle of 100 is not going to appear
    14       A Yes.                                           14   suspicious. So...
    15       Q "Legitimate medical need is key."              15   BY MR. MIGLIORI:
    16           Do you understand that to mean that --       16       Q And one of the recommendations that your
    17   that part of the closed system and the               17   audit team actually came up with was that you
    18   distributor's obligations under the closed system    18   actually request prescribing histories of your new
    19   to prevent diversion was so that folks who           19   customers for that purpose, right?
    20   actually needed controlled substances wouldn't be    20           MS. FINCHER: Object to the form.
    21   interfered with getting them?                        21           THE WITNESS: Yes. Not always provided,
    22           MS. FINCHER: Object to the form.             22   though, it wasn't.
    23           THE WITNESS: Yes.                            23   BY MR. MIGLIORI:
    24   BY MR. MIGLIORI:                                     24       Q Fair enough.

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     1           But you understood the importance that           1           THE WITNESS: Yes.
     2   whatever you're providing, that is, whatever Henry       2   BY MR. MIGLIORI:
     3   Schein was providing to a customer for controlled        3       Q And then the last example that you put
     4   substances, could actually be indicative of an           4   down from his presentation, Mr. Arnold's
     5   even bigger concern because that customer could          5   presentation, was that: "DEA would not find it to
     6   also be ordering from other suppliers, correct?          6   be an acceptable excuse to say, As a distributor,
     7       A Yes.                                               7   I'm not a doctor or pharmacist."
     8           MS. FINCHER: Object to the form.                 8           That's what they said in this
     9   BY MR. MIGLIORI:                                         9   presentation, correct?
    10       Q And that -- that was known to you at the          10       A Yes.
    11   time, right?                                            11       Q That is, you just -- it's not sufficient
    12           MS. FINCHER: Object to the form.                12   to just blame the doctor or pharmacist for
    13           THE WITNESS: Yes.                               13   diversion, correct?
    14   BY MR. MIGLIORI:                                        14           MS. FINCHER: Object to the form.
    15       Q And part of knowing your customer is              15           THE WITNESS: I don't think that's how
    16   understanding and appreciating the prescribing          16   it was interpreted. I think it was saying, As a
    17   habits of that customer, correct?                       17   distributor, we're not a doctor or pharmacist to
    18       A Correct.                                          18   understand how the drugs are going to be used.
    19       Q Mr. Arnold also said: "It wasn't                  19   BY MR. MIGLIORI:
    20   acceptable to say that we," Henry Schein, "can't        20       Q Right.
    21   look at every customer order."                          21       A Not to point to the doctor and say it's
    22           Did you appreciate that in 2013 that --         22   the doctor's responsibility.
    23   that it wasn't acceptable to simply say, It's too       23       Q Right. Okay. Fair enough.
    24   much work to look at all of our customers' orders?      24           Then you put together a slide that says
                                                      Page 143                                                 Page 145
     1           MS. FINCHER: Object to the form.                 1   "Potential Risks to Henry Schein." And you raise
     2           THE WITNESS: Yes. These are comments I           2   the question: "How vulnerable are we to potential
     3   guess they've heard from industry, not from me, so       3   DEA Regulatory action by not having complete due
     4   I -- yeah.                                               4   diligence on all customers purchasing controlled
     5   BY MR. MIGLIORI:                                         5   substances?"
     6        Q And they're quoted.                               6           So you -- you raise the question of --
     7        A Yes, yes.                                         7   of vulnerability because the due diligence files
     8        Q I'm not saying you said this.                     8   are incomplete, correct?
     9        A Yes.                                              9       A Correct.
    10        Q But you took from his presentation that          10       Q And then your bullet point is that:
    11   the DEA expected of suppliers that they not use as      11   "DEA has stated: One, a pattern of drugs being
    12   an excuse --                                            12   distributed to practitioners or pharmacies who are
    13        A Right.                                           13   diverting demonstrates a lack of effective
    14        Q -- that there's no way they could look           14   controls against diversion by the distributor."
    15   at every one of their customers' orders. You            15           So you at least recognized from this
    16   understood that, correct?                               16   presentation of Mr. Arnold that diversion in the
    17        A Yes.                                             17   field is actually evidence of a lack of effective
    18        Q All right. DEA was also telling                  18   controls by the distributor. Correct?
    19   distributors that it wasn't an acceptable excuse        19           MS. FINCHER: Object to the form.
    20   to say that, We are not responsible for what a          20           THE WITNESS: Yes.
    21   customer does with the drugs.                           21           MS. FINCHER: Mischaracterizes the
    22           That's not an acceptable excuse for             22   document.
    23   misuse, abuse or diversion, correct?                    23   BY MR. MIGLIORI:
    24           MS. FINCHER: Object to the form.                24       Q Go ahead.

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     1        A Yes, I understood that that's how they         1   potential Regulatory action, your third bullet
     2   interpreted it, yes.                                  2   point says: "DEA cannot guarantee that past
     3        Q "The distributor registration could be         3   failure to maintain effective controls against
     4   revoked under public interest grounds."               4   diversion will not result in actions against the
     5           And you understood that one of the            5   distributor."
     6   consequences of diversion is that Henry Schein        6           Did you understand coming out of this
     7   could lose its DEA registration, correct?             7   presentation by Mr. Arnold that the past failures
     8        A Yes.                                           8   to prevent diversion in Henry Schein, to the
     9           MS. FINCHER: Object to form.                  9   extent that they existed, continued to be risk of
    10   BY MR. MIGLIORI:                                     10   future DEA enforcement?
    11        Q You also put from this presentation           11           MS. FINCHER: Object to the form.
    12   that: "Any distributor who is selling drugs that     12           THE WITNESS: Yes.
    13   are being dispensed outside the course of            13   BY MR. MIGLIORI:
    14   professional practice must stop immediately."        14       Q Okay. And then you list the different
    15           So that is one of the takeaways from         15   types of DEA actions. You write a letter of
    16   Mr. Arnold's presentation, correct?                  16   admonition and immediate suspicion order,
    17        A Yes.                                          17   memorandum of agreement, administrative hearing,
    18        Q So in your -- in your supply chain when       18   surrender for cause, order to show cause,
    19   you're dispensing to a physician, and you learn      19   revocation of registration and fines.
    20   that that physician is self-medicating, under this   20           Did you pull those types of DEA actions
    21   observation, it's clear that the DEA's expectation   21   out of the presentation?
    22   is that Henry Schein stop sending controlled         22       A Yes.
    23   substances to that physician immediately, correct?   23       Q And so those are the types of actions
    24           MS. FINCHER: Object to the form.             24   that the DEA could take for failing -- for Henry
                                                 Page 147                                                  Page 149
     1           THE WITNESS: I'm not -- I mean, we            1   Schein's potential failure to comply with DEA
     2   didn't ship to someone who indicated they were        2   regulations for controlled substances, correct?
     3   self-medicating, so --                                3       A I'm sorry, can you repeat that?
     4   BY MR. MIGLIORI:                                      4       Q Yeah. So these -- these potential
     5        Q Yes. Let me -- let me explain what --          5   actions are the potential ramifications if Henry
     6   it's a hypothetical.                                  6   Schein were to be found to have been noncompliant
     7        A Okay.                                          7   with DEA regulations, correct?
     8        Q Okay. So if a physician is self-               8       A Correct.
     9   medicating, and it comes to the attention of Henry    9          MS. FINCHER: Object to the form.
    10   Schein, under this observation that you've made      10   BY MR. MIGLIORI:
    11   here from Mr. Arnold's presentation, it's clear      11       Q And that would include failures to
    12   that the DEA expects that Henry Schein stop all      12   maintain proper due diligence, correct,
    13   orders being shipped to that physician who is        13   potentially?
    14   using them outside the course of the intended use.   14       A Potentially, yes.
    15   Correct?                                             15       Q So, again, this is dated November 27th,
    16           MS. FINCHER: Object to the form.             16   2013. One of the solutions you posit is:
    17           THE WITNESS: Correct. Excuse me.             17   "Develop and execute a plan to obtain due
    18   BY MR. MIGLIORI:                                     18   diligence on all active customers purchasing
    19        Q Between the objection and the cough, I        19   controlled substances within a reasonable time
    20   just want to make sure --                            20   frame."
    21        A I'm sorry. Yes.                               21          We discussed the 27,000 customer
    22        Q -- that's -- that's correct.                  22   backlog. Do you recall in November of 2013 the
    23        A Yes, it is.                                   23   need to develop and execute a plan to catch up on
    24        Q Okay. And then finally you write, as a        24   those customer files that did not have due

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     1   diligence?                                            1       Q What's PDM?
     2       A Yes.                                            2       A Product -- product data management.
     3       Q And the last point says: "Additional            3       Q Okay. And IM and marketing. What's
     4   Regulatory resources are needed to prepare, review    4   IM?
     5   and complete customer due diligence."                 5       A Oh, God.
     6           Was that the need to hire more people in      6       Q Information management? It's okay if
     7   order to catch up on the backlog?                     7   you don't remember.
     8       A Yes, additional resources were needed,          8       A Yeah, I don't remember. Sorry.
     9   correct, to complete the due diligence. Yes.          9       Q All right. "To address List 1 chemical
    10       Q And so that's going into the beginning         10   recordkeeping issues identified in the DEA letter
    11   of 2014. That is, the need to come up with this      11   of admonition issued to our Indy distribution
    12   plan, to execute on it, and to get Schein in         12   center."
    13   compliance with its due diligence requirements,      13          First of all, what is a List 1 chemical
    14   and that's the state of affairs as of the end of     14   recordkeeping issue?
    15   2013, correct?                                       15       A I don't recall specifically what the
    16           MS. FINCHER: Object to the form.             16   issue was. So List 1 chemicals, they had iodine.
    17           THE WITNESS: 2014, you said, right?          17   Excuse me. We also had pseudoephedrine and
    18   Was it '14 or '13."                                  18   ephedrine, but they were actually regulated under
    19   BY MR. MIGLIORI:                                     19   our controlled substance license and not the
    20       Q The end of 2013 was that document.             20   List 1 chemical. So it was only iodine that we
    21       A Okay. Yes.                                     21   had.
    22           (Steffanie-Oak Exhibit No. 12 was            22       Q Are you familiar with what's called
    23           marked for identification.)                  23   Ingredient Limit Reports?
    24   BY MR. MIGLIORI:                                     24       A Vaguely. I know we didn't have to file
                                                  Page 151                                                 Page 153
     1        Q All right. I'm going to show you,              1   any.
     2   hopefully quickly, Exhibit 12. This is your 2013      2        Q And that follows my question, did you
     3   performance report.                                   3   file any to your knowledge?
     4        A Oh, sorry.                                     4        A No.
     5        Q Do you recognize this to be your               5        Q All right. List 1 chemical
     6   performance report from 2013?                         6   recordkeeping, as you understand it represented
     7        A Yes.                                           7   here, is not related to controlled substances?
     8        Q All right. I'm just going to, again,           8        A This specific issue was -- no, it was
     9   bring you to this box on the top of the second        9   related only to List 1 chemical. It wasn't -- I
    10   page. There are a couple of things here that I       10   don't remember specifically what the reporting
    11   wanted to follow up with you on.                     11   issue was, but it was only for the List 1. It did
    12           So your -- was it Sergio Tejeda that         12   not impact controlled substances.
    13   provided your performance appraisals?                13        Q Okay. And so -- but the Indy
    14        A Yes.                                          14   distribution center is the only center that had
    15        Q It said you had another full year of          15   controlled substances, correct?
    16   challenges, but one that you managed to the end in   16        A No. I'm sorry. They all had controlled
    17   a positive way. "Tina shows she is a strong          17   substances, and they all had List 1 -- they all
    18   manager and successfully completed/managed the       18   had iodine, so like povidone basically.
    19   following major goals/projects."                     19        Q So I want to make sure I understand
    20           And I wanted to bring you to -- well,        20   because I think you said to me before that for
    21   let's do the first one.                              21   Ohio anyway, controlled substances would have --
    22           It says: "Partnered with IS." That's         22   or Schedule II drugs would have come out of Indy
    23   the information systems department, correct?         23   only.
    24        A Correct.                                      24        A Correct.

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     1       Q All right. Your understanding of this               1   process, explain what it is, why we do it, and how
     2   List 1 chemical recordkeeping issue that caused           2   they need to help educate their customers as well
     3   the DEA to write a letter of admonition, that had         3   on what information that we need.
     4   nothing to do with the Indianapolis's --                  4            Then there was a second show again for
     5   Indianapolis control -- distribution center's             5   the medical sales where we had a table set up,
     6   controlled substances, correct?                           6   where we would share our "Know Your Customer"
     7       A Correct.                                            7   forms and speak one on one with the sales reps to,
     8       Q All right. So it said: "Continued to                8   again, educate them on the process and why we're
     9   coach and work closely with her team to continue          9   doing what we're doing, and why it's so important.
    10   to develop and educate them on DEA requirements."        10       Q Did the sales force have any role in
    11          So you continued to train and -- and              11   your suspicious order monitoring/"Know Your
    12   develop your own team on those issues, correct?          12   Customer" process at this time?
    13       A Correct.                                           13       A Only as far as just educating the
    14       Q "Attended several industry conferences             14   customer on the forms that they're going to need
    15   to ensure they keep up to date on the DEA's area         15   to fill out and why we need their cooperation in
    16   of focus and new trends."                                16   providing the data that we're asking for.
    17          So you stayed current with industry               17       Q It would be inappropriate for a
    18   conferences, correct?                                    18   salesperson to tell customers how to fill out the
    19       A Correct.                                           19   form, correct?
    20       Q It says: "Conducted a 1 -- conducted               20            MS. FINCHER: Object to the form.
    21   103 DEA customer site visits and completed over          21            THE WITNESS: Correct.
    22   500 due diligence reviews."                              22   BY MR. MIGLIORI:
    23          So that was your contribution to the              23       Q And that is, and to provide answers that
    24   backlog process, correct?                                24   would generate the least amount of scrutiny,
                                                      Page 155                                                          Page 157
     1          MS. FINCHER: Object to the form.                   1   correct?
     2          THE WITNESS: It could be current                   2             MS. FINCHER: Object to the form.
     3   customers and accounts that they were collecting          3             THE WITNESS: Correct.
     4   due diligence from, just for accounts that needed         4   BY MR. MIGLIORI:
     5   to be escalated to Regulatory for a second review.        5        Q And -- and what kind of training
     6   BY MR. MIGLIORI:                                          6   materials had you used for the sales teams? Was
     7       Q Okay. So for you to get a review -- to              7   it -- it says "online training module." Where --
     8   do a review, it would have been something that            8   where was that housed?
     9   Verifications has said, We need to escalate this          9        A It was -- I can't remember the name of
    10   up to Regulatory, correct?                               10   the computer system. It was -- it's a -- it's an
    11       A Correct.                                           11   online training software that all the sales reps
    12       Q All right. And then it says: "Provided             12   have access to, so they use it for multiple types
    13   DEA suspicious order monitoring and 'Know Your           13   of medical type training.
    14   Customer' related training to our sales team by          14             So my team, we created a specific
    15   participating in several medical regional sales          15   module, again to explain what "Know Your Customer"
    16   meetings and developing content for an online            16   is, why we do it, why it's important, how to help
    17   training module that will be rolled out by the           17   educate the customer, and why they need to
    18   second quarter of 2014."                                 18   cooperate. You know, we showed some -- some of
    19          Tell me what you did with the sales               19   the previous companies that had been fined to try
    20   force at Henry Schein.                                   20   to show the importance of what could happen if we
    21       A There was one specific sales meeting               21   don't, you know, comply with the --
    22   where Shaun and I did a presentation to the              22        Q Was the prior exhibit, No. 11, part of
    23   medical sales reps -- excuse me -- explaining what       23   that module? Is that one of the things that you
    24   this sort of monitoring was, "Know Your Customer"        24   would have shown the sales force?

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     1       A Exhibit 11?                                         1   responsible for minutes.
     2       Q Your PowerPoint presentation.                       2       Q Okay. And so is she still there, to
     3       A No.                                                 3   your knowledge?
     4       Q Okay. Was -- was that online module                 4       A Yes.
     5   something that continued -- you continued to use          5       Q And so she would have maintained the
     6   right through the time of your resignation?               6   minutes and would have reported -- like this
     7       A Yes.                                                7   document, would have reported the various issues
     8       Q And you don't know what system that that            8   discussed, correct?
     9   module was housed on?                                     9       A I believe so, yes.
    10       A I -- I can't remember the name of it.              10       Q All right. Under "Training" -- well, it
    11       Q The --                                             11   says: "Tina and Ken recently conducted a thorough
    12       A It was controlled through the medical              12   audit. System improvements were initiated
    13   education team.                                          13   involving reprogramming additional costs. We need
    14       Q And it was content that you put together           14   to define metrics to meet company Regulatory team
    15   for "Know Your Customer" obligations for the             15   goals. Provide monthly reporting to senior
    16   benefit of the sales force at Henry Schein?              16   management."
    17       A Correct.                                           17          So did -- did you and Ken Romeo work
    18       Q And we've had a lot of testimony about             18   together to come up with sort of a metric for
    19   JD Edwards. I think it was called JD Edwards --          19   regular reporting out to senior management?
    20       A Mm-hmm, yes.                                       20       A I don't remember -- I don't recall
    21       Q -- platform. Would it have been housed             21   specifically what this statement refers to. I'm
    22   there?                                                   22   not sure if there's something further down in the
    23       A No.                                                23   body of the --
    24       Q Was it something that they could print             24       Q Well, we can look through it. But

                                                       Page 159                                                    Page 161
     1   out if they needed to print it out as a resource?         1   you -- you -- at least according to this document,
     2        A No. No.                                            2   you began a process where your group would be
     3           (Steffanie-Oak Exhibit No. 13 was                 3   reporting out on a monthly basis to your senior
     4           marked for identification.)                       4   management, correct?
     5   BY MR. MIGLIORI:                                          5       A Yes.
     6        Q Exhibit 13 is called the "DEA Compliance           6          MS. FINCHER: Object to the form.
     7   Updated -- Compliance Update" dated May 12th,             7   BY MR. MIGLIORI:
     8   2014. It's issued by Kathy Reid, and you're               8       Q Under "Training," it says: "Ken has
     9   listed as one of the attendees.                           9   been listed as the primary for developing
    10           Who's Kathy Reid at this point?                  10   professional training materials for the DEA team,
    11        A She was a Regulatory specialist that              11   Regulatory team, Verifications new team members.
    12   reported to me.                                          12   It was suggested that Verifications provide a
    13        Q Okay. So it's a "First meeting of DEA             13   recommendation versus just sending accounts over
    14   team for ongoing monthly meetings to provide             14   for Regulatory review."
    15   updates and discuss issues, constraints, what we         15          Do you recall there being a process by
    16   should be reporting, how to measure, how to              16   which it was recommended that Verifications
    17   report."                                                 17   actually make a recommendation about whether to
    18           Do you recall in May of 2014 starting a          18   release a pended order before passing to
    19   monthly meeting for updates and issues among your        19   regular- -- before escalating it to Regulatory?
    20   team in Regulatory?                                      20          MS. FINCHER: Object to the form,
    21        A Yes.                                              21   mischaracterizes the testimony.
    22        Q And were minutes taken of these monthly           22          THE WITNESS: I'm sorry, your
    23   meetings?                                                23   question -- it doesn't have -- that's not the
    24        A Most likely, yes. Kathy Reid was                  24   meaning of this statement, so...

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     1   BY MR. MIGLIORI:                                      1   Regulatory that had a medical license?
     2       Q Oh, it's not?                                   2       A Yes.
     3       A It's not, no.                                   3       Q "It's also noted that Regulatory due
     4       Q So what does it mean?                           4   diligence report may be viewed by the DEA if they
     5       A So when an account was escalated from           5   investigate the account. Currently Regulatory
     6   Verifications to Regulatory for -- for a request      6   only receives 20 percent of pended orders for
     7   to review, in the past Verifications would provide    7   further review. Verification reviews the other
     8   an e-mail with -- not necessarily giving their        8   80 percent to determine if the system pended
     9   recommendation on -- or a write-up of the account.    9   orders unnecessarily or a physician is
    10           So what we did was we instituted a           10   self-medicating. Restriction letters are sent by
    11   similar process that Regulatory had where they had   11   them."
    12   a report form that they filled out and kind of       12          So is that consistent with your
    13   summarized all the information, and then indicated   13   recollection that 80 percent of the due diligence
    14   in there we're -- we're giving it over to            14   was handled at the Verifications level?
    15   Regulatory for these reasons. It was more like a     15          MS. FINCHER: Object to the form.
    16   summary for Regulatory so that we didn't have to     16          THE WITNESS: Correct, because new
    17   go trying to dig through and figure out why did it   17   customers would pend, so that was a large amount
    18   came to us. What was the concern? Why are you        18   of the pends were new customers. So they were
    19   sending it to us? So that's what that meant          19   able to review those.
    20   there.                                               20          Additionally, if there was an existing
    21       Q Okay. So if you go to the next page in         21   account and they ordered a new active ingredient,
    22   the first full paragraph, it talks about: "It was    22   that order would pend. So it may not be
    23   discussed that although Verifications provides       23   suspicious. It may be a drug that's commonly used
    24   background information for the S1 reviews            24   within that practice, but they had not yet
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     1   forwarded to Regulatory, 90 percent of the final      1   purchased it from us. So that would pend. So
     2   reviews contained additional information from         2   based off of the information that they had, they
     3   Regulatory, the additional research, phone            3   were able to clear those orders without escalating
     4   interviews with doctors and/or facilities and site    4   it to Regulatory.
     5   visits when necessary."                               5   BY MR. MIGLIORI:
     6           Was that type of due diligence that --        6        Q So about 80 percent of the pended orders
     7   the responsibility of Regulatory? That is, the        7   were managed or cleared or otherwise handled by
     8   phone interviews, additional internet research,       8   Verifications, 20 percent was handled by your
     9   site visits, is that in part the nature of            9   department. Correct?
    10   escalating it to Regulatory?                         10        A Correct.
    11       A Well, I don't agree that -- I don't            11        Q And the only MD was in Regulatory, not
    12   agree that 90 percent of them that came had that     12   in Verifications, correct?
    13   much additional information. As far as conducting    13        A Correct.
    14   phone interviews, that was typically the             14        Q And what does it mean if a physician is
    15   responsibility of Regulatory to do that.             15   self-medicating, restriction letters are sent by
    16       Q Okay. And then it says that there's a          16   them?
    17   dramatic difference between Regulatory review and    17        A Henry Schein had a policy that if the
    18   Verifications. It says: "Ken reviews from the MD     18   doctor indicated on their "Know Your Customer"
    19   level."                                              19   form that they were ordering the drugs for their
    20           Was Ken a physician?                         20   own use, we would restrict them. So those
    21       A He was a -- he had a medical license but       21   accounts did not have to go to Regulatory to --
    22   hadn't practiced.                                    22   for us to agree that they were self-medicating.
    23       Q Okay. To your knowledge, is that the           23           So Verifications had the authority to go
    24   only one -- the only person in Verifications or      24   ahead and restrict those accounts based off of the

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     1   information provided by the doctors.                  1   projects.
     2       Q And in that context, does "restrict"            2          2014, it's Exhibit No. 14. It's your
     3   mean they got nothing, no controlled substances       3   performance appraisal. Again, it's by Sergio
     4   after that or --                                      4   Tejeda on the second page.
     5       A Correct.                                        5          And it talks about how -- "Tina has
     6       Q Go ahead.                                       6   developed a strong DEA compliance team, and is now
     7       A Correct.                                        7   recognized in the company as a source for
     8       Q Okay. And you would agree with me that          8   information on DEA matters."
     9   a physician self-medicating is on its face a          9          So from the end of 2012 to the end of
    10   suspicious order, correct?                           10   2014, in those two years, would you agree with
    11            MS. FINCHER: Object to the form.            11   Mr. Tejeda's observation at this point in time,
    12            THE WITNESS: I would say that, in many      12   the end of 2014, that you are the source of
    13   cases, what we ended up finding out was that the     13   information on DEA matters?
    14   doctor had a valid prescription from his own         14          MS. FINCHER: Object to the form.
    15   doctor, and he was just thinking that he could       15          THE WITNESS: Yes. And this is in the
    16   just fill it out of his own supply.                  16   context again for distribution center compliance,
    17   BY MR. MIGLIORI:                                     17   correct.
    18       Q Would that --                                  18   BY MR. MIGLIORI:
    19       A So --                                          19       Q And more so --
    20       Q Sorry, I didn't mean to interrupt you.         20       A Working with sites.
    21       A That's okay.                                   21       Q I'm sorry. I didn't mean to interrupt.
    22       Q Would that be enough to release the            22       A That's okay.
    23   prescription, if he had a valid --                   23       Q And more so on the side of due diligence
    24       A No, it wouldn't. We would explain to           24   than on suspicious order monitoring for that

                                                  Page 167                                                      Page 169
     1   them that they're acting as a pharmacy, and           1   component of compliance, correct?
     2   they're not licensed as a pharmacy. And we found      2        A Correct.
     3   a lot of doctors didn't realize that they couldn't    3        Q It says: "She continues to develop
     4   do that, because it's not like they were writing      4   positive relationships with Verifications,
     5   their own prescription and taking the drugs.          5   Operations, Sales, IT and Marketing teams, as well
     6       Q So if a doctor were deemed or determined        6   as our JVs."
     7   to be self-medicating, and a restriction letter       7           That's joint ventures, correct?
     8   went out, would a suspicious order be reported to     8        A Correct.
     9   the DEA field office or headquarters?                 9        Q "She also built important relationships
    10       A If there was an open order at the time,        10   with regulators and other industry players, which
    11   it would be reported as suspicious, correct.         11   allow her to go to the source on matters affecting
    12       Q Okay. And failure to report a                  12   the company and stay on top of new requirements.
    13   suspicious order if there was an open order at the   13   Tina had a great year and successfully completed/
    14   time would be noncompliant with the DEA              14   managed the following programs."
    15   regulations as you understood them, correct?         15           It says: "Successful implementation of
    16           MS. FINCHER: Object to the form.             16   the tramadol and hydrocodone federal
    17           THE WITNESS: If -- yes, if there was an      17   rescheduling."
    18   open order and it was deemed to be suspicious,       18           Did you change over all of Henry
    19   yes.                                                 19   Schein's handling of tramadol and hydrocodone as
    20           (Steffanie-Oak Exhibit No. 14 was            20   controlled -- Schedule II controlled substances?
    21           marked for identification.)                  21        A Hydrocodone was a Schedule II. Tramadol
    22   BY MR. MIGLIORI:                                     22   was an Rx that went to a schedule, but it wasn't a
    23       Q Okay. We'll quickly do your '14                23   II, I don't think.
    24   appraisal, just to get a couple more little          24        Q Okay.

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     1       A I think it might have been a III. So I              1       A That's the online module we were talking
     2   was part of a project team.                               2   about earlier, so it's the field sales
     3       Q Okay. It says: "Developed and                       3   consultants.
     4   implemented a medical-based training program for          4       Q Okay. So -- so it was at least here in
     5   the Regulatory and Verifications teams."                  5   2014 that that was implemented?
     6          So is this the medical training that               6       A Yes.
     7   your group found to be needed in the SOM/Know Your        7       Q "He developed the DEA Controlled
     8   Customer internal audits?                                 8   Substances Act suspicious order monitoring/Know
     9          MS. FINCHER: Object to the form.                   9   Your Customer training module."
    10          THE WITNESS: I'm sorry. I can't                   10           Is that the same or is that something
    11   remember if it was the same year as -- as the            11   different?
    12   audit.                                                   12       A I don't --
    13   BY MR. MIGLIORI:                                         13       Q This one seems to add the Controlled
    14       Q It was December of 2013 that the audit             14   Substances Act as a component.
    15   came out, and this is a '14 audit. Remember it           15       A Mm-hmm. I don't recall specifically
    16   was December 2nd and 3rd of 2013?                        16   what -- what that was.
    17       A It may have been part of it, because               17       Q When it says "training module," does
    18   this was also a larger base training that was            18   that suggest that it's an online-based training?
    19   rolled out to the entire Regulatory team --              19       A Typically, yes.
    20       Q Okay.                                              20       Q And would that be housed in the same
    21       A -- not just the DEA group. So it was a             21   place with your other trainings that we discussed
    22   combination.                                             22   so far, whatever electronic format, platform that
    23       Q Was that online as well?                           23   is?
    24       A No. This was a presentation, personal              24       A Most likely, but I -- I'm not -- I'm not
                                                     Page 171                                                  Page 173
     1   presentation by Ken.                                      1   sure. Because I -- I think there were two
     2       Q Were they PowerPoints?                              2   different training modules they used, one for
     3       A Yeah, I believe so, yes.                            3   sales and one internal. So I'm not --
     4       Q So they should exist somewhere. Did you             4       Q Was that --
     5   use those through 2016 when you left the company?         5       A I'm sorry. I don't -- I don't recall.
     6       A No. These -- again, they were done by               6       Q Okay. Was that module in effect when
     7   Ken, so they were -- there was -- some of the             7   you left in 2015?
     8   content was very medical driven, so -- and he was         8          MS. FINCHER: Object to the form.
     9   a very visual person, so sometimes it would just          9          THE WITNESS: The sales training module
    10   be a picture --                                          10   was. I remember that. I don't recall what this
    11       Q Okay.                                              11   other --
    12       A -- and he would speak to the picture.              12   BY MR. MIGLIORI:
    13   So a lot of it afterwards, it -- it wasn't               13       Q Okay.
    14   something I could do or reuse or --                      14       A Because here it's saying something was
    15       Q Got you. So as the only person with a              15   developed. So I -- I'm not sure if it was ever
    16   medical license, he gave a medical-based                 16   implemented or not.
    17   presentation?                                            17          (Steffanie-Oak Exhibit No. 15 was
    18       A (The witness nods.)                                18          marked for identification.)
    19       Q But here it says that you at least                 19   BY MR. MIGLIORI:
    20   helped to develop and implement that.                    20       Q This is Exhibit No. 15.
    21       A Yes.                                               21          Again, the highlights are my notes, not
    22       Q Okay. It says: "Implemented the DEA                22   yours.
    23   SOM/Know Your Customer FSC training module."             23          This is an e-mail exchange, February of
    24          What's that?                                      24   2015. It talks about -- it's an exchange between

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     1   you at the bottom and others. And asks that           1        Q -- unfilled order?
     2   Dr. Spendal -- do you recall Dr. Spendal?             2        A -- context, yes.
     3        A No.                                            3        Q Okay. So presumably, once she did the
     4        Q It says: "Bev Butcher, senior                  4   site visit and she determined that he should be
     5   Regulatory specialist, DEA compliance, in the         5   restricted, you indicated that the open order
     6   Indianapolis, Indiana" --                             6   should not be filled and that he would need to be
     7           I assume that that's the controlled           7   reported to the DEA, correct? That's --
     8   substances Schedule II distribution center?           8        A That's what -- yes, that's what I
     9        A It has all schedules.                          9   stated.
    10        Q Okay.                                         10        Q Okay. And then if you go up to the top,
    11        A But it is the only one for IIs.               11   you, I guess, learned from Shaun that: "The
    12        Q So this is talking about how Dr. Spendal      12   Verifications department," not Regulatory,
    13   is restricted from the controlled substances, and    13   "accidentally released his hydrocodone order on
    14   the report has been placed on the M-drive.           14   February 23rd. Please do not send a suspicious
    15           First of all, what report would that be?     15   order letter to the DEA. Thank you" -- or
    16        A Her site visit report.                        16   "thanks."
    17        Q Okay. So Bev would have done a site           17           Do you recall giving instruction to
    18   visit herself or somebody under her?                 18   Kathleen Reid not to send out a suspicious order
    19        A She did it.                                   19   letter to the DEA?
    20        Q Okay. And the M-drive is what?                20        A I -- I don't recall other than looking
    21        A That's the shared Regulatory -- well,         21   at this -- this e-mail.
    22   the M-drive is a shared drive within the company,    22        Q Is there -- what possible explanation
    23   and then there are folders that each department      23   would there be for you not to send a suspicious
    24   will use on the shared drive.                        24   order letter to the DEA for an accidentally
                                                 Page 175                                                   Page 177
     1       Q Is that where you would have kept your          1   released hydrocodone?
     2   PowerPoint presentations and your trainings?          2       A I have to answer hypothetically without
     3       A Possibly.                                       3   being able to see the complete due diligence file,
     4       Q So were you --                                  4   because I'm not sure if the initial recommendation
     5       A Or --                                           5   was to hold all orders until the site visit was
     6       Q I'm sorry.                                      6   completed or was the initial communication to have
     7       A Sorry. I can't say for sure that they           7   the site agreement signed.
     8   all would have been copied onto the shared drive.     8       Q Okay.
     9   Some may be on someone's C-drive.                     9       A So I don't -- without --
    10       Q Would monthly minutes of those                 10       Q Well, for now, I want to ask just what
    11   Regulatory meetings be shared on that M-drive too?   11   your memory is.
    12           MS. FINCHER: Object to the form.             12           MR. McDONALD: Well, let her finish,
    13           THE WITNESS: I'm not sure --                 13   please.
    14   BY MR. MIGLIORI:                                     14           THE WITNESS: Sorry, now I've lost my
    15       Q Okay.                                          15   train of thought.
    16       A -- whether -- where Kathy kept them.           16   BY MR. MIGLIORI:
    17       Q So then you write back and say: "He,"          17       Q I'm sorry, I didn't mean to do that.
    18   referring to Dr. Spendal, "has a current open        18           You were debating between the
    19   order and will need to be reported to the DEA.       19   hypothetical, I think the word was, and I was just
    20   Thanks."                                             20   simply saying first I'd like to know what your
    21           And so with a pended order -- is pended      21   recall is, if you remember this.
    22   order the same in this context as a current open     22       A I don't remember specifically. I can
    23   field order, meaning --                              23   just say speaking on what the policy was, there
    24       A In this --                                     24   were situations where we would conduct site

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     1   visits, and depending on the reason for the site      1   pattern.
     2   visit, we may continue to ship until the site         2           So there could have been -- at the point
     3   visit -- as long as the doctor agreed to the site     3   she did the site visit or from when we said they
     4   visit.                                                4   have to have a site visit to when we did it, they
     5       Q Okay.                                           5   were allowed to continue to order, those orders
     6       A So I'm not sure, without seeing here            6   were going out. So it may not have been a
     7   what the initial concerns were, what the findings     7   situation where we truly said it was suspicious.
     8   were at the site visit, what the amount he was        8   We may have been shipping.
     9   looking to order -- there are varying                 9           So I can't agree with the statement that
    10   circumstances that would lead me to --               10   you made because I don't know the circumstances
    11       Q Okay. Well, let me -- let me just go           11   within which this occurred.
    12   through it and just -- and then I will ask you a     12   BY MR. MIGLIORI:
    13   question.                                            13       Q Let's see what we can agree to.
    14           Based on the chronology of this, on          14           You will agree with me that within the
    15   February 27th at 12:47 p.m., Beverly Butcher, who    15   one hour between you saying, Report this to the
    16   reported to you, told you that she did a site        16   DEA and don't report this to the DEA, you don't
    17   visit of Dr. Spendal, and she restricted his         17   make reference to any of those other potential
    18   ability to purchase controlled substances.           18   factors, correct?
    19           Three minutes later, you responded by        19       A Correct, in the e-mail I do not, but I'm
    20   saying: "He has a current open order and will        20   not sure if there were attachments.
    21   need to be reported to the DEA." Correct?            21       Q No, this -- this is how I got it, so I'm
    22       A Correct.                                       22   not holding anything back.
    23       Q And then one hour after that, you found        23       A Mm-hmm.
    24   out from Shaun that the "Verifications               24       Q You'd also agree with me that the
                                                  Page 179                                                  Page 181
     1   accidentally released his hydrocodone order on        1   accidentally released order before the site visit
     2   2/23. Please do not send a suspicious order           2   does not in any way change your obligation after
     3   letter to the DEA."                                   3   the site visit to report it as a suspicious order,
     4           That -- that's the chronology, correct?       4   correct?
     5        A Mm-hmm, yes.                                   5            MS. FINCHER: Object to the form.
     6        Q All right. You would agree with me that        6            THE WITNESS: According to the
     7   it would not be compliant to withhold a suspicious    7   regulations, if there was an open order at the
     8   order report solely because it was accidentally       8   point that it was deemed suspicious, we need to
     9   shipped by the Verifications department, correct?     9   report it. So the order was shipped prior to us
    10           MS. FINCHER: Object to the form.             10   deeming that it as suspicious, so at that point in
    11           THE WITNESS: I can't agree to that,          11   time, there was nothing to report.
    12   because, again, I don't know what the                12   BY MR. MIGLIORI:
    13   circumstances were. The order was released prior     13        Q Well, the order says -- isn't it the
    14   to her determining that it may have been             14   regulation that you are required to report a
    15   suspicious. Right. The order went out on the         15   suspicious order when discovered? Isn't that the
    16   23rd, and she did the site visit on the 27th.        16   operative language?
    17           And again, with this particular account      17            MS. FINCHER: Object to the form.
    18   or any other account, the reason for the site        18            THE WITNESS: Since it was discovered on
    19   visit may -- may not have been that there was        19   the 27th, there was no order to discover. I mean,
    20   really something that we thought they may be         20   that's -- that's my interpretation of it.
    21   diverting. So if it was an existing customer, we     21   BY MR. MIGLIORI:
    22   may have said, Okay, if you agree to the site        22        Q Let -- I'll ask my question, and then
    23   visit, we're going to continue to ship as long as    23   I'll do the follow-up.
    24   you're ordering within size, frequency and           24        A Okay.

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     1       Q Doesn't the regulation say -- and at            1   Only reading that, yes.
     2   this point you're, in the company, the person to      2       Q And so -- and only reading that, and
     3   go to for DEA matters.                                3   that's all I have to look at.
     4           Doesn't the regulation say that Henry         4       A Mm-hmm.
     5   Schein is obligated to report a suspicious order      5       Q And only reading that, you would agree
     6   when discovered? Isn't that what the reg says?        6   with me that whether or not the order was filled,
     7           MS. FINCHER: Object to the form.              7   once a distributor discovers that an order is
     8   BY MR. MIGLIORI:                                      8   suspicious, the regulation has, again shown here
     9       Q If you need me to show it to you, I will        9   in Exhibit 16, is that at that moment of
    10   be happy to.                                         10   discovery, that's when the order needs to be
    11       A I -- I can't say for sure. I don't --          11   reported to DEA, correct?
    12   I've been out of this for two-and-a-half years, so   12           MS. FINCHER: Object to the form. Asked
    13   I don't remember the -- if you want to show it to    13   and answered.
    14   me again.                                            14           THE WITNESS: I still -- I have to say
    15       Q I will.                                        15   no. The way that I viewed it was that if there
    16           (Steffanie-Oak Exhibit No. 16 was            16   was an open order. If we reported a customer as
    17           marked for identification.)                  17   suspicious and there was an order, we only
    18   BY MR. MIGLIORI:                                     18   reported that one order. We didn't report -- does
    19       Q Exhibit 16.                                    19   that make everything else suspicious that we
    20           Do you recognize this as a portion of        20   shipped then? Because we never reported that to
    21   the CFR related to controlled substances?            21   the DEA.
    22       A Yes.                                           22   BY MR. MIGLIORI:
    23       Q It says: "The registrant shall design          23       Q In looking at the provision that I put
    24   and operate a system to disclose to the registrant   24   up here, Exhibit 16, in anywhere in this provision
                                                  Page 183                                                  Page 185
     1   suspicious orders of controlled substances. The       1   does it say, Unless you've already shipped the
     2   registrant shall inform the field office of the       2   suspicious order?
     3   administration in this area of suspicious orders      3           MS. FINCHER: Object to the form.
     4   when discovered by the registrant."                   4           THE WITNESS: I still look at it that
     5           You'll agree with me that the obligation      5   the order at the point that it was released had
     6   of the registrant is to report suspicious orders      6   not been deemed suspicious.
     7   when discovered. Correct?                             7   BY MR. MIGLIORI:
     8       A That's the wording, yes.                        8        Q I understand that. I'm not talking
     9       Q All right. At least if this e-mail is           9   about the shipment. I'm talking about the
    10   accurate, you will agree with me that your first     10   reporting requirement. You understand that there
    11   reaction at 12:50 was that once it was discovered    11   is a shipping requirement and a reporting
    12   that this was to be a restricted account, we will    12   requirement. Those are independent requirements,
    13   need -- it was your view that it needed to be        13   correct?
    14   reported to the DEA, correct?                        14           MS. FINCHER: Object to the form.
    15       A Correct.                                       15           THE WITNESS: I still feel at that point
    16           MS. FINCHER: Object to the form.             16   in time there was nothing to report. I don't know
    17   BY MR. MIGLIORI:                                     17   how -- that's all I can say. I don't know how
    18       Q All right. At least the way this is            18   many --
    19   worded, the decision was made -- or the              19   BY MR. MIGLIORI:
    20   recommendation was made by you not to report it      20        Q That's fine. My question is simple,
    21   because it had already gone out the door, correct?   21   though.
    22       A Correct. I -- that's what it looks             22           You will agree with me that nothing in
    23   like, yes, I said to not report it, correct. I       23   this provision says that you don't have to report
    24   don't know all the circumstances again behind it.    24   it if you've already shipped a suspicious order.

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     1   That's not what the regulation says, correct?               1   printout of what was in the exhibits that we
     2          MS. FINCHER: Object to the form. Asked               2   referred to earlier where, on December 2nd and
     3   and answered.                                               3   3rd, you and Ken went out to the Melville plant
     4          THE WITNESS: It doesn't mention                      4   and did an assessment or the Melville facility.
     5   anything about shipping, correct.                           5        A Correct. When Regulatory issues a
     6          MR. MIGLIORI: I'm going to keep my                   6   report, it's in a memo format.
     7   promise to you of 2:00-ish.                                 7        Q Okay. All right. So -- and so this is
     8          (Steffanie-Oak Exhibit No. 17 was                    8   just a follow-up document, correct?
     9          marked for identification.)                          9            MS. FINCHER: Object to the form,
    10   BY MR. MIGLIORI:                                           10   foundation.
    11       Q 17. Let me show you Exhibit No. 17.                  11   BY MR. MIGLIORI:
    12          This is a document called "Henry Schein             12        Q And let -- and I think this may prove
    13   Inc. Follow-Up Action Report, Suspicious Order             13   the point. I just want to make sure I know what
    14   Monitoring, Privileged Information, May 19, 2014."         14   it is before we move on from that.
    15          Have you seen this document before?                 15        A It -- there's an internal audit within
    16       A It doesn't look familiar to me at this               16   reg -- I'm sorry, within Henry Schein, they were
    17   point.                                                     17   required to audit certain areas of the company.
    18       Q All right. I just want to ask you,                   18        Q Right.
    19   some of these entries here, do you see where it            19        A And they used this audit, I guess, to
    20   says "TSO" in the column here under "Responsible           20   fulfill that requirement, and this is their form.
    21   TSO"?                                                      21   So they were just following to make sure that
    22       A Yes.                                                 22   whatever findings were there, that they were aware
    23       Q Okay. Have you seen these follow-up                  23   of them, and --
    24   reports in this format before?                             24        Q Okay. So if you look at the second
                                                         Page 187                                                Page 189
     1        A I don't recall seeing this format                    1   page, this -- this makes sense, because it even
     2   before, no.                                                 2   has the same subparagraphs, I think.
     3        Q Okay. So under "Recommendations," it                 3          It says: "Decision makers in
     4   says a couple of things here. It says -- the                4   Verifications department need additional medical-
     5   first is: "Observation. Current Suspicious Order            5   related training and qualifications to release
     6   Monitoring System appears to utilize a regression           6   controlled substance orders without Regulatory
     7   formulated statistical mode."                               7   medical guidance in some instances."
     8            And then it gives a recommendation next            8          That's -- that's the same observation we
     9   to it: "The real issue lies in the fact that our            9   saw earlier?
    10   SOM system provides us with only a mirror image."          10       A Correct. So it's not a second audit.
    11            Do you see that there is a -- an                  11       Q Got you.
    12   observation, a recommendation, and then somebody           12       A It's the exact audit that was done.
    13   assigned to it?                                            13       Q It's just in a different format.
    14        A So this is the same audit report that we            14       A Correct.
    15   looked at earlier.                                         15       Q Here it gives a certain recommendation,
    16        Q Okay.                                               16   which is the same. It says, provide the medical
    17        A I -- I do -- I believe that this --                 17   training, and it lists the people to follow up.
    18   there's an internal audit department within Henry          18          So here it has Ken Romeo --
    19   Schein, and I think --                                     19          Who's SA?
    20        Q Got you.                                            20       A Shaun Abreu.
    21        A -- outside of Regulatory, I think that              21       Q -- Shaun Abreu, and you are the
    22   this is their format. So it's the same audit that          22   follow-up people for that process?
    23   we did.                                                    23       A Correct.
    24        Q So this would be the computer system                24       Q And then it says that you had completed

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     1   for Verifications and Regulatory this additional      1        A I do believe it did.
     2   training in August of 2014.                           2        Q Okay. And you're one of the people
     3           Am I reading it correctly?                    3   responsible for that. And it says here that that
     4       A Yes.                                            4   was completed on October 20th of 2014.
     5       Q All right. That's helpful. Thank you.           5           Do you believe that that's when it was
     6           Great, great, great, great. That              6   added to the due diligence letter?
     7   solves -- saves some time.                            7        A Yes.
     8           Let me see if this is -- because I don't      8        Q Okay. "Tina to review the language with
     9   remember this recommendation. If you go to            9   Legal to understand the industry standard."
    10   page 5.                                              10           And then under the second component, it
    11           So this was an observation: "Current         11   lists you as responsible for -- "Verifications
    12   SOM SOPs allowed for existing customers of three     12   will work with Information Services to establish
    13   times pend release."                                 13   reporting to identify customers who have purchased
    14           But in the observation, it says: "If         14   high risk AI" --
    15   the diversion of controlled substances is taking     15           What's AI?
    16   place, the corresponding entity or DEA might hold    16        A Active ingredient.
    17   Schein responsible for a lack of due diligence in    17        Q -- "active ingredient and have pended
    18   our internal controls by releasing a controlled      18   SOMs. Verifications will proactively work with
    19   substance without documented due diligence.          19   these customers to acquire the necessary due
    20   Though it was the finding of the assessment that     20   diligence."
    21   our current decision makers and underwriting teams   21           Do you recall that being implemented?
    22   have used good sense in this area and that this      22        A Yes.
    23   event may not have occurred in the past, we are      23        Q And was that a -- and after this in --
    24   vulnerable, nonetheless."                            24   after May of 2014?
                                                 Page 191                                                       Page 193
     1           I don't recall that observation being         1       A Is that the date of the audit report?
     2   made before. Do you remember that observation?        2       Q Yeah, it's on the top of that same page
     3           MS. FINCHER: Object to the form,              3   on the top left corner.
     4   foundation.                                           4       A Oh.
     5   BY MR. MIGLIORI:                                      5          MS. FINCHER: Object to the form.
     6        Q Because I don't recall it in the other         6   BY MR. MIGLIORI:
     7   document.                                             7       Q It says, "Verifications will work with
     8        A I don't remember it, other than looking        8   IS."
     9   at it here, no.                                       9       A I don't remember the exact date because
    10        Q Okay. So here you'll agree, though,           10   they put this in a format months -- months after
    11   that DEA might hold Schein responsible for a lack    11   we did the audit. So...
    12   of due diligence in its internal controls by         12       Q Right. Well, if you look above with the
    13   releasing controlled substances without a            13   orders, it said "completed." On this one it says
    14   documented due diligence. That is a risk to the      14   "Tentative." "Will continue to support
    15   company, correct?                                    15   recommended" --
    16           MS. FINCHER: Object to the form.             16       A Okay.
    17           THE WITNESS: Correct.                        17       Q So that's not yet completed, right?
    18   BY MR. MIGLIORI:                                     18          MS. FINCHER: Object to the form.
    19        Q And for that, it says, as a                   19   BY MR. MIGLIORI:
    20   recommendation, to actually have -- the due          20       Q As you read this.
    21   diligence documents provided to Schein should be     21       A As I read this, yes.
    22   signed under the penalty of perjury.                 22       Q Yeah. It also says: "Verifications is
    23           Do you know if that ever got                 23   working with a summer intern to review these
    24   implemented?                                         24   customers, and will work on quantifying the number

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     1   of customers requiring due diligence."                     1           THE WITNESS: I believe, as you asked,
     2           As of May of 2014, were you still in the           2   yeah, I -- I don't recall the exact contractual
     3   process of trying to understand the number of              3   territories. But --
     4   files that were not complete for purposes of DEA           4   BY MR. MIGLIORI:
     5   due diligence?                                             5       Q But based on your recollection, at least
     6       A I don't recall specifically. But,                    6   it would have included Ohio?
     7   again, this is where we had initially removed the          7       A Yes.
     8   DEA from all those customers, so they could not            8       Q Okay. And then it says that you
     9   continue to order or ship anything.                        9   partnered with Verifications to ensure that "Know
    10       Q Okay. Go to page 7, please.                         10   Your Customer" due diligence was completed on
    11           So -- so as you see it, this is sort of           11   customers who would be purchasing controlled
    12   an internal tracking system for the internal audit        12   substances.
    13   observations and recommendations. Is that a way           13           And so these would be the Cardinal
    14   for me to look at this document?                          14   customers that had come over now through this
    15       A Yes.                                                15   acquisition to Schein?
    16       Q Okay. Thanks.                                       16       A Correct.
    17           (Steffanie-Oak Exhibit No. 18 was                 17       Q And "make sure that this was completed
    18           marked for identification.)                       18   by the go-live integration due date." So go-live
    19   BY MR. MIGLIORI:                                          19   integration would be the total integration of this
    20       Q Exhibit 18. This is your last completed             20   division of Cardinal into Henry Schein?
    21   appraisal. I'm only going to ask you about one            21       A Correct.
    22   issue on this one.                                        22           MS. FINCHER: Object to the form.
    23       A Thanks. Oh.                                         23   BY MR. MIGLIORI:
    24       Q This is your 2015 appraisal. If you go              24       Q Okay. I didn't know about any of that.
                                                        Page 195                                                 Page 197
     1   to the second page, there's a reference to how             1   Very helpful.
     2   you -- on the fourth bullet point, it says: "You           2            (Steffanie-Oak Exhibit No. 19 was
     3   worked closely with Cardinal and partnered with            3            marked for identification.)
     4   Verifications to ensure that 'Know Your Customer'          4   BY MR. MIGLIORI:
     5   due diligence was completed on customers who would         5        Q I am going to ask you about a document
     6   be purchasing controlled substances and to make            6   that we talked about a lot so far in this
     7   sure this was completed by the go live integration         7   litigation. It's Exhibit No. 19.
     8   due date."                                                 8            I just want you to identify some
     9        A Oh, sorry. The last one. I couldn't                 9   documents for me.
    10   follow where you were. Sorry.                             10            This is the due diligence file for one
    11           (Peruses document.) Yes. Okay.                    11   of Henry Schein's customers. It's a doctor in
    12        Q Tell me, is this Cardinal Health?                  12   Summit County, Ohio, or -- yeah, it's a doctor in
    13        A Yes.                                               13   the northern district of Ohio named Brian Heim.
    14        Q A competitor, a supplier, distributor?             14   This is Exhibit No. 19. And this was provided to
    15        A There was an acquisition by Henry Schein           15   us as the entire due diligence file for Dr. Heim.
    16   of the Ambulatory Surgery Center accounts --              16            So let's start on the first page. So
    17        Q Okay.                                              17   when you did your review of the due diligence
    18        A -- by Henry Schein.                                18   files as the person working on -- particularly on
    19        Q Okay. So Henry Schein purchased a                  19   that part of the DEA compliance for Henry Schein,
    20   portion of Cardinal Health's distribution business        20   this would be information that you would go online
    21   as it related to ambulatory care centers?                 21   and pull up, correct? This is an online printout,
    22        A Correct.                                           22   isn't it?
    23        Q And was that nationwide?                           23            MS. FINCHER: Object to the form.
    24           MS. FINCHER: Object to the form.                  24            THE WITNESS: No, we would not.

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     1   BY MR. MIGLIORI:                                      1        A Yeah.
     2        Q Okay.                                          2        Q All right. But nothing is jumping out
     3        A This looks to be a printout from perhaps       3   in terms of initials or names or anything like
     4   JD Edwards --                                         4   that?
     5        Q Okay.                                          5        A No.
     6        A -- that Verifications would enter notes        6        Q There's a -- another notes page here.
     7   in. So this is not how I -- when I was in the         7   It's an approval to purchase testosterone. And
     8   role, how we would receive --                         8   the next page is a printout -- it just says:
     9        Q Okay.                                          9   "Responsible party: Brian Heim."
    10        A -- the information.                           10           On the next page that ends in Bates 201,
    11        Q Okay. I'm going to represent to you           11   it says: "Effective date: August 17, 2011. Heim
    12   this was presented to us as the entire file for      12   approved for controls."
    13   this one customer.                                   13           Is that something that is potentially
    14        A Mm-hmm.                                       14   done at the Verifications level in the -- at this
    15        Q Okay. So this -- this -- this looks           15   time when you --
    16   like a JE Edwards inventory of the file of some      16           MS. FINCHER: Object to the form.
    17   sort or a docketing? Is that a good word?            17           THE WITNESS: I wasn't involved back
    18        A Yeah, it looks like notes from -- I           18   then, so I can't say. This is 2000 -- what is
    19   can't tell with the abbreviation specifically what   19   this?
    20   it's referring to.                                   20   BY MR. MIGLIORI:
    21        Q Did you work in this format at all?           21        Q This is '11.
    22        A No.                                           22        A Okay. And I didn't really work in this
    23        Q Okay. Let's see if we can at least            23   system, so I'm not sure what the -- the notes --
    24   understand some of it.                               24        Q Okay. My question is not so much about
                                                  Page 199                                                 Page 201
     1           It says, "On June 3rd, 2011, W/MP," and       1   the system as much as did the Verifications
     2   it says, "L number 35."                               2   department -- as of the time you got to -- got to
     3           Do you know what that means, what             3   Regulatory in 2012, did the Verifications
     4   that --                                               4   department have the authority to approve somebody
     5        A No, I --                                       5   for controls without Regulatory?
     6           MS. FINCHER: Object to the form,              6        A I would have to say yes, because that's
     7   foundation.                                           7   the process even while I was in the role.
     8           THE WITNESS: -- I don't.                      8        Q Okay. So this "Heim approved for
     9   BY MR. MIGLIORI:                                      9   controls," just by looking at this, we don't know
    10        Q Okay. Is there -- do you know these           10   if that's Verifications and/or Regulatory; we
    11   initials, BMIL?                                      11   can't -- we can't tell --
    12        A No.                                           12        A If Regulatory was involved in the
    13        Q You will see the top is "S.Abreu."            13   review?
    14        A Yeah, that's the only one I recognize.        14        Q Right.
    15        Q Okay. So you don't -- so those were all       15        A Correct.
    16   folks within the Verifications team, correct?        16        Q Okay. Let's see what else is in the
    17        A Yes.                                          17   file. It says: "CAT3 responsible party: Brian
    18        Q Is there anything on this first page of       18   Heim, MD."
    19   Exhibit No. 19 that looks like it is Regulatory?     19            Do you know what "CAT3 responsible
    20        A I'm not --                                    20   party" means?
    21        Q Is related to Regulatory?                     21        A No.
    22        A I can't tell because I don't know what        22        Q Okay. There's another page that says:
    23   the abbreviations are.                               23   "Solo, Heim." Do you know what that means?
    24        Q Okay.                                         24        A It may refer to solo practitioner, but

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     1   I'm not sure.                                         1   their extension, but I don't know.
     2       Q Okay. And did -- as of the time you got         2        Q Okay. "8/25, gave to Shaun, TH."
     3   into Regulatory, did Verifications approve solo       3            So the -- the questionnaire came in to
     4   practitioners for controlled substances?              4   be approved, and it was given to Shaun, 8/25.
     5       A They could --                                   5            And then the next page is a form. Can
     6       Q As a general matter.                            6   you tell me -- this is dated by fax, August 24th,
     7       A -- yes. Yes.                                    7   2012.
     8       Q Okay. The next page, it says:                   8        A Mm-hmm.
     9   "8/23/12. As per Shaun to EML."                       9        Q Which is the same date on the prior page
    10           Do you recognize those initials, EML?        10   as the received completed questionnaire.
    11       A No.                                            11        A Yeah.
    12       Q "The doctor, a new quest sent," and then       12        Q So what -- what is this questionnaire?
    13   it has a number. Is that an order number? Is         13   At what stage of the process is this
    14   that --                                              14   questionnaire?
    15       A It looks like a phone number probably.         15            MS. FINCHER: Object to the form.
    16       Q Okay. "New question sent." Okay.               16            THE WITNESS: This is the beginning of
    17           Then "August 24th, received completed        17   the --
    18   questionnaire, placed in bin to be approved."        18   BY MR. MIGLIORI:
    19           Do you know what questionnaire?              19        Q Okay.
    20       A They're referring to the KYC, the "Know        20        A -- the first form that we would -- well,
    21   Your Customer" questionnaire.                        21   not that -- we may have had a prior form, but this
    22       Q Okay. So is this the initial onboarding        22   is the form that we would send out to gather the
    23   questionnaire?                                       23   initial information.
    24       A I don't --                                     24        Q So this would be the new client
                                                  Page 203                                                  Page 205
     1           MS. FINCHER: Object to the form,              1   onboarding questionnaire that would go out to
     2   foundation.                                           2   clients -- to new customers, correct?
     3           THE WITNESS: -- know if it's the              3       A New customers, correct. And then over
     4   initial one or --                                     4   time, I don't remember the specific time period,
     5           THE REPORTER: Excuse me.                      5   but we would resend out to get updated
     6           MR. MIGLIORI: Sorry, it's just the            6   information.
     7   way --                                                7           So the -- one account would -- would
     8           THE WITNESS: Oh.                              8   receive it multiple occasions, depending on the --
     9           MS. FINCHER: Object to the form,              9   the time that they would continue ordering with
    10   foundation.                                          10   Henry Schein.
    11   BY MR. MIGLIORI:                                     11       Q Okay. But the form, as we're looking at
    12        Q Go ahead.                                     12   it now, is at least consistent with, in 2012, the
    13        A I don't know if that was the first one        13   forms that would go out initially to a new
    14   that was sent.                                       14   customer, correct?
    15        Q Well, which questionnaires exist as of        15       A Yes.
    16   this point in time?                                  16       Q All right. And it may, as you said, go
    17           MS. FINCHER: Object to the form.             17   out before or again, if necessary, for some other
    18           THE WITNESS: There was a "Know Your          18   due diligence, correct?
    19   Customer" questionnaire when I came into the role.   19       A Correct.
    20   So...                                                20       Q Now, if we look back on the -- the date
    21   BY MR. MIGLIORI:                                     21   of the entry that says "Approved for controls," it
    22        Q Okay. And then this FDU 6376, does that       22   says: "Effective date: August 17th, 2011."
    23   mean anything to you?                                23           Is it possible that this doctor was
    24        A I think it's someone's initials and           24   approved for ordering controlled substances a year

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     1   before this form would come back?                     1       A We would initially do like Google
     2           MS. FINCHER: Object to the form, and          2   Earth --
     3   also mischaracterizes the document.                   3       Q Okay.
     4           THE WITNESS: I'm not sure what this           4       A -- shots and -- yes.
     5   date refers to, if it's the date that the entry       5       Q The number of patients who pay with cash
     6   was put in or -- normally they put the date on the    6   or check, why is that important?
     7   line like you saw. So I would be speculating.         7       A With the pill mills and things, I think
     8   BY MR. MIGLIORI:                                      8   it was more relevant. Nowadays with the change of
     9       Q Okay. And that's why I'm asking is it           9   insurance and things, people probably pay more in
    10   possible. I'm not asking --                          10   cash, so I -- but that was -- that was the premise
    11       A Yeah.                                          11   of trying to understand how many patients are they
    12       Q -- for the truth of it. I'm asking at          12   treating that has insurance versus uninsured.
    13   this point in time when you got to Regulatory,       13       Q And was it a potential red flag that
    14   were there folks -- were there new customers who     14   there were -- there were a high volume of patients
    15   were approved for controlled substances without a    15   that paid just in cash without insurance?
    16   questionnaire in the file?                           16       A Potentially, yes, red flag, yes.
    17           MS. FINCHER: Object to the form.             17       Q Okay. And so as you go through this
    18   BY MR. MIGLIORI:                                     18   form, these are just answers and information that
    19       Q Wasn't that one of the observations you        19   the doctors are providing to Henry Schein in a
    20   found when you looked at the 40,000 customers?       20   questionnaire, correct?
    21           MS. FINCHER: Object to the form.             21       A Correct.
    22           THE WITNESS: Yes, there may have been        22       Q There's nothing in the process at Henry
    23   customers that did not have it. Correct.             23   Schein in 2012 -- or from 2012 to 2015 to
    24   BY MR. MIGLIORI:                                     24   automatically verify any of this information,
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     1       Q And so it is possible anyway that this          1   correct?
     2   particular doctor was approved for controlled         2          MS. FINCHER: Object to the form.
     3   substances a year before this "Know Your              3          THE WITNESS: So -- something in the
     4   Customer" due diligence form got in the file,         4   process to automatically verify it? How --
     5   correct?                                              5   BY MR. MIGLIORI:
     6          MS. FINCHER: Object to the form.               6       Q Well, that's fair. That's not a good
     7          THE WITNESS: Yes, it's possible.               7   question.
     8   BY MR. MIGLIORI:                                      8          Let me say it this way: Unless
     9       Q Okay. And then if we go through the             9   something jumps out of this page as being
    10   questionnaire, it does ask is it a solo practice     10   extraordinary, these answers are accepted on their
    11   or not. And what kind of practice: Family            11   face, correct?
    12   practice. The address listed, it says: "Home or      12       A Correct.
    13   office?"                                             13       Q And when they talk about "the percentage
    14          Why is that important, home or office?        14   of your practice that patients leave your office
    15       A Well, basically we're looking at it to         15   with controlled substances," that -- that's
    16   make sure it's a legitimate medical office. If       16   representations that you're -- you're trusting a
    17   someone says -- and I'm sorry, I have to put my      17   physician on -- on the face of this document for
    18   hat back on -- if someone says it's a home, we       18   accuracy, correct?
    19   want to have some type of verification that they     19          MS. FINCHER: Object to the form.
    20   actually have an office in their home that we can,   20          THE WITNESS: Correct.
    21   you know, verify that it appears to be a             21   BY MR. MIGLIORI:
    22   legitimate practice.                                 22       Q And at least here in this document, if
    23       Q So would you do a phone call and/or site       23   you go on to the next page, it does talk about
    24   visit?                                               24   types of drugs intended to order, and then there's

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     1   a signature.                                              1   again. And, you know, even going out proactively,
     2           There is no "under the penalty of                 2   they had no intention of ordering, so they
     3   perjury" type line here yet as of 2012, correct?          3   wouldn't fill the form out.
     4        A Correct.                                           4   BY MR. MIGLIORI:
     5        Q That's something that you put in place,            5       Q Correct.
     6   I think we said in October of 2014, correct?              6       A So that's why the number came down
     7        A Correct.                                           7   significantly.
     8        Q All right. So if this is -- these two              8       Q So --
     9   pages -- and you corrected me before                      9       A So...
    10   appropriately, that it's not one page, it's two          10       Q -- of the active customers that -- that
    11   pages -- these are the two pages of the due              11   were making orders, this had to be in the file,
    12   diligence that Henry Schein was attempting to go         12   correct?
    13   back and make sure all 40,000 customers had,             13       A Correct.
    14   correct, at least this?                                  14       Q Some orders never got that far because
    15           MS. FINCHER: Object to the form.                 15   you never activated the accounts.
    16   BY MR. MIGLIORI:                                         16       A Correct.
    17        Q Correct?                                          17       Q All right. Fair enough.
    18        A Not all -- I'm sorry. We're -- 40,000,            18           After those two pages in the file, there
    19   I don't remember --                                      19   seems to be a Ohio License Center printout. Is
    20        Q Let me just --                                    20   that a verification of license? Is that something
    21        A That wasn't -- was not the number. I              21   you would see in a due diligence file?
    22   don't think it was that many customers. Sorry.           22           MS. FINCHER: Object to the form.
    23        Q Well, initially I showed you a document           23           THE WITNESS: This could be something,
    24   that said there were 40,000 customers, and 27,000        24   yeah, that Verifications would run this. So, yes,
                                                       Page 211                                                Page 213
     1   had no information. Do you remember that?                 1   it could. I'm not familiar myself with this one.
     2       A Yeah, so the 27,000 sounds more right               2   BY MR. MIGLIORI:
     3   than 40.                                                  3        Q All right. This was with the Ohio.
     4       Q Okay. So when you were looking at those             4            And then there is another letter here.
     5   files to say things were deficient, this was one          5   It looks like a similar letter, or is this the
     6   of the things that was missing in those files,            6   same? It looks a little different.
     7   correct?                                                  7        A No. So then this is from 2011. That's
     8           MS. FINCHER: Object to the form.                  8   why I said earlier I couldn't say if that was the
     9           THE WITNESS: Yes, potentially. Some of            9   first time it was sent --
    10   them, yes.                                               10        Q Right.
    11   BY MR. MIGLIORI:                                         11        A -- because it looks -- they did have a
    12       Q So part of the backlog process was to              12   previous one.
    13   get this updated, make sure that all the -- all          13        Q Okay. So this would be the first letter
    14   the customers, all 40,000 and ongoing, had due           14   that goes out, right? August 17 --
    15   diligence letters in their files. That was an            15        A I don't know if it's the first one, but
    16   important component of Henry Schein's due                16   it's -- yes, another one that went out.
    17   diligence program, correct?                              17        Q The forms changed a little bit in format
    18           MS. FINCHER: Object to the form.                 18   anyway, right?
    19           THE WITNESS: So we -- we did not                 19        A Mm-hmm.
    20   require all 40,000 to have the form. So it's an          20        Q This one is the one-page letter,
    21   important distinction, as I mentioned multiple           21   correct?
    22   times, where we removed the DEA number from the          22        A Yes.
    23   account to prevent them from ordering. Because a         23        Q All right. And then another license
    24   large majority of that population never ordered          24   verification form for the Ohio center.

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     1           And then we talked about MedPro. Do you       1   review.
     2   recall that?                                          2       Q If there were further investigation,
     3       A Yes.                                            3   would that investigation be in this due diligence
     4       Q This would be the MedPro printout for           4   file?
     5   Dr. Heim, correct?                                    5           MS. FINCHER: Object to the form.
     6           MS. FINCHER: Object to the form,              6           THE WITNESS: Yes.
     7   foundation.                                           7   BY MR. MIGLIORI:
     8   BY MR. MIGLIORI:                                      8       Q And is there any experience that you've
     9       Q If you -- if you -- if you know what            9   had of doing further investigation and finding out
    10   they look like.                                      10   that in fact the potential new customer was in
    11       A Yes.                                           11   fact convicted of drug trafficking?
    12       Q Okay. So this only reports his --              12       A Not that I'm aware of, no.
    13   what's SLN information? Do you know what that        13       Q And if somebody had been previously
    14   stands for?                                          14   convicted of drug trafficking, is that enough in
    15       A No. Oh, wait, I'm sorry. Is it state           15   the Henry Schein system to restrict that customer
    16   license number?                                      16   or terminate that customer?
    17       Q Okay. All right. It says under                 17           MS. FINCHER: Object to the form.
    18   "Disciplinary Action," do you see it says, "Yes"?    18           THE WITNESS: It -- it would depend on
    19       A Yes, I do.                                     19   the circumstances, I think. I mean, we would need
    20       Q Does that mean that this was a positive        20   to look at it. I can't -- I mean, what -- is that
    21   finding for prior disciplinary action?               21   like selling a joint? Is that drug trafficking?
    22       A I believe so, yes.                             22   I don't know. I mean, I'm not sure.
    23       Q Do you know if there is any -- when you        23   BY MR. MIGLIORI:
    24   see that at Henry Schein, is there active effort     24       Q Bear with me for one second.
                                                  Page 215                                                          Page 217
     1   to try to figure out what that prior disciplinary     1           Would a prior guilty plea to 24 felony
     2   action was?                                           2   counts of theft of drugs and 21 felony counts of
     3        A While I was in the role, yes, we would         3   illegal possession of drug documents be an issue
     4   attempt to get a copy of what the disciplinary        4   you would want to know about in your due diligence
     5   action was.                                           5   of a physician?
     6        Q Okay. And if that disciplinary action          6           MS. FINCHER: Object to the form.
     7   demonstrated a prior history of conviction for        7           THE WITNESS: Yes, I would want to know.
     8   drug trafficking, is that something you would want    8   BY MR. MIGLIORI:
     9   to know?                                              9       Q Is there any set of facts that you can
    10        A Yes.                                          10   think of as you sit here today that a new customer
    11        Q If it demonstrates a prior history for        11   of Henry Schein would be approved for controlled
    12   loss of medical license, is that something you       12   substances with a history of a guilty plea for 24
    13   would want to know?                                  13   felony counts of theft of drugs and 21 felony
    14        A Yes.                                          14   counts of illegal processing of drug documents?
    15        Q And would that immediately pend or keep       15           MS. FINCHER: Object to the form.
    16   pended this potential new customer?                  16   Improper hypothetical.
    17           MS. FINCHER: Object to the form.             17   BY MR. MIGLIORI:
    18   BY MR. MIGLIORI:                                     18       Q Can you think of any?
    19        Q If there was a prior conviction for drug      19           MS. FINCHER: Same objection.
    20   trafficking?                                         20           THE WITNESS: No.
    21        A The order would be pended, yes.               21   BY MR. MIGLIORI:
    22   Initially that would be why we would do the          22       Q If you go to -- that seems to be the
    23   review. But, correct, that would be a reason not     23   last page.
    24   to. To continue to hold until you can do the         24           So is it fair to say that, at least when

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     1   you were training your Regulatory people and your     1        Q Okay. And so if it's not in that due
     2   training of Verifications people, if there were       2   diligence file I just showed you, Exhibit 19, then
     3   further investigation of this particular doctor,      3   it -- then it -- and it was obtained, then at
     4   consistent with your training from 2012 to 2016,      4   least that file would not be compliant with the
     5   would be that whatever that additional                5   due diligence obligations, correct?
     6   investigation or justification would be for this      6            MS. FINCHER: Object to the form.
     7   doctor, it would have to be put in the doc- -- in     7            THE WITNESS: With this particular one,
     8   the due diligence file, correct?                      8   both states -- from Ohio say there's no formal
     9           MS. FINCHER: Object to the form.              9   action, and then MedPro says, "Disciplinary
    10           THE WITNESS: If we're able to access         10   action, yes."
    11   it. So there are cases where it says, "Yes," and     11            So I can't tell if there was something
    12   we may not be able to access it and reach out to     12   to click -- click on, if there was actually
    13   the state, and sometimes they won't release it.      13   something there to get. So it looks like there is
    14           So sometimes there's a link directly to      14   a discrepancy even in the data.
    15   it. I know there have been -- I can think of at      15   BY MR. MIGLIORI:
    16   least one other time where we tried to get copies    16        Q Dr. Heim --
    17   and weren't able to get it, and maybe due to the     17        A On both of the Ohio, it says "No act- --
    18   length of time that has passed because the system    18   "formal actions exist."
    19   only holds a certain -- they only go back so far.    19        Q And the MedPro data says there was
    20           But if it's available, I know when I was     20   disciplinary --
    21   in the role, we did the best to make sure that we    21        A It says, "Yes."
    22   can get a copy of it and review it.                  22        Q Do you see anything in that file that
    23   BY MR. MIGLIORI:                                     23   shows investigation into that reference that there
    24        Q If you inquired of the Ohio Board of          24   was disciplinary action?
                                                 Page 219                                                   Page 221
     1   Pharmacy or the State Medical Board of Ohio about     1         MS. FINCHER: Object to the form.
     2   prior disciplinary actions, would that notation of    2         THE WITNESS: Not in what you gave me,
     3   inquiry be in the file?                               3   no.
     4       A Yes.                                            4   BY MR. MIGLIORI:
     5           MS. FINCHER: Object to the form.              5       Q Do you see anything in that file that
     6   BY MR. MIGLIORI:                                      6   says that Dr. Heim in 1998 pleaded guilty to over
     7       Q And if they provided you with any               7   40 drug-related felonies?
     8   information, would that be in the file?               8          MS. FINCHER: Object to the form.
     9       A Yes.                                            9          THE WITNESS: No, not in here.
    10       Q And did Henry Schein do anything to look       10   BY MR. MIGLIORI:
    11   in the criminal justice system to see whether or     11       Q Do you see anything in that file that
    12   not its new customers had been convicted or          12   says that doctor -- that Henry Schein provided the
    13   indicted on drug-related offenses --                 13   DEA, before releasing the last controlled
    14           MS. FINCHER: Object to the form.             14   substance order to him, evidence to help support
    15   BY MR. MIGLIORI:                                     15   an indictment of him again in 2012?
    16       Q -- in performing its due diligence?            16          MR. TOMEVI: Object to the form.
    17           MS. FINCHER: Object to the form.             17          THE WITNESS: I only see here that we
    18           THE WITNESS: As I mentioned earlier,         18   did notify the DEA, and the DEA said to continue.
    19   they only did a -- we only did a license             19   Right. "Will notify the" --
    20   verification. If the charge had an impact to the     20   BY MR. MIGLIORI:
    21   medical license, even if they were on probation      21       Q What's the date on that?
    22   for something, if that was in the system, we would   22       A "Will continue to notify DEA if he
    23   review it.                                           23   orders."
    24   BY MR. MIGLIORI:                                     24       Q What's the date on that?

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     1        A Eight -- well, there's an effective                  1   over the course of time in the system.
     2   date, 8/30/12.                                              2        Q So this --
     3        Q Okay. And you know that as of 8/30/12,               3        A So it's reviewed and saved. Just --
     4   the DEA had already indicted him again?                     4        Q What -- I'm sorry. What's been produced
     5           MS. FINCHER: Object to the form.                    5   to you is -- produced to us as the due -- as the
     6           THE WITNESS: I didn't --                            6   file, the due diligence file for that doctor.
     7   BY MR. MIGLIORI:                                            7           And my question very simply is, if the
     8        Q Is there anything in the document that               8   DEA informs Henry Schein that it is investigating
     9   shows that?                                                 9   for criminal purposes one of your customers, would
    10           MS. FINCHER: Object to the form,                   10   you as the DEA person at Henry Schein expect that
    11   foundation.                                                11   information to go into the due diligence file or
    12           THE WITNESS: No.                                   12   somewhere else?
    13   BY MR. MIGLIORI:                                           13           MS. FINCHER: Object to the form.
    14        Q If it -- if the DEA contacted Henry                 14   Improper hypothetical, assumes facts not in
    15   Schein and said, We're investigating one of your           15   evidence.
    16   customers, please send us information, is that             16           THE WITNESS: I would expect it to go
    17   inquiry alone something that should be in the due          17   into the system and be notified of the concern.
    18   diligence file?                                            18   BY MR. MIGLIORI:
    19           MS. FINCHER: Object to the form.                   19        Q If a doctor puts in an order, does
    20           THE WITNESS: It's part of the customer             20   Verifications have to go through multiple
    21   file, but it --                                            21   different files to find out whether or not to pend
    22   BY MR. MIGLIORI:                                           22   it?
    23        Q Let me be more specific.                            23           MS. FINCHER: Object to the form.
    24           If the DEA contacts Henry Schein and               24           THE WITNESS: There's different scanned
                                                         Page 223                                                        Page 225
     1   says, We believe that your customer has ordered             1   attachments in the system, but they're named a
     2   unusually large volumes of controlled substances,           2   certain way so that when they open them, they know
     3   please provide us your supply transactions, is              3   what they are.
     4   that something that at Henry Schein should show up          4   BY MR. MIGLIORI:
     5   in the due diligence file?                                  5        Q And so DEA inquiries, other than the one
     6           MS. FINCHER: Object to the form.                    6   you referenced on August 30th, 2012, would not
     7   Improper hypothetical, assumes facts not in                 7   automatically go into a due diligence file?
     8   evidence.                                                   8           MS. FINCHER: Object to the form.
     9           THE WITNESS: I've never seen a request              9           THE WITNESS: I guess I look at it
    10   like that from the DEA where they actually stated          10   different, but it's in -- it's in the customer
    11   that, but we would get requests all the time for           11   file. I guess if everything is in there, you're
    12   sales data, and it would be part of the customer           12   referring to it as a due diligence file, then it's
    13   file, but it didn't -- it doesn't get matched up           13   there. I'm looking at it as an initial packet
    14   to the questionnaire, I guess is what I'm saying.          14   that they get when they first approve a customer,
    15   Overall, it's additional information that's stored         15   and it's a snapshot in time of what was looked at.
    16   in the system, it's reviewed, but it's not                 16   BY MR. MIGLIORI:
    17   attached with this. So you wouldn't get it                 17        Q Let me --
    18   with -- it's in the system.                                18        A And then there may be additional things
    19   BY MR. MIGLIORI:                                           19   that come in.
    20        Q It's in -- in what system?                          20        Q Maybe that's a disconnect.
    21        A They'll scan it into JDE, but it's not              21           I want you to assume that Exhibit 19,
    22   part of -- this file at the time that it's                 22   the document in front of you, that is, the
    23   produced, it's scanned in, so you can't keep               23   customer file, that's what was produced to us from
    24   adding to a scan. There may be multiple documents          24   Henry Schein about this doctor.

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     1       A Okay.                                           1        A That's one of the things that he did,
     2       Q If that's how it's been produced to us,         2   but that wasn't the sole reason why he was hired.
     3   would you expect a DEA inquiry and request for        3        Q Right. But when we talked about him
     4   transactional information about a doctor to be        4   earlier, he was one of the -- that was one of the
     5   somewhere in that customer file?                      5   first things you did is you hired him and another,
     6           MS. FINCHER: Object to the form.              6   correct?
     7           THE WITNESS: No, if it wasn't                 7        A I -- when I came into the role, I lost
     8   specifically requested, and you're only asking for    8   the two people that were going to be reporting to
     9   the KYC customer file, then no, it may not have       9   me, so Glenn was one of the ones that replaced the
    10   been pulled.                                         10   two I already had.
    11   BY MR. MIGLIORI:                                     11        Q All right. So Glenn writes to you on
    12       Q No, I'm asking for actual orders, number       12   January 21st, 2016, this is Exhibit No. 20, he
    13   of pills sold.                                       13   says: "Tina, attached is a completed due
    14           MS. FINCHER: Object to the form.             14   diligence form for Charles Virden," and it gives
    15           THE WITNESS: I'm misunderstanding.           15   JDE.
    16           MS. FINCHER: You want to reask the           16           So the due diligence form, would that be
    17   question again?                                      17   the initial form, do you know?
    18           THE WITNESS: Yeah, please reask it.          18           MS. FINCHER: Object to the form.
    19   BY MR. MIGLIORI:                                     19   BY MR. MIGLIORI:
    20       Q If the DEA calls up Henry Schein and           20        Q Or is it too --
    21   says, We are investigating one of your customers,    21        A I don't know.
    22   and we need to know how many pills were sold to      22        Q -- not specific enough?
    23   this guy over the past X number of months, does      23        A I don't know. I would have to see the
    24   your due diligence system do anything to try to      24   file. Because, again, customers, they don't just
                                                 Page 227                                                   Page 229
     1   make sure that that information is documented in      1   stick with one form. As time goes on, we get a
     2   the customer file?                                    2   new form.
     3       A Yes.                                            3       Q Okay.
     4          MS. FINCHER: Object to the form.               4       A And also, again, because it's coming to
     5          THE WITNESS: Yes.                              5   Regulatory, we're kind of given that package of
     6   BY MR. MIGLIORI:                                      6   information from Verifications.
     7       Q All right. So that kind of inquiry from         7       Q Got you. This is all that's attached.
     8   DEA should be somewhere in the customer file,         8   That's why I'm asking --
     9   wherever it is.                                       9       A Yeah.
    10       A Correct.                                       10       Q -- because I don't -- I don't know
    11       Q Okay. That's all I was asking. Thank           11   either.
    12   you.                                                 12       A Yeah.
    13          (Steffanie-Oak Exhibit No. 20 was             13       Q Okay. You write back and say: "Can you
    14          marked for identification.)                   14   do the visit?"
    15   BY MR. MIGLIORI:                                     15           So based on that exchange, is it fair to
    16       Q I'll show you Exhibit 20, and then I've        16   say that there's something about Charles Virden
    17   got one more after this.                             17   that's causing a need for escalating for
    18          Now, you said you hired Glenn Linnquist,      18   Regulatory to do a site visit?
    19   right?                                               19           MS. FINCHER: Object to the form.
    20       A I was one of the people. I interviewed         20           THE WITNESS: Not necessarily, because
    21   him, yes.                                            21   we also had it set up that there were certain
    22       Q So he was hired on to be sort of the           22   account types that we automatically required site
    23   backup help for the -- the due diligence project,    23   visits on. So as pain clinics started to change,
    24   correct?                                             24   we saw a shift in the market. Weight clinics,

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     1   testosterone clinics, methadone clinics, there        1   Mischaracterizes the document.
     2   were just certain types that we said, Okay, we        2           THE WITNESS: The way that I interpreted
     3   want to go in and have a site visit, kind of right    3   this is Ken knew him as a physician. So he was
     4   off the bat. So it could be that. I can't tell        4   familiar with his practice, and he's meaning that
     5   from here.                                            5   he had personal knowledge of the practice. That
     6   BY MR. MIGLIORI:                                      6   he's a well-known -- what do you call it? -- maybe
     7       Q Well, let's see if this helps.                  7   a plastic surgeon.
     8       A Okay.                                           8   BY MR. MIGLIORI:
     9       Q So Ken Romeo writes to you, and copies          9       Q Right.
    10   Glenn, and says: "As an aside on Dr. Virden, he      10       A That's what he's referring to. And I
    11   is an artist with a scalpel. That's why the heavy    11   don't know what the write-up is. I would have to
    12   out of state. Though truly a genius in               12   see the file.
    13   reconstruction, I'll bet his records aren't up to    13       Q So maybe it's just poor -- poor wording.
    14   par with DEA. I guess we'll see. Thanks for the      14       A Correct.
    15   honest opinion, Glenn. Because of the personal       15       Q But you would never ever have anybody in
    16   knowledge, I would have been more lenient. As for    16   your department be more lenient applying the law
    17   doing the SV, sure."                                 17   because of personal knowledge, correct?
    18       A Site visit?                                    18       A Absolutely not.
    19       Q "Site visit, sure. Why not? We all go          19           MS. FINCHER: Object to the form.
    20   to accounts multiple times."                         20   BY MR. MIGLIORI:
    21           So let's start with "out of state." Is       21       Q The reference here or the inference here
    22   one of the reasonable assumptions from this          22   that you're drawing is that he actually knew this
    23   document is that Glenn found that there were a lot   23   customer well, so, therefore, under the actual
    24   of out-of-state plates, license plates for           24   law, he would have said this is a person that's
                                                  Page 231                                                 Page 233
     1   patients at Dr. Virden's office?                      1   compliant or not a suspicious -- a potential
     2           MS. FINCHER: Object to the form,              2   suspicious ordering doctor.
     3   foundation.                                           3          MS. FINCHER: Object to the form.
     4           THE WITNESS: No.                              4   BY MR. MIGLIORI:
     5   BY MR. MIGLIORI:                                      5       Q Correct?
     6       Q What would that mean?                           6          MS. FINCHER: Mischaracterizes the
     7       A No. So he hasn't even done the site             7   document, foundation.
     8   visit yet, so he has received the packet, the due     8          THE WITNESS: Correct, that was my
     9   diligence packet from Verifications, and he's         9   understanding, knowing the both of them, yes.
    10   doing a review of the "Know Your Customer" form      10   BY MR. MIGLIORI:
    11   that we looked at earlier. And one of the            11       Q All right. Ken certainly wouldn't say,
    12   questions on there is, Do you treat out-of-state     12   Go easier on my doctors.
    13   patients?                                            13       A No, not at all.
    14       Q Got you. So this is just based on the          14       Q But up on top he says -- who is KK?
    15   doctor's representation.                             15       A It was his -- I don't remember exactly.
    16       A Mm-hmm.                                        16   He would call him KK, and Ken would call him
    17       Q Correct? Okay.                                 17   Tonto. I don't --
    18           And then it says: "Because of the            18       Q Okay. KK, I don't want to touch that.
    19   personal knowledge, I would have been more           19          "KK said he could not do this guy's due
    20   lenient."                                            20   diligence review because he knew him. So what do
    21           That certainly wouldn't be appropriate       21   you -- what do you make of this?"
    22   to be more lenient on a doctor because of a          22          So here at least Ken is saying, I
    23   personal relationship, right?                        23   shouldn't do his review because he is actually
    24           MS. FINCHER: Object to the form.             24   personal to me.

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     1        A Mm-hmm.                                      1           THE WITNESS: I think we just have
     2        Q Is that an appropriate response?             2   different managerial styles.
     3        A Yes, it is.                                  3   BY MR. MIGLIORI:
     4        Q All right. But Ken Romeo was somebody        4       Q In your exit interview, you did report
     5   that you had trouble with as a supervisor,          5   that you thought he should be replaced, right?
     6   correct?                                            6       A I don't recall --
     7        A I did have difficulties at some point,       7       Q He said --
     8   yes.                                                8       A -- ever saying that he should be
     9        Q And you actually had to give him             9   replaced.
    10   multiple warnings about his conduct and his        10           (Steffanie-Oak Exhibit No. 22 was
    11   behavior, correct?                                 11           marked for identification.)
    12        A Yes.                                        12   BY MR. MIGLIORI:
    13        Q And he -- you found him to be               13       Q I'm sorry. This is Exhibit No. 22.
    14   condescending and rude and inappropriate in the    14       A I wish I had that authority, but no.
    15   office environment?                                15       Q Well, you didn't use the word "replace,"
    16        A At times, yes.                              16   but let's see.
    17        Q And you wrote him up for that, correct?     17           So this is your exit interview dated --
    18        A Yes.                                        18       A 11/10.
    19        Q And I'm not going to ask you much about     19       Q -- 11/10 of '16, and your last day was
    20   it, but this is that write-up, correct? This is    20   11/11 of '16.
    21   at least the --                                    21           It said -- it's hard to read. This is
    22            MR. McDONALD: Show it to her first.       22   how I got it, unfortunately. But -- sure.
    23            (Steffanie-Oak Exhibit No. 21 was         23           Talking about Jeff Peacock, you say:
    24            marked for identification.)               24   "Someone in his position should not be allowed to
                                                Page 235                                                  Page 237
     1   BY MR. MIGLIORI:                                    1   act as he does. Jeff acts unprofessionally.
     2        Q This is Exhibit 21.                          2   Seems to go out of his way to make you look bad in
     3            This is the second write-up of a verbal    3   front of others. Has made comments to others
     4   warning that you gave to Ken.                       4   about the members. Pits people against each
     5        A Yes.                                         5   other."
     6        Q And again, this was April 15th, 2016, so     6           Those -- is this your handwriting, by
     7   it's less than a year before you leave the          7   the way?
     8   company, correct?                                   8       A No.
     9        A Correct.                                     9           MS. FINCHER: Object to the form.
    10        Q And you cite different reasons, but you     10   BY MR. MIGLIORI:
    11   actually yourself had a bad run-in with him on a   11       Q Okay. Is that what you related in your
    12   phone call, and that was consistent with what      12   exit interview to HR?
    13   other people were reporting to you, correct?       13       A Yes.
    14        A Correct.                                    14       Q And what change should be made. You
    15        Q Did he stay at the company after you        15   say: "Change in leadership with department.
    16   left?                                              16   Jeff: Jeff curses, yells at people. No tolerance
    17        A No, he left prior to me.                    17   for yelling."
    18        Q Okay. And did he leave on his own terms     18           You believed Jeff should not have the
    19   or was he terminated?                              19   position of leadership in your department as of
    20        A He left on his own terms.                   20   the time you left, correct?
    21        Q And you also had an issue with Jeff         21           MS. FINCHER: Object to the form.
    22   Peacock, correct?                                  22   Mischaracterizes the document.
    23        A I wouldn't describe it as an issue.         23           THE WITNESS: I think they were asking
    24            MS. FINCHER: Object to the form.          24   me what would it kind of take for me to stay, and

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     1   I was saying I couldn't stay if I continued to             1   the time of this letter, October 27, 2016, where
     2   report to him. I don't know if I necessarily was           2   you're giving your resignation with an effective
     3   saying that he should leave.                               3   last day of November 11th, 2016, did you already
     4   BY MR. MIGLIORI:                                           4   have a position in a new job?
     5       Q Well, they say: "What suggestions or                 5       A Yes.
     6   comments do you have that would make Henry Schein          6       Q And that's the job you currently hold
     7   a better place to work?" "Change Jeff to someone           7   now?
     8   who embraces our culture."                                 8       A Correct.
     9          Is that something you would have said?              9       Q Do you know what the due diligence
    10       A No.                                                 10   retention -- file retention, document retention
    11          (Peruses document.) Oh, I think maybe              11   policy is?
    12   having him change so that he -- not -- not remove         12       A I don't remember it.
    13   him. That's not what I meant.                             13       Q Do you know if there is one for due
    14       Q Okay. But at least here it was reported             14   diligence?
    15   twice that you said change in leadership with             15       A Yes.
    16   department, change Jeff to someone else.                  16          MS. FINCHER: Object to the form.
    17          MS. FINCHER: Object to the form.                   17   BY MR. MIGLIORI:
    18   BY MR. MIGLIORI:                                          18       Q And did you have any -- do you have any,
    19       Q That's what the form says.                          19   as you sit here today, any specific recollection
    20          MS. FINCHER: Mischaracterizes the                  20   of dealing with any issues or DEA compliance
    21   document.                                                 21   issues in the state of Ohio?
    22   BY MR. MIGLIORI:                                          22       A No.
    23       Q Correct? Am I reading it correctly?                 23       Q Do you ever remember having any direct
    24          MS. FINCHER: Object to the form.                   24   dealings with any of the DEA field offices in
                                                      Page 239                                                   Page 241
     1           THE WITNESS: I guess the point I was               1   Ohio?
     2   making is that I -- yeah, I couldn't continue -- I         2       A Not that I can recall, no.
     3   didn't wish to continue working under him.                 3       Q Did you have any roles with respect to
     4   BY MR. MIGLIORI:                                           4   suspicious order reporting either to the DEA field
     5        Q And is that -- is this who you gave the             5   office for Ohio or for the state reporting
     6   report to is this June Woz, is that the HR                 6   requirements in Ohio?
     7   representative?                                            7       A As I mentioned earlier, later on in my
     8        A Wolf.                                               8   role, one of the people that reported to me was
     9        Q Wolf. Okay. Do you recall giving that               9   responsible for the reporting.
    10   exit interview?                                           10       Q Right.
    11        A Yes.                                               11       A But I didn't really get directly
    12           (Steffanie-Oak Exhibit No. 23 was                 12   involved in that.
    13           marked for identification.)                       13       Q Okay. And who -- remind me again, I'm
    14   BY MR. MIGLIORI:                                          14   sorry, who was that person?
    15        Q And then Exhibit No. 23 is your                    15       A Pete Schmidt.
    16   resignation letter.                                       16       Q Schmidt. Okay.
    17           Is it fair to say that Jeff Peacock was           17           And you had -- as you sit here today,
    18   a -- a reason why you decided to retire -- or             18   you have no recollection of any failure to report
    19   resign?                                                   19   to the State of Ohio for any period of time while
    20           MS. FINCHER: Object to the form.                  20   you were in Regulatory, correct?
    21           THE WITNESS: It was a contributing                21       A The only thing I'm aware of, and I don't
    22   factor.                                                   22   remember all the specifics, for the state
    23   BY MR. MIGLIORI:                                          23   reporting, I thought that at one point in time
    24        Q And did you already at this point, as of           24   they found an error with a report, that it wasn't

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     1   pulling in all controls, that it was limited to       1     CERTIFICATE OF CERTIFIED SHORTHAND REPORTER
     2   certain drugs, and then when they discovered that,    2      The undersigned Certified Shorthand Reporter
     3   they corrected it. But that wasn't under my           3 does hereby certify:
     4   responsibility. I just remember hearing about it.     4      That the foregoing proceeding was taken before
     5       Q Okay. And so have you reviewed or read          5 me at the time and place therein set forth, at
     6   Sergio Tejeda's letter to the Ohio Board of           6 which time the witness was duly sworn; That the
     7   Pharmacy about failing to report to Ohio under the    7 testimony of the witness and all objections made
     8   required state law?                                   8 at the time of the examination were recorded
     9           MS. FINCHER: Object to the form.              9 stenographically by me and were thereafter
    10           THE WITNESS: I don't recall reading the      10 transcribed, said transcript being a true and
    11   whole letter, no.                                    11 correct copy of my shorthand notes thereof; That
    12   BY MR. MIGLIORI:                                     12 the dismantling of the original transcript will
    13       Q Okay. Are you -- if this case is tried         13 void the reporter's certificate.
    14   in the fall of this year, in October or November,    14      In witness thereof, I have subscribed my name
    15   are you available to testify as a fact witness?      15 this date: March 14, 2019.
    16       A No. Can I say no?                              16
    17       Q Have you been asked to be available to         17              ________________________
    18   testify as a fact witness?                           18              LESLIE A. TODD, CSR, RPR
    19       A No.                                            19              Certificate No. 5129
    20           MR. MIGLIORI: Okay. I appreciate your        20 (The foregoing certification of
    21   time. Thank you so much.                             21 this transcript does not apply to any
    22           THE WITNESS: Thank you.                      22 reproduction of the same by any means,
    23           MS. FINCHER: Pass the witness now?           23 unless under the direct control and/or
    24           MR. MIGLIORI: Yes.                           24 supervision of the certifying reporter.)

                                                  Page 243                                                             Page 245
     1          MS. FINCHER: We'll reserve our                 1            INSTRUCTIONS TO WITNESS
     2   questions.                                            2       Please read your deposition over carefully and
     3          MR. MIGLIORI: Thank you very much.             3   make any necessary corrections. You should state
     4          THE VIDEOGRAPHER: 2:24, we're off the          4   the reason in the appropriate space on the errata
     5   video record. This concludes the video                5   sheet for any corrections that are made.
     6   deposition.                                           6   After doing so, please sign the errata sheet
     7          (Whereupon, the deposition of                  7   and date it.
     8          TINA STEFFANIE-OAK was concluded               8       You are signing same subject to the changes
     9          at 2:24 p.m.)                                  9   you have noted on the errata sheet, which will be
    10                                                        10   attached to your deposition. It is imperative
    11                                                        11   that you return the original errata sheet to the
    12                                                        12   deposing attorney within thirty (30) days of
    13                                                        13   receipt of the deposition transcript by you. If
    14                                                        14   you fail to do so, the deposition transcript may
    15                                                        15   be deemed to be accurate and may be used in court.
    16                                                        16
    17                                                        17
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    19                                                        19
    20                                                        20
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     1              ------
     2              ERRATA
     3              ------
     4 PAGE LINE CHANGE
     5 ____ ____ ________________________________________
     6 REASON: ________________________________________
     7 ____ ____ ________________________________________
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    22 REASON: ________________________________________
    23 ____ ____ ________________________________________
    24 REASON: ________________________________________

                                                           Page 247
     1         ACKNOWLEDGMENT OF DEPONENT
     2     I,___________________________, do hereby
     3 certify that I have read the foregoing pages, and
     4 that the same is a correct transcription of the
     5 answers given by me to the questions therein
     6 propounded, except for the corrections or changes
     7 in form or substance, if any, noted in the
     8 attached Errata Sheet.
     9
    10 __________________________________________________
    11 TINA STEFFANIE-OAK                       DATE
    12
    13
    14 Subscribed and sworn to
    15 before me this
    16 ______day of_______________,20___.
    17 My commission expires:_______________
    18 _____________________________________
    19 Notary Public
    20
    21
    22
    23
    24


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